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                                                                              APPEAL, TERMED

                                U.S. District Court
                           District of Colorado (Denver)
                CRIMINAL DOCKET FOR CASE #: 1:00-cr-00481-WYD-2


Case title: USA v. Lavallee, et al                        Date Filed: 11/02/2000
Related Case: 1:07-cv-00803-WYD                           Date Terminated: 06/24/2003

Assigned to: Chief Judge Wiley Y.
Daniel
Appeals court case numbers: '04-1540',
03-1138, 03-1310, 03-1523, 04-1000

Defendant (2)
Rod Schultz                                 represented by Boston Henry Stanton , Jr.
TERMINATED: 11/21/2003                                     Boston H. Stanton, Jr, Attorney at Law
                                                           P.O. Box 200507
                                                           Denver , CO 80220
                                                           303-377-2757
                                                           Fax: 303-394-0204
                                                           Email: bostonhs@comcast.net
                                                           TERMINATED: 06/26/2003
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: CJA Appointment

                                                           James S. Covino
                                                           James S. Covino, P.C.
                                                           6426 South Quebec Street
                                                           Englewood , CO 08111
                                                           303-757-5353
                                                           Fax: 720-489-3800
                                                           Email: jamescovino@msn.com
                                                           TERMINATED: 06/26/2003
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: CJA Appointment

                                                           Neil E. MacFarlane
                                                           Neil MacFarlane, Attorney at Law
                                                           8098 West 93rd Way
                                                           Westminster , CO 80021
                                                           303-893-2544




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                                                          Fax: 303-420-0831
                                                          Email:
                                                          neil_macfarlane_law@yahoo.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: CJA Appointment

Pending Counts                                            Disposition
18:241.F CONSPIRACY AGAINST
RIGHTS OF CITIZENS
(2s)

Highest Offense Level (Opening)
Felony

Terminated Counts                                         Disposition
18:241.F CONSPIRACY AGAINST
RIGHTS OF CITIZENS
(8s)

Highest Offense Level (Terminated)
Felony

Complaints                                                Disposition
None


Plaintiff
USA                                         represented by Karl N. Gellert
TERMINATED: 11/21/2003                                     U.S. Department of Justice-DC Civil
                                                           Rights Division
                                                           Civil Rights Division
                                                           950 Pennsylvania Avenue, N.W.
                                                           Voting Section, NWB
                                                           Washington , DC 20530
                                                           202-514-5682
                                                           Fax:
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Mark Blumberg
                                                          United States Attorney's Office-DC
                                                          Criminal Section CRT
                                                          Criminal Section/CRT
                                                          601 S Street, N.W.




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                                                               #5543
                                                               Washington , DC 20530
                                                               202-514-4725
                                                               Fax:
                                                               TERMINATED: 11/21/2003
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Robert E. Mydans
                                                               U.S. Attorney's Office-Denver
                                                               1225 17th Street East
                                                               Seventeenth Street Plaza
                                                               #700
                                                               Denver , CO 80202
                                                               303-454-0234
                                                               Fax: 303-454-0402
                                                               Email: Bob.Mydans@usdoj.gov
                                                               TERMINATED: 11/21/2003
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


 Date Filed          #        Docket Text
 11/02/2000               1   INDICTMENT by USA Counts filed against Mike Lavallee (1) count
                              (s) 1, 2, 7-9, Rod Schultz (2) count(s) 1, 2, 7, 9, Ken Shatto (3) count(s)
                              1, 4, 9, David Pruyne (4) count(s) 1, 5, 9, Robert Verbickas (5) count(s)
                              1, 3, 6, 8-9, Brent Gall (6) count(s) 1, 4, James nmi Bond (7) count(s) 1,
                              7 (former empl) (Entered: 11/02/2000)
 11/02/2000               3   SUMMONS issued as to Rod Schultz ;initial appearance set for 1:30
                              11/16/00 for Rod Schultz before Magistrate Judge O. E. Schlatter
                              (former empl) (Entered: 11/02/2000)
 11/02/2000               9   NOTICE of Related Case by USA that this case should be assigned to
                              Judge Daniel as it is related to USA v. David Armstrong 99-CR-190-D.
                              (former empl) (Entered: 11/02/2000)
 11/06/2000              18   COURTROOM MINUTES OF INITIAL APPEARANCE before
                              Magistrate Judge O. E. Schlatter initial appearance of Rod Schultz, Ken
                              Shatto, David Pruyne, Robert Verbickas, Brent Gall, James Bond
                              without counsel; defts advised of right to remain silent and to counsel
                              initial appearance of Mike Lavallee Attorney Tom Hammond present;
                              appointing CJA counsel as to Rod Schultz, Ken Shatto, Robert
                              Verbickas , ; status hearing set for 1:30 11/27/00 for Mike Lavallee, for
                              Rod Schultz, for Ken Shatto, for David Pruyne, for Gall, for James
                              Bond as to Mike Lavallee, Rod Schultz, Ken Shatto, David Pruyne,
                              Brent Gall, James Bond Personal Recognizance bonds set for all
                              defendants and all are released upon signing of bonds; Court Reporter:
                              CR 00-225 (former empl) (Entered: 11/20/2000)
 11/16/2000              17   MOTION for order permitting disclosure of grand jury material by




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                             USA regarding Mike Lavallee, Rod Schultz, Ken Shatto, David Pruyne,
                             Robert Verbickas, Brent Gall, James nmi Bond (former empl) (Entered:
                             11/17/2000)
 11/16/2000             19   ORDER setting conditions of release for Rod Schultz by Magistrate
                             Judge O. E. Schlatter (former empl) (Entered: 11/20/2000)
 11/17/2000             26   CJA Form 20 Copy 4 (Appointment of Counsel) Attorney Eric R.
                             Toray appointed for Ken Shatto by Magistrate Judge O. E. Schlatter
                             (ecm) (Entered: 11/21/2000)
 11/20/2000             27   CJA Form 20 Copy 4 (Appointment of Counsel) Attorney Boston
                             Henry Stanton Jr. appointed for Rod Schultz by Magistrate Judge O. E.
                             Schlatter (ecm) (Entered: 11/21/2000)
 11/20/2000             28   CJA Form 20 Copy 4 (Appointment of Counsel) Attorney Brian K.
                             Holland appointed for Robert Verbickas by Magistrate Judge O. E.
                             Schlatter (ecm) (Entered: 11/22/2000)
 11/22/2000             29   ORDER by Judge Wiley Y. Daniel granting motion for order
                             permitting disclosure of grand jury material [17-1] (Cert Mailing)
                             (former empl) (Entered: 11/24/2000)
 11/27/2000             30   COURTROOM MINUTES OF STATUS HEARING ON COUNSEL
                             before Magistrate Judge Bruce D. Pringle; ORDER: CJA counsel to be
                             apptd. for David Pryunz, Brent Ball and James Bond; arraignment set
                             for 1:30 12/15/00 for Mike Lavallee, for Rod Schultz, for Ken Shatto,
                             for David Pruyne, for Robert Verbickas, for Brent Gall, for James Bond
                             before Magistrate Judge Bruce D. Pringle ; disc conf set for 1:30
                             12/15/00 for Mike Lavallee, <date not set> for Rod Schultz, for Ken
                             Shatto, for David Pruyne, for Robert Verbickas, for Brent Gall, for
                             James Bond as to Mike Lavallee, Rod Schultz, Ken Shatto, David
                             Pruyne, Robert Verbickas, Brent Gall, James Bond Court Reporter:
                             Tape 00-231 (ecm) (Entered: 11/29/2000)
 11/28/2000             35   CJA Form 20 Copy 4 (Appointment of Counsel) Attorney Richard
                             James Banta appointed for James Bond by Magistrate Judge Bruce D.
                             Pringle (ecm) (Entered: 12/01/2000)
 11/28/2000             36   CJA Form 20 Copy 4 (Appointment of Counsel) Attorney Daniel J.
                             Sears appointed for Brent Gall by Magistrate Judge Bruce D. Pringle
                             (ecm) (Entered: 12/01/2000)
 12/01/2000             39   CJA Form 20 Copy 4 (Appointment of Counsel) Attorney Daniel T.
                             Smith appointed for Daniel Smith by Magistrate Judge Bruce D.
                             Pringle (ecm) (Entered: 12/06/2000)
 12/12/2000             43   ORDER by Judge Wiley Y. Daniel GRANTING Ken Shatto's Motion
                             For Appointment of Expert (SUPPRESSED) [41-1] (Cert of Mailing)
                             (ecm) (Entered: 12/15/2000)
 12/15/2000             46   COURTROOM MINUTES OF ARRAIGNMENT/DISCOVERY
                             before Magistrate Judge Michael J. Watanabe; dfts Mike Lavallee, Rod
                             Schultz, Ken Shatto, David Pruyne, Robert Verbickas, Brent Gall,




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                             James Bond arraigned; NOT GUILTY pleas entered; Attorneys present;
                             30 day min to trial 12/16/00 (LaVallee, Shato, Verbickas); 70 day max
                             to trial 1/27/01 (all defts); 90 day custody limit 1/14/01 (Schultz,
                             Pryune, Gall, Bond); discov. rpts. executed; Court Reporter: Tape 00-
                             247 Interpreter: (ecm) (Entered: 12/18/2000)
 12/15/2000             47   DISCOVERY HEARING REPORT before Magistrate Judge Michael J.
                             Watanabe; 4 weeks estimated trial days as to Rod Schultz (ecm)
                             (Entered: 12/18/2000)
 12/15/2000             48   DISCOVERY HEARING REPORT before Magistrate Judge Michael J.
                             Watanabe; 4 weeks estimated trial days as to Brent Gall (ecm)
                             (Entered: 12/18/2000)
 12/15/2000             49   DISCOVERY HEARING REPORT before Magistrate Judge Michael J.
                             Watanabe; 4 weeks estimated trial time as to Robert Verbickas (ecm)
                             (Entered: 12/18/2000)
 12/15/2000             50   DISCOVERY HEARING REPORT before Magistrate Judge Michael J.
                             Watanabe; 4 weeks estimated trial time as to David Pruyne (ecm)
                             (Entered: 12/18/2000)
 12/15/2000             51   DISCOVERY HEARING REPORT before Magistrate Judge Michael J.
                             Watanabe; 4 weeks estimated trial time as to Ken Shatto (ecm)
                             (Entered: 12/18/2000)
 12/15/2000             52   DISCOVERY HEARING REPORT before Magistrate Judge Michael J.
                             Watanabe; 4 weeks estimated trial time as to Mike LaVallee (ecm)
                             (Entered: 12/18/2000)
 12/15/2000             53   DISCOVERY HEARING REPORT before Magistrate Judge Michael J.
                             Watanabe; 4 weeks estimated trial time as to James Bond (ecm)
                             (Entered: 12/18/2000)
 12/18/2000             45   MINUTE ORDER before Judge Wiley Y. Daniel; regarding [44-1]
                             Motion For a Declaration of Complexity purs. to 18:3161(h)(8)(B)(ii), a
                             hearing is set for 9:00 12/22/00 for Mike Lavallee, for Rod Schultz, for
                             Ken Shatto, for David Pruyne, for Robert Verbickas, for Brent Gall, for
                             James Bond (ecm) (Entered: 12/18/2000)
 12/20/2000             57   RESPONSE by Rod Schultz motion For a Declaration of Complexity
                             purs. to 18:3161(h)(8)(B)(ii) [44-1] regarding [44-1] (former empl)
                             (Entered: 12/21/2000)
 12/20/2000             60   ORDER by Judge Wiley Y. Daniel GRANTING Brent Gall's Motion
                             For Payment in Excess (Suppressed) [59-1] (Cert of Mailing) (ecm)
                             (Entered: 12/28/2000)
 12/21/2000             56   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion
                             Substitute counsel for hearing set for 12/22/00 at 9:00 only [54-1]
                             (former empl) (Entered: 12/21/2000)
 12/22/2000             58   COURTROOM MINUTES OF HEARING ON MOTION TO
                             DECLARE CASE COMPLEX before Judge Wiley Y. Daniel; ORDER:




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                             GRANTING Motion For a Declaration of Complexity purs. to 18:3161
                             (h)(8)(B)(ii) [44-1]; counsel shall review discov. and file a status report
                             by 3/2/01; Court Reporter: Kara Spitler (ecm) (Entered: 12/27/2000)
 01/02/2001             61   MINUTE ORDER before Judge Wiley Y. Daniel; a status hearing set
                             for 8:30 3/22/01 for Mike Lavallee, for Rod Schultz, for Ken Shatto, for
                             David Pruyne, for Robert Verbickas, for Brent Gall, for James Bond
                             (ecm) (Entered: 01/03/2001)
 01/03/2001             62   CONTINUANCE ORDER per 18:3161 by Judge Wiley Y. Daniel
                             GRANTING [44-1] Motion For a Declaration of Complexity purs. to
                             18:3161(h)(8)(B)(ii); the parties shall file status reports by 3/2/01;
                             ORDER: status hearing set for 8:30 3/22/01; the subpoena to the BOP
                             purs. to Fed.R.Cr.P. shall be issued immediately as discussed on the
                             record at the 12/22/00 hrg. and shall be returned by the 3/22/01 status
                             conf. (ecm) (Entered: 01/04/2001)
 01/04/2001             64   848/ORDER by Judge Wiley Y. Daniel GRANTING Ken Shatto's
                             Motion For Appointment of Expert (SUPPRESSED) [63-1] (Cert of
                             Mailing) (ecm) (Entered: 01/05/2001)
 01/17/2001             67   ORDER by Judge Wiley Y. Daniel GRANTING Brent Gall's Motion
                             For Appointment of Expert (SUPPRESSED) [65-1] (Cert of Mailing)
                             (ecm) (Entered: 01/22/2001)
 02/06/2001             68   SUPERSEDING indictment by USA; counts filed against Rod Schultz
                             (2) count(s) 2s, 5s, 8s (klt) (Entered: 02/07/2001)
 02/07/2001             69   MINUTE ORDER before Magistrate Judge Craig B. Shaffer; re-
                             arraignment set for 1:30 2/22/01 for Mike Lavallee, for Rod Schultz,
                             for Ken Shatto, for David Pruyne, for Robert Verbickas, for Brent Gall,
                             for James Bond before Magistrate Judge Craig B. Shaffer (ecm)
                             (Entered: 02/09/2001)
 02/07/2001             72   ORDER by Judge Wiley Y. Daniel GRANTING Brent Gall's Motion
                             For Appointment of Expert (SUPPRESSED) [70-1] (Cert of Mailing)
                             (ecm) (Entered: 02/09/2001)
 02/16/2001             78   MOTION For Order Directing USM to Arrange Non-Custodial
                             Transportation by Rod Schultz (ecm) (Entered: 02/21/2001)
 02/20/2001             79   MEMORANDUM as to Rod Schultz referring to Magistrate Judge
                             Michael J. Watanabe the Motion For Order Directing USM to Arrange
                             Non-Custodial Transportation [78-1] (ecm) (Entered: 02/21/2001)
 02/20/2001             80   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion For
                             Leave of Court to Waiver Appearance in This District Re-Arraignment
                             [76-1] (former empl) (Entered: 02/23/2001)
 02/20/2001             81   ORDER by Magistrate Judge Watanabe granting motion For Order
                             Directing USM to Arrange Non-Custodial Transportation; the USM is
                             to provide non-custodial trans for the deft on 2/22/01; the rearraigmnent
                             on the superseding Inditment is currently set for 2/22/01 at 1:30 (Cert of
                             Mailing) (former empl) Modified on 02/23/2001 (Entered: 02/23/2001)




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 02/22/2001             84   COURTROOM MINUTES OF REARRAIGNMENT ON S.
                             INDICMENT before Magistrate Judge Craig B. Shaffer; dfts Mike
                             Lavallee, Rod Schultz, Ken Shatto, Brent Gall and James Bond
                             rearraigned; NOT GUILTY pleas entered; Attorneys present; bond
                             cont. Court Reporter: Tape 01-33A (ecm) (Entered: 02/27/2001)
 02/23/2001             83   TRANSCRIPT of Status Conference dated 12/22/00; copy; (32 pages)
                             Prepared By: Kara Spitler (ecm) (Entered: 02/23/2001)
 02/28/2001             86   CERTIFICATE of Mailing; copy of the Order dated 1/3/01 sent to
                             Brian Holland (ecm) (Entered: 03/01/2001)
 02/28/2001             87   MINUTE ORDER before Judge Wiley Y. Daniel; govt shall respond to
                             defts [82-1] motion for disclosure of Grand Jury Transcripts; grand jury
                             subpoenas, and investigative reprots, writings, memos and recordations
                             by 3/9/01 (ecm) (Entered: 03/01/2001)
 03/01/2001             90   STATUS REPORT by USA (ecm) (Entered: 03/02/2001)
 03/01/2001            102   ORDER by Judge Wiley Y. Daniel GRANTING Ken Shatto's Motion
                             For Appointment of Expert (SUPPRESSED) [101-1] (Cert of Mailing)
                             (ecm) (Entered: 03/09/2001)
 03/02/2001             96   MOTION To Join and Adopt Motions/Status Reports of Co-Defendants
                             by Rod Schultz (ecm) (Entered: 03/05/2001)
 03/08/2001            100   MOTION For Leave to Waive Appearance in This District for Status
                             Conference by Rod Schultz (ecm) (Entered: 03/09/2001)
 03/08/2001            106   ORDER by Judge Wiley Y. Daniel GRANTING James Bond's Motion
                             For Appointment of Expert (SUPPRESSED) [104-1] (Cert of Mailing)
                             (ecm) (Entered: 03/13/2001)
 03/09/2001            103   ORDER by Judge Wiley Y. Daniel granting motion For Leave to
                             Waive Appearance in This District for Status Conference [100-1],
                             granting motion For Leave of Court to Waive Appearance in This
                             District for Status Conference [99-1] (Cert of Mailing) (former empl)
                             (Entered: 03/12/2001)
 03/13/2001            109   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING govt's
                             Motion To Seal Govt's [107-1] Response to Motion for Disclosure
                             (SEALED) [108-1] (ecm) (Entered: 03/13/2001)
 03/21/2001            113   MINUTE ORDER before Judge Wiley Y. Daniel; govt shall rspond to
                             defts [112-1] Motion To Issue Subpoena Duces Tecum For the
                             Production of Documents Regarding the Legal Representations of
                             Defendant by Attorneys With the US Dept. of Justice by 3/29/01 (ecm)
                             (Entered: 03/22/2001)
 03/22/2001            114   MOTION For Leave of Court to Waive Appearance in This District For
                             Motion Hearing by Rod Schultz (ecm) (Entered: 03/23/2001)
 03/22/2001            115   COURTROOM MINUTES OF STATUS CONFERENCE before Judge
                             Wiley Y. Daniel; defts present w/counsel; stmt by deft Shatto re




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                             computer technology requested by defts; ORDER: counsel shall meet
                             and confer re this issue a file a suppl. report by 3/29/01; counsel file
                             mtns to waive their clients appearance for the 4/4/01 hrg. by 3/29/01;
                             ORDER: the [111-1] Motion For Authorization to Obtain Set of
                             Hardcopies of Discovery is DEFERRED; ORDER: GRANTING
                             Motion To Join and Adopt Motions/Status Reports of Co-Defendants
                             [96-1] as to Rod Schultz; GRANTING Motion To Join Requests for
                             Discovery Filed by Co-Defendants in Their Status [92-1] as to Ken
                             Shatto; GRANTING Motion To Join Motion for disclosure of Grand
                             Jury Transcripts; grand jury subpoenas, and investigative reprots,
                             writings, memos and recordations [82-1] [97-1] as to Ken Shatto;
                             GRANTING Motion To Join Defendant Shatto's Motion For
                             Authorization to Obtain Computer-Scanning Services Purs. to
                             18:3006A(E)(1) and (3) [98-1] [110-1] as to David Pruyne; the Motion
                             For Leave of Court to Waive Appearance in This District for
                             Arraignment [37-1] is DENIED as MOOT; GRANTING Motion For
                             Interim Payments and Motion to Exceed Statutory Maximum Under the
                             CJA [40-1]; GRANTING Motion For Additional Time Within to
                             Tender Reciprocal Discovery and to File Pretrial Motions [55-1];
                             GRANTING Motion To Join Defendant Shatto's Motion For
                             Authorization to Obtain Computer-Scanning Services to 18:3006A(E)
                             (1) and (3) [98-1] [111-2] as to Brent Gall; GRANTING Motion To
                             Join Motions of Co-Defendants [94-1] as to James Bond; the [82-1]
                             Motion for disclosure of Grand Jury Transcripts is DEFERRED; govt
                             shall provide transcripts of the testimony of Agent Richard Karr to the
                             court for an in-camera review by 3/26/01; govts request for addtl time
                             to file response is GRANTED; govt shall file response to deft Pruynes
                             Mtn for Issuance of Subpoena etc. by 3/30/01; govt shall file a status
                             report re written notes of Mr. Quereau and provide these notes by
                             3/26/01; Court Reporter: Kara Spitler (ecm) (Entered: 03/23/2001)
 03/30/2001            126   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING
                             Verbickas' Motion For Leave to Waive Appearance in This District for
                             Status Conference [120-1]; GRANTING Schultz' Motion For Leave of
                             Court to Waive Appearance in This District For Motion Hearing [114-
                             1]; GRANTING Shatto's Motion To Waive Appearance of Defendant at
                             April 4, 2001 Motions Hearing [121-1] regarding [123-1]; these three
                             defts need not appear at the hearing set for 4/4/01; the govt shall
                             respond to Verbickas' Motion to Provide Plea Hearing Transcripts of
                             the govt witnesses,jake Geiger and Charlotte Gutierrez, and trial
                             transcripts of 97-CR-34-D and 98-CR-224-D by 4/6/01 (ecm) (Entered:
                             04/02/2001)
 04/02/2001            131   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Gall's
                             Motion To Excuse Appearance [118-1]; GRANTING Bond's Motion
                             To Waive Appearance of Defendant [117-1], GRANTING Pruyne's
                             Motion To Waive Appearance of Defendant At April 4, 2001 Motions
                             Hearing [119-1] (ecm) (Entered: 04/05/2001)
 04/03/2001            128   MOTION To Join Co-Defendant's Motions by Rod Schultz (ecm)
                             (Entered: 04/04/2001)




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 04/03/2001            136   ORDER by Judge Wiley Y. Daniel GRANTING David Pruyne's
                             Motion For Payment in Excess (Suppressed) [134-1] (Cert of Mailing)
                             (ecm) (Entered: 04/05/2001)
 04/03/2001            139   ORDER by Judge Wiley Y. Daniel GRANTING David Pruyne's
                             Motion For Payment in Excess (Suppressed) [137-1] (Cert of Mailing)
                             (ecm) (Entered: 04/05/2001)
 04/04/2001            130   COURTROOM MINUTES OF HEARING ON MOTION FOR
                             AUTHORIZATION TO OBTAIN COMPUTER SCANNING SVCS.
                             before Judge Wiley Y. Daniel; ORDER: GRANTING Motion For
                             Authorization to Obtain Computer-Scanning Services Purs. to
                             18:3006A(E)(1) and (3) [98-1]; counsel shall file a form of order
                             outlining the court's ruling on the mtn for authorization by 4/11/01;
                             bond cont. Court Reporter: Kara Spitler Interpreter: (ecm) (Entered:
                             04/05/2001)
 04/04/2001            132   MINUTE ORDER before Judge Wiley Y. Daniel granting motion To
                             Join Co-Defendant's Motions [128-1] as to Rod Schultz (ecm) (Entered:
                             04/05/2001)
 04/04/2001            133   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall notify
                             the court by 4/11/01 whether it will purchase as at its expense, the full
                             laser fishce 4/11/01 counsel shall file a proposed order implementing
                             the court's ruling by 4/11/01; counsel shall file a proposed case plan and
                             schedule for the filing of evidentiary and non-evidentiary motions by
                             4/18/01 (ecm) (Entered: 04/05/2001)
 04/19/2001            150   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Appointment of Expert (SUPPRESSED) [148-1] (Cert of
                             (ecm) (Entered: 04/24/2001)
 04/20/2001            146   PROPOSED Schedule for Filing of Pretrial Motions, Government
                             Responses, Hearing Dates, and Trial Date as to USA (ecm) (Entered:
                             04/23/2001)
 04/20/2001            147   ORDER by Judge Wiley Y. Daniel GRANTING Shatto's Motion For
                             Authorization to Obtain Computer-Scanning Services Purs. to
                             18:3006A(E)(1) and (3) [98-1] (Cert of Mailing) (ecm) (Entered:
                             04/23/2001)
 05/02/2001            546   Court Ordered STATUS REPORT by plaintiff USA regarding [519-1]
                             minutes and the gov's position on discovery (dlb) (Entered: 05/03/2002)
 05/14/2001            157   ORDER by Judge Wiley Y. Daniel GRANTING Ken Shatto's Motion
                             For Travel Authorization (SUPPRESSED) [156-1] (Cert of Mailing)
                             (ecm) (Entered: 05/21/2001)
 05/14/2001            159   ORDER by Judge Wiley Y. Daniel GRANTING Ken Shatto's Motion
                             For Appointment of Expert (SEALED) [158-1] (Cert of Mailing) (ecm)
                             (Entered: 05/21/2001)
 05/14/2001            160   ORDER by Judge Wiley Y. Daniel GRANTING Ken Shatto's Motion
                             For Appointment of Expert (SEALED) [158-1] (Cert of Mailing) (ecm)




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                             (Entered: 05/21/2001)
 05/14/2001            162   ORDER by Judge Wiley Y. Daniel GRANTING Ken Shatto's Motion
                             For Appointment of Expert (SUPPRESSED_ [161-1] (Cert of Mailing)
                             (ecm) (Entered: 05/21/2001)
 05/17/2001            155   CASE MANAGEMENT ORDER by Judge Wiley Y. Daniel; discov.
                             related motions are due 6/15/01; all responses due 6/29/01; a motions
                             hearing set for 1:30 7/11/01; non-dispositive and non-evidentiary mtns
                             including those for severance and bills of particulars are due 7/6/01;
                             responses due 7/20/01; hearing on mtns is due 9/25/01 at 1:30 pm;
                             evidentiary mtns due 8/3/01; responses due 8/17/01; hearing set for
                             9/26/01 at 8:30 (Cert of Mailing) (ecm) (Entered: 05/18/2001)
 05/17/2001            164   ORDER by Judge Wiley Y. Daniel for Expert Services regarding [147-
                             1] order (SUPPRESSED) (ecm) (Entered: 05/29/2001)
 05/22/2001            166   ORDER by Judge Wiley Y. Daniel GRANTING Ken Shatto's Motion
                             For Appointment of Expert (SUPPRESSED) [63-1] (Cert of Mailing)
                             (ecm) (Entered: 05/29/2001)
 06/04/2001            171   848/ORDER by Judge Wiley Y. Daniel GRANTING Motion For
                             Appointment of Expert (SUPPRESSED) [170-1] (Cert of Mailing)
                             (ecm) (Entered: 06/08/2001)
 06/06/2001            205   MOTION For Appointment of Expert (SUPPRESSED) by Rod Schultz
                             (ecm) (Entered: 07/03/2001)
 06/15/2001            188   MOTION to join co-defts discvoey motions by Rod Schultz (former
                             empl) (Entered: 06/18/2001)
 06/15/2001            189   MOTION for leave of court to waive appearance in this dist for
                             discovery related motions hearing by Rod Schultz (former empl)
                             (Entered: 06/18/2001)
 06/15/2001            190   MOTION notice by the govt of it's intention to rely upon other crimes,
                             wrongs, acts, and misconduct evidence by Rod Schultz (former empl)
                             (Entered: 06/18/2001)
 06/15/2001            191   MOTION for discovery by Rod Schultz (former empl) (Entered:
                             06/18/2001)
 06/15/2001            192   MOTION for disclosure of impeachment evidence regarding govt
                             informants by Rod Schultz (former empl) (Entered: 06/18/2001)
 06/15/2001            193   MOTION for disclosure of Giglio Information by Rod Schultz (former
                             empl) (Entered: 06/18/2001)
 06/19/2001            196   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             to join co-defts discvoey motions [188-1] as to Rod Schultz;
                             DENYING Motion For Leave to of Court to Waive Appearance in This
                             District for Motions Hearing [169-1]; DENYING Motion for leave of
                             court to waive appearance in this dist for discovery related motions
                             hearing [189-1] (ecm) (Entered: 06/20/2001)




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 06/22/2001            197   MOTION For Order Directing United States Marshal to Arrange Non-
                             Custodial Transportation by Rod Schultz (ecm) (Entered: 06/25/2001)
 06/22/2001            206   ORDER by Judge Wiley Y. Daniel GRANTING Motion For
                             Appointment of Expert (SUPPRESSED) [205-1] (Cert of Mailing)
                             (ecm) (Entered: 07/03/2001)
 06/26/2001            201   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing United States Marshal to Arrange Non-Custodial
                             Transportation [197-1] for the hrg. on 7/11/01 at 1:30 (Cert of Mailing)
                             (ecm) (Entered: 06/27/2001)
 06/29/2001            204   CONSOLIDATED RESPONSE by USA to Defendant's Motions For
                             Discovery (ecm) (Entered: 07/02/2001)
 07/03/2001            207   MOTION For Order Directing US Marshal to Arrange Non-Custodial
                             Transportation by Rod Schultz (ecm) (Entered: 07/06/2001)
 07/05/2001            208   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing US Marshal to Arrange Non-Custodial
                             Transportation [207-1] (Cert of Mailing) (ecm) (Entered: 07/06/2001)
 07/05/2001            209   MINUTE ORDER before Judge Wiley Y. Daniel DENYING Robert
                             Verbickas' Motion For Leave of Court to Waive Appearance in This
                             District for Motions Hearing [200-1] (ecm) (Entered: 07/06/2001)
 07/06/2001            218   MINUTE ORDER before Judge Wiley Y. Daniel; GRANTING Robert
                             Verbickas' [200-1] Motion For Leave of Court to Waive Appearance in
                             This District for Motions Hearing; defts appearance at the hrg. set for
                             7/11/01 is waived (ecm) (Entered: 07/09/2001)
 07/06/2001            219   AMENDED MINUTE ORDER before Judge Wiley Y. Daniel;
                             DENYING Robert Verbickas; Renewal Motion For Leave of Court to
                             Waive Appearance in This District for Motions Hearing [200-1]; deft
                             SHALL BE present at the hrg. set for 7/11/01 (ecm) (Entered:
                             07/09/2001)
 07/06/2001            224   MOTION To Join Co-Defendants Motions by Rod Schultz (ecm)
                             (Entered: 07/09/2001)
 07/06/2001            225   MOTION For Separate Trial by Rod Schultz (ecm) (Entered:
                             07/09/2001)
 07/09/2001            227   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Join Co-Defendants Motions [224-1] as to Rod Schultz;
                             GRANTING Motion To Join and Adopt Motions of Co-Defenants
                             [220-1] as to James Bond (ecm) (Entered: 07/10/2001)
 07/10/2001            228   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Order Directing United States Marshal to Arrange Non-
                             Custodial Transportation [226-1]; the USM to provide non-custodial
                             transportation on/about 7/10/01 from Newark, NJ to Denver (Cert of
                             Mailing) (ecm) (Entered: 07/11/2001)




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 07/10/2001            229   ORDER by Judge Wiley Y. Daniel; the USM shall provide non-
                             custodial transportation for Robert Verbickas on 7/12/01 from Denver
                             to Newark, NJ (Cert of Mailing) (ecm) Modified on 07/11/2001
                             (Entered: 07/11/2001)
 07/11/2001            230   MINUTE ORDER before Judge Wiley Y. Daniel; the Motion For
                             Travel (SUPRESSED) [163-1] by Robert Verbickas is DENIED as
                             MOOT (ecm) (Entered: 07/12/2001)
 07/11/2001            231   COURTROOM MINUTES OF HEARING PENDING MOTIONS
                             before Judge Wiley Y. Daniel; ORDER: GRANTING in PART and
                             DENYING in PART the Motion for disclosure of Grand Transcripts;
                             grand jury subpoenas, and investigative reports, writings, memos and
                             recordations [82-1]; GRANTING in PART and DENYING in PART
                             the Supplement to Motion for Disclosure of Grand Jury Transcripts...
                             [116-1]; GRANTING in PART and DENYING in PART the Second
                             Supplement to Motion for Disclosure of Grand Jury Transcripts...[141-
                             1]; GRANTING in PART and DENYING in PART the Third
                             Supplement to Motion for Disclosure of Grand Jury Transcripts... [152-
                             1]; govt shall produce all transcripts of grand jury proceedings by
                             8/15/01; ORDER: GRANTING in PART and DENYING in PART the
                             Motion For Discovery [172-1]; gov tshall produce pictures and videos
                             by 7/25/01; govt shall produce personnel files by 8/9/01; the [177-1]
                             Motion For Notice F.R.E. 404(B) Evidence is DEFERRED;
                             GRANTING Motion For Additional to File Further Motions [215-1];
                             GRANTING Motion For Permission to View Crime Scene [173-1]; the
                             [174-1] Motion For Bill of Particulars is DEFERRED; the [210-1]
                             Motion Bill of Particulars is DEFERRED; the [216-1] Motion For Bill
                             of Particulars is DEFERRED; DENYING w/o prej. the Motion
                             Requesting Notice of the Government's Intention to Use Certain
                             Evidence [175-1]; GRANTING Motion For Disclosure of Evidence
                             Favorable to the Defendant [176-1]; DENYING Motion For Notice of
                             Rule 404(b), 608 and 609 Evidence [180-1]; DENYING Motion For
                             Authorization to Obtain Set of Hardcopies of Discovery, [111-1];
                             DENYING Motion For Notice of Intent to Use Evidence [181-1];
                             GRANTING in PART and DENYING in PART the Motion For
                             Discovery [178-1]; govt shall produce discov. as ordered by the court
                             by 8/24/01; the [179-1] Motion For Notice of Intent to Offer Expert
                             Testimony is DEFERRED; GRANTING in PART and DENYING in
                             PART the Motion for discovery [183-1]; GRANTING in PART and
                             DENYING in PART the Motion for discovery [191-1]; the [190-1]
                             Motion notice by the govt of it's intention to upon other crimes, wrongs,
                             acts, and misconduct evidence is DEFERRED; DENYING the Motion
                             for disclosure of impeachment evidence regarding govt informants
                             [192-1] as MOOT; GRANTING Motion for disclosure of Giglio
                             Information [193-1]; the [186-1] Motion Govt to give timely notice of
                             intent to use 404(b) evidence is DEFERRED; GRANTING Motion for
                             order allowing Mr. Shatto's counsel and investigator to enter the US
                             penitentiary at Florence, CO and to view the special unit [187-1];
                             GRANTING in PART and DENYING in PART the Motion for
                             discovery [184-1]; GRANTING in PART and DENYING in PART the




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                             Motion for discovery [194-1]; DENYING w/o prej. the Motion to
                             Provide Plea Hearing Transcripts of the govt witnesses,jake Geiger and
                             Charlotte Gutierrez, and trial transcripts of 97-CR-34-D and 98-CR-
                             224-D [123-1]; additional discov. motions due by 9/7/01; motions
                             hearing set for 10:30 9/25/01 for Mike Lavallee, for Rod Schultz, Ken
                             Shatto, David Pruyne, Robert Verbickas, Brent Gall and James Bond
                             Court Reporter: Kara Spitler (ecm) (Entered: 07/13/2001)
 07/16/2001            235   NOTICE of Civil Litigation by Rod Schultz (former empl) (Entered:
                             07/17/2001)
 07/17/2001            236   TRANSCRIPT of Hearing on Pending Discovery Motions( 1-157
                             pages) before Judge Daniel on 7/11/01; Prepared By: Paul Zuckerman
                             (former empl) (Entered: 07/18/2001)
 07/18/2001            237   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion for
                             withdrawal of attorney [233-1] withdrawing attorney Eric R. Toray for
                             Ken Shatto Clerk shall appoint new counsel for deft Shatto. (former
                             empl) (Entered: 07/18/2001)
 07/19/2001            245   CJA Form 20 Copy 4 (Appointment of Counsel) Attorney Neil E.
                             MacFarlane appointed for Ken Shatto by Magistrate Judge Patricia A.
                             Coan (ecm) (Entered: 07/24/2001)
 07/20/2001            240   SECOND CONSOLIDATED RESPONSE by USA to Defendants
                             Motions for Bill of Particulars and Severance (ecm) (Entered:
                             07/23/2001)
 07/20/2001            241   ORDER by Judge Wiley Y. Daniel GRANTING Motion For Order
                             Directing USM to Arrange Non-Custodial Transportation (from Denver
                             to Connecticut) [239-1] (Cert of Mailing) (ecm) (Entered: 07/23/2001)
 07/20/2001            242   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Order Directing USM to Arrange Non-Custodial
                             Transportation (from Connecticut to Denver) [238-1] (Cert of Mailing)
                             (ecm) (Entered: 07/23/2001)
 07/24/2001            246   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Gall's
                             Motion For Permission to File Motion For Disclosure of Authority to
                             Conduct Investigation, to Appear Before and Present Indictments to
                             Federal Grand Jury [244-1]; the govt shall respond to deft Gall's [243-
                             1] Motion For Disclosure of Authority to Conduct Investigation, to
                             Appear Before, and Present Indictments to Federal Grand Jury by
                             8/7/01; defts shall file stmts re cases in which particular defts were
                             represented by govt counsel by 7/16/01; govt shall produce pictures and
                             videos by 7/25/01; counsel shall file any further legal briefs on this
                             issue by 8/8/01; govt shall produce personnel files by 8/9/01; govt shall
                             produce all transcripts of grand jury proceedings when Mr. Blumberg
                             was present to the court for in camera review by 8/15/01; govt shall
                             produce copies of the stmts of defts Pruyne, Bond, LaValle, Schultz and
                             Shatto to counsel for those defts by 8/15/01; govt shall produce
                             documents related to stmts made to representatives of the US Dept. of
                             Justice and Sentry files, or file an obj. to their production by 8/24/01;




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                             govt shall produce discov. by 8/24/01; pretrial motions due 9/7/01;
                             counsel shall file a status report re modiciations to mtns by 9/17/01;
                             (ecm) (Entered: 07/25/2001)
 07/25/2001            247   RENEWAL OF MOTION For Notice of Intent to Use Evidence, For
                             Discovery of Statements, Motion to Suppress, and Request for
                             Evidentiary Hearing (ecm) (Entered: 07/26/2001)
 07/25/2001            248   MOTION For Order Directing US Marshal to Arrange Non-Custodial
                             Transportation by Rod Schultz (ecm) (Entered: 07/26/2001)
 07/25/2001            249   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing US Marshal to Arrange Non-Custodial
                             Transportation [248-1]; the USM is to provide non-custodial
                             transportation for the deft on/about 9/24/01 for his arrival from Tucson,
                             AZ to Colorado Springs, CO (Cert of Mailing) (ecm) (Entered:
                             07/26/2001)
 07/25/2001            250   MOTION For Order Directing US Marshal to Arrange Non-Custodial
                             Transportation by Rod Schultz (ecm) (Entered: 07/26/2001)
 07/25/2001            251   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing US Marshal to Arrange Non-Custodial
                             Transportation [250-1]; the USM is directed to provide non-Custodial
                             transportation for the deft on/about 9/27/01 from Colorado Springs, CO
                             to Tucson, AZ (Cert of Mailing) (ecm) (Entered: 07/26/2001)
 08/03/2001            256   MOTION To Join Co-Defendant's Motions by Rod Schultz (ecm)
                             (Entered: 08/06/2001)
 08/03/2001            262   MOTION In Limine to Exclude Habit Evidence Pursuant to Rules
                             401,403,404 & 406 Offered to Prove That the Defendant's Did Not
                             Violate the Constitutional Rights of Inmates by USA (ecm) (Entered:
                             08/06/2001)
 08/03/2001            263   MOTION In Limine to Exclude Improper Remarks and Arguments by
                             Defense Counsel by USA (ecm) (Entered: 08/06/2001)
 08/03/2001            264   MOTION In Limine to Exclude Jury Nullification Arguments by
                             Defense Counsel by USA (ecm) (Entered: 08/06/2001)
 08/03/2001            265   Memorandum of Law on the Admissibility of United States Bureau of
                             Prisons Documents Reflecting Uses of Force Against Inmates by USA
                             (ecm) (Entered: 08/06/2001)
 08/03/2001            266   MOTION In Limine to Exclude Reference to the Victims, Prior
                             Convictions, Incarceration History, and Disciplinary Record by USA
                             (ecm) (Entered: 08/06/2001)
 08/03/2001            267   MOTION In Limine to Exclude Reference to Administrative Actions or
                             the Lack Thereof, Against Defendants by USA (ecm) (Entered:
                             08/06/2001)
 08/03/2001            271   MOTION In Limine to Exclude Evidence of Defendants' Character by




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                             USA (ecm) (Entered: 08/08/2001)
 08/03/2001            259   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Seal [254-1] Motion To Produce Statements, [254-2] Motion for
                             Production of Exculpatory Material, [254-3] Motion to Dismiss and
                             [254-4] Request for Evidentiary Hearing (SEALED) [255-1] (ecm)
                             (Entered: 04/29/2002)
 08/07/2001            273   MOTION To Permit Government to File Attachments to Goverment's
                             Response [270-1] to Motion for Disclosure of Authority to Conduct
                             Investigation, to Appear Before, and Present Indictments to Federal
                             Grand Jury under SEAL (SEALED) by USA (ecm) (Entered:
                             08/10/2001)
 08/08/2001            274   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING govt's
                             Motion To Permit Government to File Attachments to Goverment's
                             Response [270-1] to Motion for Disclosure of Authority to Conduct
                             Investigation, to Appear Before, and Present Indictments to Federal
                             Grand Jury under SEAL (SEALED) [273-1] (ecm) (Entered:
                             08/10/2001)
 08/08/2001            275   TRIAL BRIEF by USA Describing the Appropriate Standard to Be
                             Employed in Reviewing Transcripts of Grand Jury Colloquy (ecm)
                             (Entered: 08/10/2001)
 08/08/2001            276   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Adopt Motions of Co-Defendants [261-1] as to Ken Shatto;
                             DEMUOMG Motion Extension of Time to File Additional Motions
                             [261-2] w/leave to refile indicating the date of the extension requesting;
                             GRANTING Motion To Join and Adopt Motions of Co-Defendants
                             [268-1] as to James Bond; GRANTING Motion To Join Co-
                             Defendant's Motions [256-1] as to Rod Schultz; GRANTING Motion
                             To Join Motions Filed by Defendants as to Robert Verbickas (ecm)
                             (Entered: 08/10/2001)
 08/14/2001            286   ORDER by Judge Wiley Y. Daniel GRANTING Brent Gall's Motion
                             for Issuance of Subpoenas in Forma Pauperis [283-1] (Cert of Mailing)
                             (ecm) (Entered: 08/14/2001)
 08/14/2001            290   NOTICE - EXPUNGED purs. to Minute Order [307-1] (ecm) Modified
                             on 08/20/2001 (Entered: 08/15/2001)
 08/14/2001            291   NOTICE - EXPUNGED purs. to Minute Order [307-1] (ecm) Modified
                             on 08/20/2001 (Entered: 08/15/2001)
 08/14/2001            292   NOTICE - EXPUNGED purs. to Minute Order [307-1] (ecm) Modified
                             on 08/20/2001 (Entered: 08/15/2001)
 08/14/2001            293   NOTICE - EXPUNGED purs. to Minute Order [307-1] (ecm) Modified
                             on 08/20/2001 (Entered: 08/15/2001)
 08/14/2001            294   NOTICE - EXPUNGED purs. to Minute Order [307-1] (ecm) Modified
                             on 08/20/2001 (Entered: 08/15/2001)




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 08/14/2001            295   NOTICE - EXPUNGED purs. to Minute Order [307-1] (ecm) Modified
                             on 08/20/2001 (Entered: 08/15/2001)
 08/14/2001            296   NOTICE - EXPUNGED purs. to Minute Order [307-1] (ecm) Modified
                             on 08/20/2001 (Entered: 08/15/2001)
 08/14/2001            297   NOTICE - EXPUNGED purs. to Minute Order [307-1] (ecm) Modified
                             on 08/20/2001 (Entered: 08/15/2001)
 08/14/2001            298   NOTICE - EXPUNGED purs. to Minute Order [307-1] (ecm) Modified
                             on 08/20/2001 (Entered: 08/15/2001)
 08/14/2001            299   NOTICE - EXPUNGED purs. to Minute Order [307-1] (ecm) Modified
                             on 08/20/2001 (Entered: 08/15/2001)
 08/14/2001            300   NOTICE - EXPUNGED purs. to Minute Order [307-1] (ecm) Modified
                             on 08/20/2001 (Entered: 08/15/2001)
 08/14/2001            301   MOTION To Withdraw Filings and to Seal and Expunge Record by
                             USA regarding Rod Schultz, Ken Shatto, David Pruyne, James Bond
                             (ecm) (Entered: 08/15/2001)
 08/20/2001            307   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING govt's
                             Motion To Withdraw Filings and to Seal and Expunge Record [301-1]
                             (SEALED) (ecm) Modified on 02/05/2004 (Entered: 08/20/2001)
 08/21/2001            310   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall
                             respond to deft Gall's [284-1] Motion to Hold in Abeyance Setting of
                             Deadlines for Response and Ruling on Government's Motions in
                             Limine by 8/23/01 (ecm) (Entered: 08/22/2001)
 08/21/2001            313   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Appointment of Expert (SUPPRESSED) [252-1] (Cert of
                             Mailing) (ecm) (Entered: 08/23/2001)
 08/22/2001            312   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Brent
                             Gall's Motion To Seal [308-1] Reply (SEALED) [309-1] (ecm)
                             (Entered: 08/23/2001)
 08/23/2001            314   RESPONSE by USA to deft Gall's Motion to Suppress Statements.
                             (former empl) (Entered: 08/24/2001)
 08/27/2001            315   ORDER by Judge Wiley Y. Daniel GRANTING Motion to Hold in
                             Abeyance Setting of Deadlines for Response and Ruling on
                             Government's Motions in Limine [284-1]; the govts motions in limine
                             will not be decided at the mtns hrg. set for 9/25/ & 26/01; the deadlines
                             for filing a response to these motions are also held in abeyance; the
                             court will make a determation as to when these mtns will be heard and
                             when responses shall be due at the hrg. in September (Cert of Mailing)
                             (ecm) (Entered: 08/28/2001)
 08/29/2001            319   Receipt for Returned orig. govt Notices, doc. #'s 290-300; received by
                             AUSA Paul Johns (ecm) (Entered: 08/30/2001)
 08/30/2001            320   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Brent




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                             Gall's Motion For Permission to File Reply to Government's Response
                             to Defendant's Motion to Suppress Statements [317-1]; GRANTING
                             Motion For Permission to File Reply to Government's Response to
                             Defendant Gall's Motion to Produce All Statements etc. [316-1]; deft
                             shall file said reply by 9/7/01; (ecm) (Entered: 09/04/2001)
 09/05/2001            367   ORDER by Judge Wiley Y. Daniel regarding [366-1] final cja form 21
                             re Ken Shatto (SUPPRESSED) (ecm) (Entered: 10/03/2001)
 09/06/2001            321   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Robert
                             Verbickas' Motion for Issuance of Subpoenas in Forma Pauperis
                             (SUPPRESSED) [306-1] (ecm) (Entered: 09/07/2001)
 09/12/2001            329   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             to Provide Transcripts (SEALED) [326-1]; GRANTING Motion To
                             Issue Subpoenas (SEALED) [325-1] (ecm) (Entered: 09/13/2001)
 09/12/2001            330   MINUTE ORDER before Judge Wiley Y. Daniel; govt shall respond to
                             deft Verbickas' [324-1] Motion To Dismiss (SEALED) by 9/20/01
                             (ecm) (Entered: 09/13/2001)
 09/12/2001            331   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Seal [326-1] Motion to Provide Transcripts [327-1] (ecm) (Entered:
                             09/13/2001)
 09/12/2001            333   MOTION For Leave to File Surresponse to Gall's Reply to
                             Government's Response to Motion for Disclosure by USA (ecm)
                             (Entered: 09/13/2001)
 09/13/2001            335   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion For
                             Leave to File Surresponse to Gall's Reply to Government's Response to
                             Motion for Disclosure [333-1] (former empl) (Entered: 09/14/2001)
 09/13/2001            336   ORDER by Judge Wiley Y. Daniel granting motion for Issuance of
                             Subpoenas in Forma Pauperis [328-1] (Cert of Mailing) (former empl)
                             (Entered: 09/14/2001)
 09/14/2001            339   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Brent
                             Gall's Motion For Permission to File Supplemental Authority in
                             Support of Renewal of Motion for Notice of Intent to Use Evidence,
                             For Discovery of Statements, Motion to Suppress and Request for
                             Evidentiary Hearing [334-1] (ecm) (Entered: 09/17/2001)
 09/14/2001            340   SURRESPONSE by USA to Defendant Gall's Reply to Government's
                             Response to Motion for Disclosure of Authority to Conduct
                             Investigation, to Appear Before and Present Indictments to Federal
                             Grand Jury (ecm) (Entered: 09/17/2001)
 09/18/2001            347   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Gall's
                             Motion For Permission to File Surreply to Government's Surresponse to
                             Motion for Disclosure of Authority to Conduct Investigation, to Appear
                             Before and Present Indictments to, Federal Grand Jury [342-1] (ecm)
                             (Entered: 09/19/2001)




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 09/19/2001            348   MOTION In Limine to Exclude Testimony of Tommy Borror and
                             Frank Quereau at August 25-26 Hearings by USA (ecm) (Entered:
                             09/20/2001)
 09/19/2001            350   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Robert
                             Verbickas' Motion for Issuance of Subpoenas in Forma Pauperis
                             (SUPPRESSED) [345-1] (ecm) (Entered: 09/20/2001)
 09/20/2001            351   MOTION For Clarification of Case Management Order Relating to the
                             Nature of Motions Scheduled to Be Argued at the September 25-26,
                             2001 Hearings by USA (ecm) (Entered: 09/21/2001)
 09/20/2001            354   MINUTE ORDER before Judge Wiley Y. Daniel; defts have
                             to/including 9/21/01 to respond to govt's [348-1] Motion In Limine to
                             Exclude Testimony of Tommy Borror and Frank Quereau at August 25-
                             26 Hearings (ecm) (Entered: 09/21/2001)
 09/21/2001            357   MOTION To Join Co-Defendant's Motions by Rod Schultz (ecm)
                             (Entered: 09/24/2001)
 09/25/2001            360   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Join Co-Defendant's Motions [357-1] as to Rod Schultz;
                             GRANTING Motion to join motion for court order allowing Mr.
                             Shatto's counsel and investigator to enter the US Penitentiary at
                             Florence, CO and to view the special housing unti and supplemental
                             grounds on behalf of all co-defts. [359-1] as to Mike Lavallee;
                             GRANTING Motion to join; deft Gall's Motion to Hold in Abeyance;
                             deft Verbikas' Motion to Dismiss Indictment; deft Verbikas' Motion to
                             Dismiss Counts; deft Pruyne's Motion for Permission to view crime
                             scene [358-1] as to Mike Lavallee; GRANTING govt's Motion To Seal
                             [355-1] Response to Motion to Dismiss the Indictment [356-1] (ecm)
                             (Entered: 09/26/2001)
 09/25/2001            361   COURTROOM MINUTES OF HEARING PENDING MOTIONS
                             before Judge Wiley Y. Daniel; ORDER: GRANTING Motion For
                             Clarification of Case Management Order Relating to the Nature of
                             Motions Scheduled to Be Argued at the September 25-26, 2001
                             Hearings [351-1]; DENYING Motion In Limine to Exclude Testimony
                             of Tommy Borror and Frank Quereau at August 25-26 Hearings [348-
                             1]; GRANTING Motion For Notice of Intent to Offer Expert
                             Testimony, For Reports of Experts, and for Disclosure of Results and
                             Methodologies [179-1]-not later than 60 days before trial; GRANTING
                             in PART and DENYING in PART the Motion For Discovery [280-1];
                             GRANTING Motion For Notice of Rule 404(b), 608 and 609 Evidence
                             [180-1]; GRANTING Motion For Notice of F.R.E. 404(B) Evidence
                             [177-1]; GRANTING Motion Govt to give timely notice of intent to
                             use 404(b) evidence [186-1]; GRANTING Motion notice by the govt of
                             it's intention to rely upon other crimes, wrongs, acts, and misconduct
                             evidence [190-1]; GRANTING Motion To Exclude Uncharged
                             Misconduct Evidence [282-1]; Pruyne's [260-1] Motion To Dismiss is
                             DEFERRED; defts Pruyne and Verbickas shall file Suppl. Mtns to
                             Dismiss by 10/16/01; govt shall file response by 10/30/01; GRANTING




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                             in PART and DENYING in PART the Motion For Bill of Particulars
                             [174-1]; GRANTING in PART and DENYING in PART the Motion
                             For Bill of Particulars [210-1]; GRANTING in PART and DENYING
                             in PART the Motion For Bill of Particulars [216-1]; GRANTING the
                             Motion For Notice of Intent Use Evidence [181-1]; the Motion To
                             Suppress Statement [214-1] is DENIED as MOOT; GRANTING
                             Motion In Limine For Pretrial Determination of Admissibility of Co-
                             Conspirator Statements [213-1]; GRANTING Motion For James
                             Hearing [253-1]; the Motion for appointment of counsel [233-2] is
                             MOOT; govt shall file a proposed order outlining deadlines set by the
                             court by 9/28/01; the portion of the hrg. set for 9/26/01 is VACATED;
                             bonds cont.; all exhs. returned to counsel; Court Reporter: Kara Spitler
                             (ecm) (Entered: 09/27/2001)
 09/26/2001            362   MINUTE ORDER before Judge Wiley Y. Daniel; the court has set
                             2/19/02 at 9 am through 2/22/02 as the date for a hearing on pending
                             motions and issues including pleadings and matters to be filed
                             consistent w/deadlines set by the court at the hrg. held on 9/25/01 (ecm)
                             (Entered: 09/27/2001)
 09/27/2001            363   ORDER by Judge Wiley Y. Daniel; GRANTING Motion For Notice of
                             Intent to Use Evidence [181-1]; GRANTING Motion For Discovery of
                             Statements, [247-2]; GRANTING Motion for Evidentiary Hearing
                             [247-4] in light of the evid. hrg. held on 9/25/01; DENYING Motion to
                             Suppress, [247-3] (Cert of Mailing) (ecm) (Entered: 09/28/2001)
 10/02/2001            365   TRANSCRIPT of Hearing on Pending Motions dated 9/25/01; copy
                             ( 241 pages) Prepared By: Kara Spitler (ecm) Modified on 11/06/2001
                             (Entered: 10/03/2001)
 10/04/2001            371   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion For
                             Issuance of Subpoenas (SUPPRESSED) [370-1] (former empl)
                             (Entered: 10/05/2001)
 10/05/2001            372   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Order Directing USM to Arrange Non-Custodial
                             Transportation (from Denver to Connecticut) [368-1] (Cert of Mailing)
                             (ecm) (Entered: 10/09/2001)
 10/05/2001            373   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Order Directing USM to Arrange Non-Custodial
                             Transportation (from Connecticut to Denver) [369-1] (Cert of Mailing)
                             (ecm) (Entered: 10/09/2001)
 10/10/2001            375   ORDER by Judge Wiley Y. Daniel GRANTING Motion For
                             Clarification of Case Management Order [351-1]; DENYING Motion
                             In Limine to Exclude Testimony of Tommy Borror and Frank Quereau
                             [348-1]; GRANTING in PART and DENYING in PART the Motion
                             For Discovery [280-1]; GRANTING Motion For Notice of Intent to
                             Offer Expert Testimony, For Reports of Experts, and for Disclosure of
                             Results and Methodologies [179-1]; GRANTING Motion seeking
                             reasonable advance notice: [177-1], [180-1], [186-1], [190-1], [282-1];




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                             the court defers ruling on Pruyne and Verbickas' [260-1] Motion To
                             Dismiss defendant, [221-1] Motion To Dismiss GRANTING in PART
                             and DENYING in PART the Motions For Bill of Particulars [174-1],
                             [210-1], [216-1], [281-1]; GRANTING Motion For James Hearing
                             [253-1]; ruling on the motions to sever is DEFERRED; defts shall file
                             new mtns for severance or supplements to their existing mtns for
                             severance by 12/7/01; GRANTING Motion For Notice of to Use
                             Evidence, [247-1]; granting motion For Notice of Intent to Use
                             Evidence [181-1]; DENYING Motion Motion to Suppress [247-3]; the
                             Motion To Suppress Statement [214-1] is DENIED as MOOT; the
                             [278-1] Motion To Suppress Statements of Co-Defendants is
                             DEFERRED; ORDER: the parties shall meet and confer on the
                             question of an on-site visit to the US Penitentiary, Florence; the govt
                             shall file a status report concerning those discussions by 10/19/01; if
                             any deft desires to file a mtn concerning access and the on-site visit,
                             such mtn must be filed by 10/19/01 (Cert of Mailing) (ecm) (Entered:
                             10/10/2001)
 10/10/2001            376   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Robert
                             Verbickas' Motion for Issuance of Subpoenas in Forma Pauperis
                             (SUPPRESSED) [374-1] (ecm) (Entered: 10/12/2001)
 10/18/2001            382   Bill of Particulars by USA (ecm) (Entered: 10/19/2001)
 10/18/2001            393   ORDER by Judge Wiley Y. Daniel GRANTING final voucher for E.
                             Richard Toray as to Ken Shatto (SUPPESSED) (ecm) (Entered:
                             11/01/2001)
 10/19/2001            384   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion To
                             Seal Supplement to Motion to Dismiss (SEALED) [379-1] [380-1],
                             regarding [324-1] motion To Dismiss (SEALED) (former empl)
                             (Entered: 10/22/2001)
 10/29/2001            387   MOTION For Order Directing the USM to Arrange Non-Custodial
                             Transportation (from CO to AZ) by Rod Schultz (ecm) (Entered:
                             10/30/2001)
 10/29/2001            388   MOTION For Order Directing USM to Arrange Non-Custodial
                             Transportation (from AZ to CO) by Rod Schultz (ecm) (Entered:
                             10/30/2001)
 10/30/2001            389   MINUTE ORDER before Judge Wiley Y. Daniel; govt shall respond to
                             deft Gall's Second Supplemental Discovery Motion [386-1] by 11/9/01
                             (ecm) (Entered: 10/31/2001)
 10/31/2001            390   ORDER by Judge Wiley Y. Daniel GRANTING Motion For Order
                             Directing USM to Arrange Non-Custodial Transportation (from AZ to
                             CO) [388-1] (Cert of Mailing) (ecm) (Entered: 11/01/2001)
 10/31/2001            391   ORDER by Judge Wiley Y. Daniel GRANTING Motion For Order
                             Directing the USM to Arrange Non-Custodial Transportation (from CO
                             to AZ) [387-1] (Cert of Mailing) (ecm) (Entered: 11/01/2001)




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 11/09/2001            396   STATUS REPORT by USA Purs. to September 25, 2001 Order (ecm)
                             (Entered: 11/13/2001)
 11/09/2001            397   MOTION For Extension of Time to Respond to Defendants' Motions to
                             Dismiss by USA (ecm) (Entered: 11/13/2001)
 11/13/2001            398   MOTION For Extension of Time to File James Proffer by USA (ecm)
                             (Entered: 11/14/2001)
 11/14/2001            399   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING govt's
                             Motion For Extension of Time to Respond to Defendants' Motions to
                             Dismiss [397-1] to/including 11/26/01 (ecm) (Entered: 11/15/2001)
 11/16/2001            402   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING govts'
                             Motion For Extension of Time to File James Proffer [398-1] to
                             11/26/01 (ecm) (Entered: 11/19/2001)
 11/26/2001            404   Proffer Purs. to Rule 801(d)(2)(E) by USA (ecm) (Entered: 11/27/2001)
 11/26/2001            405   RESPONSE by USA to Verbickas' Supplemental Motion [379-1]
                             (SEALED) (ecm) (Entered: 11/28/2001)
 12/05/2001            411   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             For Additional Time Within Which to Reply to Government's Response
                             to Defendant Pruyne's Motion to Dismiss [407-1]; GRANTING Motion
                             For Additional Time Within Which to Respond to Government's Co-
                             Conspirator Proffer [409-1]; GRANTING Motion For Extension of
                             Time to File James Proffer Response and Severance Supplement [406-
                             1]; motions are due 12/21/01 for David Pruyne, for Robert Verbickas
                             (ecm) (Entered: 12/06/2001)
 12/06/2001            413   848 Ex Parte Application as to Rod Schultz (former empl) (Entered:
                             12/06/2001)
 12/07/2001            417   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Bond's
                             Motion For an Extension of Time to File James Response and
                             Supplement to Severance Motion [414-1] to/including 12/21/01;
                             GRANTING Shatto's Motion For Extension of Time [416-1]
                             to/including 12/21/01 (ecm) (Entered: 12/10/2001)
 12/07/2001            418   MOTION To Join Co-Defendant's Motions by Rod Schultz (ecm)
                             (Entered: 12/10/2001)
 12/10/2001            419   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Join Co-Defendant's Motions [418-1] as to Rod Schultz; the govt
                             has to/including 12/21/01 to respond to Shatto's Supplement to Motion
                             for Severance [415-1] (ecm) (Entered: 12/11/2001)
 12/20/2001            423   RESPONSE by USA to Shatto's Supplemental Motin for Severance
                             regarding [415-1] (ecm) (Entered: 12/21/2001)
 12/21/2001            427   RESPONSE by Rod Schultz to Government's James Hearing
                             Submission and Renewed Request for a Separate Trial (ecm) (Entered:
                             12/24/2001)




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 01/04/2002            432   CONSOLIDATED REPLY by USA to Defendants' Responses to Co-
                             Conspirator Proffer Purs. to Rule 801(d)(2)(E) [429-1], [424-1] (ecm)
                             (Entered: 01/07/2002)
 01/04/2002            433   MOTION For Extension of Time to Respond to Defendant's Motions
                             Related to Severance and the Government's James Proffer by USA
                             (ecm) (Entered: 01/07/2002)
 01/04/2002            434   RESPONSE by USA to Pruyne's Supplemental Motion to Sever Trial
                             of Defendant regarding [425-1] (ecm) (Entered: 01/07/2002)
 01/08/2002            436   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING in
                             PART the govts' Motion For Extension of Time to Respond to
                             Defendant's Motions Related to Severance and the Government's James
                             Proffer [433-1]; the govt ha to/including 1/11/02 to respond; on/before
                             1/16/02, defts shall respond to the portion of the govts mtn requesting
                             that all defts pleadings be served upon the govt counsel by fax (ecm)
                             (Entered: 01/09/2002)
 01/11/2002            438   SECOND CONSOLIDATED REPLY by USA to Defendants'
                             Responses to Co-Conspirator Proffer Purs. to Rule 801(d)(2)(E) [429-
                             1], [426-1], [424-1], [408-1] (ecm) (Entered: 01/14/2002)
 01/11/2002            439   RESPONSE by USA to Schultz' Motion For Separate Trial [225-1]
                             (ecm) (Entered: 01/14/2002)
 01/11/2002            440   RESPONSE by USA to Bond's Supplement to Motion to Sever [431-1]
                             (ecm) (Entered: 01/14/2002)
 01/16/2002            442   RESPONSE by USA to Gall's Third Supplemental Motion For
                             Discovery Purs. to Court's Order of September 25, 2001 [435-1] (ecm)
                             (Entered: 01/17/2002)
 01/18/2002            444   MINUTE ORDER; before Judge Wiley Y. Daniel; Govt's motion
                             requesting that all defense pleadings be served upon the govt counsel
                             by fax, filed 1/4/02 is GRANTED. (former empl) (Entered: 01/22/2002)
 01/24/2002            446   MINUTE ORDER before Judge Wiley Y. Daniel; GRANTING
                             Unopposed Motion To Continue Motions Hearing [445-1]; the motions
                             hearing is reset to 9:00 5/20/02 for Mike Lavallee, for Rod Schultz, for
                             Shatto, for David Pruyne, for Robert Verbickas, for Brent Gall, for
                             James Bond (ecm) (Entered: 01/25/2002)
 01/31/2002            448   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Brent
                             Gall's Motion For Extension of Time Within Which to File Joint Status
                             Report [447-1] to/including 4/19/02 (ecm) (Entered: 02/01/2002)
 01/31/2002            449   JOINT STATUS REPORT by USA (ecm) (Entered: 02/01/2002)
 02/06/2002            454   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion to
                             extend time to file status report late [453-1] (former empl) (Entered:
                             02/07/2002)
 02/21/2002            459   ORDER by Judge Wiley Y. Daniel GRANTING David Pryune's




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                             Motion For Travel Authorization (SUPPRESSED) [458-1] (Cert of
                             Mailing) (ecm) (Entered: 02/26/2002)
 02/25/2002            456   ORDER by Judge Wiley Y. Daniel GRANTING Brent Gall's Motion
                             For Transcript [385-1] (Cert of Mailing) (ecm) (Entered: 12/12/2002)
 03/12/2002            470   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Travel Authorization (SUPPRESSED) [469-1] (Cert of
                             Mailing) (ecm) (Entered: 03/14/2002)
 03/13/2002            466   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas
                             Motion For Order Directing USM to Arrange Non-Custodial
                             Transportation from Connecticut to Denver [460-1] (Cert of Mailing)
                             (ecm) (Entered: 03/14/2002)
 03/13/2002            467   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Order Directing USM to Arrange Non-Custodial
                             Transportation from Denver to Connecticut [461-1] (Cert of Mailing)
                             (ecm) (Entered: 03/14/2002)
 03/14/2002            468   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Robert
                             Verbickas' Motion for Issuance of Subpoenas in Forma Pauperis
                             (SUPPRESSED) [462-1] (ecm) (Entered: 03/14/2002)
 03/18/2002            475   ORDER by Judge Wiley Y. Daniel STRIKING Robert Verbickas
                             Motion For Order to View (SEALED) [465-1] to the extent it is an ex
                             parte motion; deft shall refile the mtn w/in 10 days by 3/28/02 and
                             serve it upon the govt and counsel for the BOP (Cert of Mailing) (ecm)
                             (Entered: 03/19/2002)
 03/18/2002            477   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Gall's
                             Motion To Seal [473-1] Motion For Hearing (SEALED) [474-1] (ecm)
                             (Entered: 03/19/2002)
 03/18/2002            478   ORDER by Judge Wiley Y. Daniel; David Pruyne's Motion For
                             Viewing (SUPPRESSED) [464-1] is STRICKEN to the extent that is is
                             an ex parte mtn; the deft shall refile the mtn as a regular mtn served on
                             the govt w/in 10 days and shall also serve a copy on counsel for the
                             BOP (Cert of Mailing) (ecm) (Entered: 03/19/2002)
 03/18/2002            476   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Seal [471-1] Motion For Permission to File Supplement (SEALED)
                             [472-1]; GRANTING Motion For Permission to File Supplement
                             (SEALED) [471-1]; the govt shall respond to deft Gall's [473-1]
                             Supplemental Motion For James Hearing, [473-2] Supplemental
                             Motion to Dismiss and [473-3] Motion for Evidentiary Hearing
                             (SEALED) on/before 3/29/02 (ecm) (Entered: 04/29/2002)
 03/19/2002            479   ORDER by Judge Wiley Y. Daniel; a hearing on pending mtns is set
                             for 9:00 5/20/02; ea party shall file a ntc w/the court by 3/28/02 of all
                             issues and mtns that remain to be resolved as to that party; ea. party
                             shall also provide a proposed agenda for the hrg. and shall indicate if
                             any pending issues or mtns are moot; if any party believes that a mtn or




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                             issue needs to be addressed in advance of that hrg., it shall advise the
                             court of this by 3/28/02 (Cert of Mailing) (ecm) (Entered: 03/20/2002)
 03/28/2002            486   MOTION for order directing USM to arrange non-custodial
                             transportation by Rod Schultz (former empl) (Entered: 03/29/2002)
 03/28/2002            487   MOTION for order directing USM to arrange non-custodial
                             transportation back to Phoenix, AZ by Rod Schultz (former empl)
                             (Entered: 03/29/2002)
 03/28/2002            488   MOTION to join co-defts motions and notices by Rod Schultz (former
                             empl) (Entered: 03/29/2002)
 03/28/2002            492   NOTICE by USA to the Court of unresolved issues and motions.
                             (former empl) (Entered: 03/29/2002)
 03/28/2002            501   EXHIBIT C to Motion For View of Crime Scene [500-1] (SEALED)
                             (ecm) (Entered: 04/01/2002)
 03/29/2002            495   MINUTE ORDER; before Judge Wiley Y. Daniel; ORDERED; govt
                             shall respond to the following motions 493-1] motion issue subpoena
                             duces tecum for the production of the mental health recores of Charlotte
                             Gutierrez,491-1] motion issue subpoena duces tecum for the production
                             of the documents regarding the prior discipline of David Armstrong,
                             [489-1] motion for order compelling the BOP to provide deft, his
                             investigator and counsel a view of the crime scene ; by 4/10/02;
                             denying with leave to refile on or before 4/5/02 motion to join co-defts
                             motions and notices [488-1] deft needs to specifically identity the co-
                             defts motions he wishes to join; govt to respond to Deft Pruyne's
                             Motion to View of Crime Scene filed 3/29/02. (former empl) (Entered:
                             03/29/2002)
 03/29/2002            496   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                             USM to arrange non-custodial transportation back to Phoenix, AZ [487-
                             1], granting motion for order USM to arrange non-custodial
                             transportation [486-1] (Cert Mailing) (former empl) (Entered:
                             03/29/2002)
 03/29/2002            497   ORDER by Judge Wiley Y. Daniel; GRANTING Rod Schultz' [487-1]
                             motion for order directing USM to arrange non-custodial transportation
                             back to Phoenix, AZ (Cert of Mailing) (ecm) (Entered: 04/01/2002)
 03/29/2002            498   RESPONSE by USA to Gall's Supplemental Motion For James Hearing
                             [473-1], Supplemental Motion to Dismiss [473-2] and Motion for
                             Evidentiary Hearing (SEALED) [473-3] (ecm) (Entered: 04/29/2002)
 04/04/2002            503   ORDER by Judge Wiley Y. Daniel DENYING Mike Lavallee's Motion
                             For Appointment as CJA Counsel (SUPPRESSED) [482-1] (Cert of
                             Mailing) (ecm) (Entered: 04/08/2002)
 04/05/2002            502   MOTION To Join Co-Defendants Motions (Pruyne: Response to Court
                             Order of March 19, 2002, Amended Motion For View of Crime Scene
                             [500-1]; Verbickas: motion for order compelling the BOP to provide
                             deft, his investigator and counsel a view of the crime scene [489-1],




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                             motion to issue subpoena duces tecum for the production of the mental
                             health recores of Charlotte Gutierrez [493-1] and motin to issue
                             subpoena duces tecum for the production of the documents regarding
                             the prior discipline of David Armstrong [491-1]) by Rod Schultz (ecm)
                             (Entered: 04/08/2002)
 04/08/2002            504   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Rod
                             Schultz' Motion To Join Co-Defendants Motions: (Pruyne: Response to
                             Court Order of March 19, 2002, Amended Motion For View of Crime
                             Scene [500-1]; Verbickas: motion for order compelling the BOP to
                             provide deft, his investigator and counsel a view of the crime scene
                             [489-1], motion to issue subpoena duces tecum for the production of the
                             mental health recores of Charlotte Gutierrez [493-1] and motion to
                             issue subpoena duces tecum for the production of the documents
                             regarding the prior discipline of David Armstrong [491-1]) [502-1] as
                             to Rod Schultz (ecm) (Entered: 04/09/2002)
 04/09/2002            510   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Appointment of Expert (SUPPRESSED) [480-1] (Cert of
                             Mailing) (ecm) (Entered: 04/11/2002)
 04/12/2002            514   MINUTE ORDER before Judge Wiley Y. Daniel; defts previously filed
                             motions to join and adopt mtns of co-defts that do not specify which
                             motions they seek to join in; on/before 4/19/02, defts shall file a ntc of
                             joinder identifying the specific motions which they seek to join and
                             adopt (ecm) (Entered: 04/15/2002)
 04/15/2002            515   MINUTE ORDER before Judge Wiley Y. Daniel; STRICKING James
                             Bond's Motion To Dismiss defendant [512-1]; deft does not provide
                             any legal authority in support of his mtn; deft is ordered to refile the
                             mtn w/accompanying legal authority by 4/23/02 (ecm) (Entered:
                             04/16/2002)
 04/19/2002            516   MOTION In Limine to Exclude Testimony of Witnesses for Defendant
                             Verbickas' Motion to Dismiss by USA (ecm) (Entered: 04/22/2002)
 04/19/2002            517   RESPONSE by USA to Defendant Robert Verbickas' Request to Issue
                             Subpoenas for Items 16-61 of His Motion For Discovery [194-1] (ecm)
                             (Entered: 04/22/2002)
 04/19/2002            519   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall advise
                             the court of the status of the discov. issues and/or its position on discov.
                             that it does not believe defts are entitled to; the govt shall respond by
                             4/29/02 to the requested discov. by referring to the specific pleadings of
                             the defts and any separatelyt numbered paragraphs therein (ecm)
                             (Entered: 04/22/2002)
 04/22/2002            523   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Ken
                             Shatto's Motion For Leave to File Response to Court Order Out of
                             Time [522-1]; defts shall respond to the govts [516-1] Motion In
                             Limine to Exclude Testimony of Witnesses for Defendant Verbickas'
                             Motion to Dismiss by 4/30/02 (ecm) (Entered: 04/23/2002)




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 04/25/2002            526   ORDER by Judge Wiley Y. Daniel DENYING Motion To Withdraw
                             (SUPPRESSED) [525-1] by Mike LaVallee (ecm) (Entered:
                             04/25/2002)
 04/25/2002            530   MINUTE ORDER before Judge Wiley Y. Daniel; govt shall respond to
                             deft Bond's [524-1] Motion to Dismiss by 5/3/02 (ecm) (Entered:
                             04/25/2002)
 04/25/2002            531   MINUTE ORDER before Judge Wiley Y. Daniel; defts shall respond to
                             the govt's [516-1] Motion In Limine to Exclude Testimony of
                             Witnesses for Defendant Verbickas' Motion to Dismiss by 5/8/02 (ecm)
                             (Entered: 04/25/2002)
 04/26/2002            532   MINUTE ORDER before Judge Wiley Y. Daniel; the Motion To
                             Withdraw (SUPPRESSED) [525-1] as to Mike LaVallee is DENIED as
                             MOOT (ecm) (Entered: 04/29/2002)
 04/29/2002            537   MOTION For Additional Time to Respond to the Court's Order of
                             April 19, 2002 by USA (ecm) (Entered: 04/30/2002)
 04/30/2002            540   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING
                             Verbickas' Motion For Permission to File Reply to Government's
                             Response to Motion to Issue Subpoenas Duces Tecum for the
                             Production of the Mental Health Records of Charlotte Gutierrez [534-
                             1]; GRANTING Verbickas' Motion For Permission to File Reply to
                             Government's Response to Motion to Issue Subpoenas Duces Tecum
                             for the Production of the Documents Regarding the Prior Discipline of
                             David Armstrong [536-1]; GRANTING govt's Motion For Additional
                             Time to Respond to the Court's Order of April 19, 2002 [537-1]
                             to/including 5/2/02 (ecm) (Entered: 05/01/2002)
 05/01/2002            543   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Ken
                             Shatto's Motion For Leave to File Response to Court Order Out of
                             Time [522-1] (ecm) (Entered: 05/02/2002)
 05/01/2002            547   CJA 20 appointment form, appointing Thomas Hammond; ORDER by
                             Judge Wiley Y. Daniel GRANTING Motion For Appointment of
                             Counsel (SUPPRESSED) [539-1]; pro tunc 3/26/02 (Cert of Mailing)
                             (ecm) Modified on 07/16/2003 (Entered: 05/03/2002)
 05/01/2002            547   CJA Form 20 Copy 4 (Appointment of Counsel) Attorney Thomas
                             Hammond appointed for Michael Lavalle by Judge Wiley Y. Daniel
                             (SUPPRESSED) (former empl) (Entered: 07/16/2003)
 05/02/2002            545   ORDER by Judge Wiley Y. Daniel granting Ken Shatto's motion For
                             Extension to Respond to Govt's Motin to Disallow Verbickas'
                             Witnesses Out of Time [542-1] (Cert of Mailing) (dlb) (Entered:
                             05/03/2002)
 05/07/2002            551   ORDER by Judge Wiley Y. Daniel DENYING Brent Gall's Motion For
                             Disclosure of Authority to Conduct Investigation, to Appear Before,
                             and Present Indictments to Federal Grand Jury [243-1] (Cert of
                             Mailing) (ecm) (Entered: 05/16/2002)




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 05/08/2002            553   ORDER by Judge Wiley Y. Daniel; DENYING Verbickas' Motion
                             issue subpoena duces tecum for the production of the documents
                             regarding the prior discipline of David Armstrong [491-1]; DENYING
                             Verbickas' Motion to issue subpoena duces tecum for the production of
                             the mental health recores of Charlotte Gutierrez [493-1]; DENYING
                             Verbickas' Supplemental Discovery Motion Purs. to 9/25/01 Court
                             Order [383-1]; DENYING Verbickas' Motion for compelling the BOP
                             to provide deft, his investigator and counsel a view of the crime scene
                             [489-1]; DENYING Pruyne's Amended Motion For View of Crime
                             Scene [500-1] (Cert of Mailing) (ecm) (Entered: 05/09/2002)
 05/13/2002            558   MINUTE ORDER before Judge Wiley Y. Daniel; the hearing is reset to
                             9:00 5/21/02 (ecm) (Entered: 05/14/2002)
 05/13/2002            559   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING James
                             Bond's Motion To Issue Subpoenas (SUPPRESSED) [556-1] (ecm)
                             (Entered: 05/14/2002)
 05/15/2002            560   ORDER by Judge Wiley Y. Daniel; DENYING govt's Motion In
                             Limine to Exclude Testimony of Witnesses for Defendant Verbickas'
                             Motion to Dismiss [516-1]; GRANTING Gall's Request for Evidentiary
                             Hearing (SEALED) [254-4] and (SEALED) [473-3]; Verbickas request
                             for an evid. hrg. contained in his [324-1] Motion To Dismiss
                             (SEALED) is GRANTED; DENYING Gall's Motion For James
                             Hearing [473-1] (Cert of Mailing) (ecm) (Entered: 05/16/2002)
 05/15/2002            707   848/ORDER by Judge Wiley Y. Daniel GRANTING Michael
                             LaVallee's Motion For Payment in Excess for Scanning (Suppressed)
                             [563-1] (Cert of Mailing) (ecm) Modified on 12/12/2002 (Entered:
                             12/12/2002)
 05/21/2002            564   COURTROOM MINUTES OF HEARING ON PENDING MOTIONS
                             before Judge Wiley Y. Daniel in-court hearing held on 5/21/02 as to
                             Mike Lavallee, Rod Schultz, Ken Shatto, David Pruyne, Robert
                             Verbickas, Brent Gall, James Bond granting Gall's motion To Amend
                             Order of May 7, 2002 [555-1] denying Shatto's motion For Discovery
                             [520-1] granting LaVallee's motion For Disclosure of Grand Jury
                             Exhibits and Psychological Records [550-1] Ruling on Bond's motion
                             to dismiss count(s) as to James Bond (7) count(s) 1, 7, 1s, 8s [524-1] is
                             deferred; granting Pruyne's motion For Discovery and Requiring the
                             Government Prosecutors to Comply With Discovery Obligations Under
                             FRCrP 16 and Exculpatory Evidence Requirements [561-1] Ruling on
                             Gall's motion To Produce Statements, [254-1] and Ruling on motion
                             Motion for Production of Exculpatory Material, [254-2] is deferred,
                             Ruling on motion Motion to Dismiss [254-3] is deferred denying Gall's
                             motion To Produce Statements, [254-1], denying Gall's motion Motion
                             for Production of Exculpatory Material, [254-2]; bond for dfts
                             continued Court Reporter: Kara Spitler (dlb) (Entered: 05/23/2002)
 05/22/2002            565   COURTROOM MINUTES OF PENDING MOTIONS before Judge
                             Wiley Y. Daniel denying motion to dismiss count(s) as to James Bond
                             (7) count(s) 1, 7, 1s, 8s [524-1] taking under advisement on 5/22/02 the




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                             motion To Dismiss defendant [260-1] Motion Under Advisement
                             deadline set for 6/12/02 Motion Under Advisement deadline set for
                             6/12/02; bond contued for dfts Court Reporter: Kara Spitler (dlb)
                             (Entered: 05/23/2002)
 05/23/2002            566   Receipt for exhibits as to defendants (dlb) (Entered: 05/24/2002)
 05/23/2002            567   Receipt for exhibits as to plaintiff (dlb) (Entered: 05/24/2002)
 05/23/2002            568   COURTROOM MINUTES OF PENDING MOTIONS - DAY 3 before
                             Judge Wiley Y. Daniel taking under advisement on 5/23/02 the motion
                             To Dismiss defendant [260-1] Motion Under Advisement deadline
                             satisfied PENDING MOTIONS/in-court hearing set for 8/22/02 for
                             Mike Lavallee, for Rod Schultz, for Ken Shatto, for David Pruyne, for
                             Robert Verbickas, for Brent Gall, for James Bond as to Mike Lavallee,
                             Rod Schultz, Ken Shatto, David Pruyne, Robert Verbickas, Brent Gall,
                             James Bond; ORDERED: counsel shall file add'l stmts related to the
                             mtns to dism by 6/21/02 Court Reporter: Kara Spitler (dlb) (Entered:
                             05/24/2002)
 05/29/2002            580   LETTER to court from witness Roger Procter requesting appt. of
                             counsel (ecm) (Entered: 06/11/2002)
 05/31/2002            579   ORDER by Judge Wiley Y. Daniel GRANTING Brent Gall's Motion
                             To Continue Appt. of Expert (SUPPRESSED) [562-1] (Cert of
                             Mailing) (ecm) (Entered: 06/05/2002)
 06/03/2002            572   ORDER by Judge Wiley Y. Daniel; GRANTING Gall's Motion To
                             Amend Order of May 7, 2002 [555-1]; the court DENIES any
                             arguments that the Bill of Particulars provided by the govt is
                             inadequate; with respect to the BOP Correctional Svcs. Manual, deft are
                             to be shown the index of the manual(s) in place during the time fram of
                             the alleged conspiracy, and the parties shall meet and confer on
                             production of the portions of the manuals defts want produced; deft
                             shall specify to the govt by 5/31/02 what futher materials they want
                             produced by the BOP re training materials of the BOP; the govt shall
                             advise defts whether they have these materials and whether they will be
                             produced by 6/10/02; defts requests for mental health
                             records/psychiatric records of Charlotte Gutierrez and/or the victim
                             inmates named in the S.IND are DENIED; govt shall provide
                             impeachment evid. related to the witnesses it will call at trial no later
                             than 75 days prior to trial, including but not limited to impeachment
                             material re David Armstrong or Jake Geiger; the govt shall disclose
                             whether a disciplinary report exists of Felton Wiggins no later than 75
                             days prior to trial; the request for g.j. exhibits is GRANTED; the govt
                             shall disclose to defts the exhs. that were referred to in the grand jury
                             transcripts that have been provided to the defts; the location of the
                             inmates Ellis Lard and Kerry Love is DENIED as MOOT; Verbickas
                             requests for the records re the investigation of inmate assults on BOP
                             staff or other inmates from the opening of USP-Florence through 7/97
                             is DENIED; GRANTING in PART and DENYING in PART
                             LaVallee's Motion For Disclosure of Grand Jury Exhibits and




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                             Psychological Records [550-1]; the request for disclosure of grand jury
                             exhs is GRANTED and the request for psychological records is
                             DENIED; GRANTING in PART and DENYING in PART Shatto's
                             Motion For Discovery [520-1]; GRANTING Pruyne's Motion For
                             Discovery and Requiring the Government Prosecutors to Comply With
                             Discovery Obligations Under FRCrP 16 and Exculpatory Evidence
                             Requirements [561-1]; GRANTING in PART and DENYING in PART
                             Gall's Motion To Produce Statements and [254-1] Motion Motion for
                             Production of Exculpatory Material [254-2]; GRANTING Gall's
                             Supplemental Motion for Discovery [381-1]; GRANTING Gall's
                             Second Supplemental Motin for Discovery [386-1]; GRANTING Gall's
                             Third Supplemental Motion For Discovery Purs. to Court's Order of
                             September 25, 2001 [435-1]; GRANTING Gall's request for discovery;
                             DENYING Bond's Renewed Motion to dismiss [524-1]; defts have
                             to/including 6/21/02 to file stmts providing case law and referenes to
                             the transcripts in support of their mtns to dismiss; govt shall have
                             to/including 7/12/02 to file a response to these stmts; hearing on
                             pending mtns and issues is cont. to 9:00 8/22/02 and 8/23/02; trial
                             preparation conference set for 3:00 2/14/03 jury trial set for 9:00
                             3/17/03 (Cert of Mailing) (ecm) (Entered: 06/04/2002)
 06/03/2002            574   TRANSCRIPT of Hearing on Pending Motions, Day 1 dated 5/21/02;
                             copy; (258 pages) Prepared By: Kara Spitler (ecm) (Entered:
                             06/04/2002)
 06/03/2002            575   TRANSCRIPT of Hearing on Pending Motions, Day 2 dated 5/22/02;
                             copy; (259-504 pages) Prepared By: Kara Spitler (ecm) (Entered:
                             06/04/2002)
 06/03/2002            576   TRANSCRIPT of Hearing Pending Motions, Day 3 dated 5/23/02;
                             copy; (506-677 pages) Prepared By: Kara Spitler (ecm) (Entered:
                             06/04/2002)
 06/04/2002            577   COURT ORDERED RESPONSE by USA to Pruyne's Motion For
                             Discovery and Requiring the Government Prosecutors to Comply With
                             Discovery Obligations Under FRCrP 16 and Exculpatory Evidence
                             Requirements [561-1] regarding [561-1] (ecm) (Entered: 06/05/2002)
 06/06/2002            581   MEMORANDUM referring to Magistrate Judge O. E. Schlatter the
                             letter [580-1] from witness Roger Procter requesting appt. of counsel
                             (ecm) (Entered: 06/11/2002)
 06/07/2002            582   CJA Form 20 Copy 4 (Appointment of Counsel) Attorney Sally
                             Wheeler appointed for witness Roger Procter by Magistrate Judge O. E.
                             Schlatter (ecm) (Entered: 06/11/2002)
 06/14/2002            583   CERTIFICATE of Mailing; the Order For Disclosure of Grand Jury
                             Material resent (ecm) (Entered: 06/17/2002)
 06/14/2002            584   MOTION to Disclose Grand Jury Material to Defendant by USA (ecm)
                             (Entered: 06/17/2002)
 06/14/2002            585   ORDER by Judge Wiley Y. Daniel GRANTING Motion to Disclose




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                             Grand Jury Material to Defendant [584-1] (Cert of Mailing) (ecm)
                             (Entered: 06/17/2002)
 06/18/2002            596   848 Ex Parte Application as to Rod Schultz (former empl) (Entered:
                             06/18/2002)
 06/18/2002            598   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall
                             respond to deft Verbickas' [589-1] Motion To Reschedule Trial Date
                             From March 17, 2003 to March 24, 2003; GRANTING Verbickas'
                             Motion To Seal [587-1] Brief [588-1] (ecm) (Entered: 06/19/2002)
 06/19/2002            606   MOTION To Substitute Expert (SUPPRESSED) by Rod Schultz (ecm)
                             (Entered: 06/24/2002)
 06/20/2002            602   RESPONSE by USA motion To Reschedule Trial Date From March
                             17, 2003 to March 24, 2003 [589-1] regarding [589-1] (former empl)
                             (Entered: 06/21/2002)
 06/21/2002            604   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Seal Brief in Support of Motions to Dismiss [600-1] (SEALED)
                             [601-1]; GRANTING Motion For Permission to File Memorandum in
                             Excess of Fifteen Pages [599-1] (ecm) (Entered: 06/24/2002)
 06/21/2002            607   MOTION For Payment in Excess Re Expert (Suppressed) by Rod
                             Schultz (ecm) (Entered: 06/24/2002)
 06/25/2002            609   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Reschedule Trial Date From March 17, 2003 to March 24, 2003
                             [589-1]; jury trial is reset to 9:00 3/24/03 for Robert Verbickas (ecm)
                             (Entered: 06/26/2002)
 06/26/2002            613   ORDER by Judge Wiley Y. Daniel GRANTING David Pruyne's
                             Motion For Payment in Excess for Expert (Suppressed) [573-1] (Cert of
                             Mailing) (ecm) (Entered: 06/28/2002)
 07/10/2002            614   MOTION For Extension of Time in Which to File Responses to
                             Motions to Dismiss Purs. to Court Order Issued During May, 2000
                             Motion Hearings by USA (ecm) (Entered: 07/11/2002)
 07/10/2002            625   ORDER: approving Final Voucher for Expert other services Number
                             020712/40 of Investigator for Rod Schultz regarding Motion For
                             Payment in Excess Re Expert (Suppressed) [607-1] and Motion To
                             Substitute Expert (SUPPRESSED) [606-1] (ecm) (Entered: 08/01/2002)
 07/10/2002            626   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Payment in Excess Re Expert (Suppressed) [607-1] and
                             GRANTING Motion To Substitute Expert (SUPPRESSED) [606-1]
                             (Cert of Mailing) (ecm) (Entered: 08/01/2002)
 07/11/2002            615   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             For Extension of Time in Which to File Responses to Motions to
                             Dismiss Purs. to Court Order Issued During May, 2000 Motion
                             Hearings [614-1] to/including 7/17/02 (ecm) (Entered: 07/12/2002)




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 07/17/2002            616   RESPONSE by USA to Verbickas' Brief in Support of Motion to
                             Dismiss Counts Four, Seven and Ten for Insufficiency [587-1] (ecm)
                             (Entered: 07/18/2002)
 07/17/2002            617   RESPONSE by USA to Verbickas' Brief in Support of Motion to
                             Dismiss (Fifth Amendment Independence of the Grand Jury) [586-1]
                             (ecm) (Entered: 07/18/2002)
 07/17/2002            618   CONSOLIATED RESPONSE by USA to Briefs Filed by Defendants
                             Gall and Shatto in Support of Motions to Dismiss [608-1] and [600-1]
                             (ecm) (Entered: 07/18/2002)
 07/17/2002            619   MOTION For Permission to File Response in Exces of 15 Pages by
                             USA (ecm) (Entered: 07/18/2002)
 07/22/2002            621   MINUTE ORDER; before Judge Wiley Y. Daniel regarding dft's [620-
                             1] motion for discovery; gov has to 8/1/02 to respond (dlb) (Entered:
                             07/23/2002)
 07/22/2002            622   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion For
                             Permission to File Response in Exces of 15 Pages [619-1] (dlb)
                             (Entered: 07/23/2002)
 08/06/2002            631   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Brent
                             Gall's Motion For Permission to File Reply to Government's Response
                             to Briefs Filed by Defendants Gall and Shatto in Support of Motion to
                             Dismiss [629-1] (ecm) (Entered: 08/07/2002)
 08/09/2002            636   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Order Directing USM to Arrange Non-Custodial
                             Transportation (from Connecticut to Denver) [632-1] (Cert of Mailing)
                             (ecm) (Entered: 08/09/2002)
 08/09/2002            637   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Order Directing USM to Arrange Non-Custodial
                             Transportation (from Denver to Connecticut) [633-1] (Cert of Mailing)
                             (ecm) (Entered: 08/09/2002)
 08/14/2002            640   MOTION For Order Directing USM to Arrange Non-Custodial
                             Transportation (from Tucson, AZ to Colo. Spgs.) by Rod Schultz (ecm)
                             (Entered: 08/15/2002)
 08/14/2002            641   MOTION For Order Directing USM to Arrange Non-Custodial
                             Transportation (from Colo. Spgs. to Tucson, AZ) by Rod Schultz (ecm)
                             (Entered: 08/15/2002)
 08/15/2002            642   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing USM to Arrange Non-Custodial Transportation
                             (from Colo. Spgs. to Tucson, AZ) [641-1] (Cert of Mailing) (ecm)
                             Modified on 08/16/2002 (Entered: 08/16/2002)
 08/15/2002            643   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing USM to Arrange Non-Custodial Transportation
                             (from Tucson, AZ to Colo. Spgs.) [640-1] (Cert of Mailing) (ecm)




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                             (Entered: 08/16/2002)
 08/15/2002            655   ORDER by Judge Wiley Y. Daniel GRANTING David Pruyne's
                             Motion To Approve Payment of Private Investigator Voucher [624-1]
                             and [627-1] (both the orig. and copy were docketed) (Cert of Mailing)
                             (ecm) (Entered: 12/12/2002)
 08/22/2002            646   COURTROOM MINUTES OF HEARING PENDING MOTIONS
                             before Judge Wiley Y. Daniel; defts Lavalee, Schultz, Shatto, Pruyne,
                             Verbickas, Gall and Bond present w/counsel; ORDER: GRANTING in
                             PART and DENYING in PART the Motion for discovery [620-1];
                             DENYING Motion To Dismiss Count 4s, 7s, 10s For Insufficiency or
                             in the Alternative For a Bill of Particulars [221-1]; DENYING
                             Verbickas' Supplement to Motion to Dismiss [379-1]; DENYING Brief
                             in Support of Motion to Dismiss [587-1]; Brent Gall's Motion to
                             Dismiss [254-3] is TAKEN UNDER ADVISEMENT; the
                             Supplemental Motion to Dismiss, [473-2] is TAKEN UNDER
                             ADVISEMENT; the Motion To Dismiss (SEALED) [324-1]; Shatto's
                             Brief in Support of Verbickas Motion to Dismiss [608-1] is TAKEN
                             UNDER ADVISEMENT; any mtns to join or adopt or any addtl new
                             mtns shall be filed by 9/6/02; Court Reporter: Kara Spitler (ecm)
                             (Entered: 08/23/2002)
 08/23/2002            647   COURTROOM MINUTES OF HEARING PENDING MOTIONS
                             before Judge Wiley Y. Daniel; defts present; ORDER: severance
                             hearing set 10:00 11/1/02; govt shall file stmt that sets forth the
                             conspiracy or conspiracies involved in this case by 9/6/02; govt shall
                             identify all known members of conspiracy or conspiracies as outlined
                             by the court by 9/6/02; defts shall respond to defts submissions by
                             9/20/02; govt shall provide all reports re the Turner incident by 9/13/02;
                             Mr. Blumberg shall memorialize his stmt made in open court by 9/6/02;
                             an affidavit shall be filed by Ms Grundy as outlined by the court by
                             8/30/02; parties shall meet and confer and file a written itenerary or
                             timetable re completion of technology matters and other issues related
                             to technology by 9/20/02; any mtns to join or adopt or any addtl new
                             mtns are due 9/20/02; bond cont.; Court Reporter: Kara Spitler (ecm)
                             (Entered: 08/27/2002)
 08/30/2002            648   Declaration of Jennifer L. Grundy Concerning Lieutenant's Meeting
                             Minutes at USP Florence (ecm) (Entered: 09/03/2002)
 09/04/2002            649   AFFIDAVIT of Mark Blumberg AUSA re dismissal of assault charges
                             against inmate William Vance Turner (ecm) (Entered: 09/05/2002)
 09/06/2002            650   SUPPLEMENTAL Brief in Support of Admission of Coconspirator
                             Statements Purs. to RUle 801(d)(2)(E) by USA (ecm) (Entered:
                             09/09/2002)
 09/16/2002            653   Opposition by USA to Motion to extend time to 9/30/02 to resp [652-1]
                             regarding [652-1] (ecm) (Entered: 09/17/2002)
 09/16/2002            656   MINUTE ORDER before Judge Wiley Y. Daniel; GRANTING motion
                             to extend time to 9/30/02 to resp [652-1]; all defts are to file their




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                             respond to the govts suppl. proffer of co-conspirator stmts is extended
                             to/including 9/30/02; (ecm) (Entered: 09/18/2002)
 09/20/2002            659   MOTION For Preservation and Production of Pedro Castillo Video
                             Tape by Rod Schultz (ecm) (Entered: 09/23/2002)
 09/24/2002            661   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall
                             respond to defts [659-1] Motion For Preservation and [659-2] Motion
                             Production of Pedro Castillo Video Tape by 10/4/02 (ecm) (Entered:
                             09/25/2002)
 09/27/2002            672   TRANSCRIPT of Hearing on Pending Motions, Day 5 dated 8/23/02;
                             copy; (857-1015 pages) Prepared By: Kara Spitler (ecm) (Entered:
                             10/07/2002)
 09/27/2002            673   TRANSCRIPT of Hearing Pending Motions, Day 4 dated 8/22/02;
                             copy; ( 678-856 pages) Prepared By: Kara Spitler (ecm) (Entered:
                             10/07/2002)
 09/30/2002            667   MOTION To Join Co-Defendant's Motions (Gall's Response to Govt's
                             Supplemental Brief [657-1], Bond's Response to Govt's Supplemental
                             Brief [662-1], Verbickas Response to Govt's Supplemental Brief [666-
                             1] and LaValle Motion to Join by Rod Schultz (ecm) (Entered:
                             10/01/2002)
 10/01/2002            670   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Join Co-Defendant's Motions (Gall's Response to Govt's
                             Supplemental Brief [657-1], Bond's Response to Govt's Supplemental
                             Brief [662-1], Verbickas Response to Govt's Supplemental Brief [666-
                             1] and LaValle Motion to Join [667-1] as to Rod Schultz (ecm)
                             (Entered: 10/02/2002)
 10/01/2002            671   MINUTE ORDER before Judge Wiley Y. Daniel; the hrg. on motions
                             to sever is RESET; severance hearing is reset to 9:00 1/3/03 for Mike
                             Lavallee, for Rod Schultz, for Ken Shatto, for David Pruyne, for Robert
                             Verbickas, for Brent Gall, for James Bond (ecm) (Entered: 10/02/2002)
 10/04/2002            674   RESPONSE by USA to Motion For Preservation [659-1] and Motion
                             Production of Pedro Castillo Video Tape [659-2] (ecm) (Entered:
                             10/07/2002)
 10/07/2002            675   MINUTE ORDER; before Judge Wiley Y. Daniel ; govt's request for
                             an additional ten days in which to respond to deft Schulz's motion for
                             preservation and production of Pedro Castillo Video Tape filed 9/20/02
                             is GRANTED up to and including 10/15/02. (former empl) (Entered:
                             10/08/2002)
 10/15/2002            679   SUPPLEMENTAL Response to Defendant Schultz' Motion for
                             Preservation and Production of Pedro Castillo Video Tape and Training
                             Tape [674-1] by USA (ecm) (Entered: 10/16/2002)
 10/21/2002            680   MINUTE ORDER before Judge Wiley Y. Daniel; a full day hearing on
                             motions for severance is set for 9:00 1/3/03; a half day hearing on the
                             admissibility of co-conspirator stmts is set for 1:30 1/2/03 (ecm)




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                             (Entered: 10/22/2002)
 10/29/2002            687   848/ORDER by Judge Wiley Y. Daniel GRANTING Michael La
                             Vallee's Motion For Appointment of Expert - Investigator
                             (SUPPRESSED) [682-1] (Cert of Mailing) (ecm) (Entered: 10/30/2002)
 10/29/2002            688   ORDER by Judge Wiley Y. Daniel GRANTING Michael La Vallee's
                             Motion For Appointment of Expert - Paralegal (SUPPRESSED) [683-
                             1] (Cert of Mailing) (ecm) (Entered: 10/30/2002)
 10/31/2002            690   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Continue Hearing Date [689-1]; the half-day hearing is reset to a full
                             day hearing at 9:00 12/17/02; the full day hearing on defts motions to
                             sever is reset to 9:00 12/18/02; no motions to reset these hrgs. will be
                             granted absent exceptional and unforseen circumstances (ecm)
                             (Entered: 11/01/2002)
 11/01/2002            691   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Order Directing USM to Arrange Non-Custodial
                             Transportation (from Denver to Hartford, CT) [685-1] on/about
                             12/18/02; (Cert of Mailing) (ecm) (Entered: 11/04/2002)
 11/01/2002            692   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Order Directing the USM to Arrange Non-Custodial
                             Transportation (from Hartford, CT to Denver) [686-1] on/about
                             12/17/02 (Cert of Mailing) (ecm) (Entered: 11/04/2002)
 11/26/2002            696   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall
                             respond to deft Verbickas' [695-1] Motion To Compel Govt to Call
                             Proferred Declarant Witnesses For the Hearing Set on December 17,
                             2002 by 12/6/02 (ecm) (Entered: 11/27/2002)
 12/04/2002            701   NOTICE to COurt of Intentino to Seek Immunity For, And Present
                             Testimony of, Roger Procter on December 17, 2002 by USA (ecm)
                             (Entered: 12/05/2002)
 12/09/2002            703   ORDER by Judge Wiley Y. Daniel DENYING Robert Verbickas'
                             Motion To Compel Govt to Call Proferred Declarant Witnesses For the
                             Hearing Set on December 17, 2002 [695-1] (Cert of Mailing) (ecm)
                             (Entered: 12/10/2002)
 12/11/2002            705   MOTION For Order Directing USM to Arrange Non-Custodial
                             Transportation From Colorado Springs to Arizona by Rod Schultz
                             (ecm) (Entered: 12/12/2002)
 12/11/2002            706   MOTION For Order Directing USM Arrange Non-Custodial
                             Transportation to Colorado Springs, CO by Rod Schultz (ecm)
                             (Entered: 12/12/2002)
 12/16/2002            708   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing USM to Arrange Non-Custodial Transportation
                             From Denver to Arizona [705-1] (Cert of Mailing) (ecm) (Entered:
                             12/17/2002)




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 12/16/2002            709   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing USM Arrange Non-Custodial Transportation to
                             Colorado Springs, CO [706-1] (Cert of Mailing) (ecm) (Entered:
                             12/17/2002)
 12/16/2002            710   MOTION To Compel Testimony of Roger Procter by USA (ecm)
                             (Entered: 12/17/2002)
 12/16/2002            711   COURTROOM MINUTES OF HEARING ON MOTION TO
                             COMPEL before Judge Wiley Y. Daniel; Court Minutes are FILED
                             UNDER SEAL (ecm) (Entered: 12/17/2002)
 12/16/2002            712   ORDER by Judge Wiley Y. Daniel GRANTING Motion To Compel
                             Testimony of Roger Procter [710-1] (SEALED) (ecm) (Entered:
                             12/17/2002)
 12/16/2002            717   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas
                             motion for appt of law clerk (order) and for payment of fees in Excess
                             of the maximum amount [693-1] (Cert of Mailing) (ecm) (Entered:
                             12/19/2002)
 12/16/2002            719   ORDER by Judge Wiley Y. Daniel GRANTING James Bond's Motion
                             To Substitute Support Services (SUPPRESSED) [699-1] (Cert of
                             Mailing) (ecm) (Entered: 12/19/2002)
 12/17/2002            714   MOTION To Continue Trial by Rod Schultz (ecm) (Entered:
                             12/18/2002)
 12/17/2002            715   COURTROOM MINUTES OF HEARING ON ADMISSIBILITY OF
                             CO-CONSPIRATOR'S STATEMENTS before Judge Wiley Y. Daniel;
                             ORDER: govt shall respond to deft Schultz' [714-1] Motion To
                             Continue Trial by 12/24/02; ORDER: the Motion to Dismiss [254-3] is
                             TAKEN UNDER ADVISEMENT; the Motion To Dismiss (SEALED)
                             [324-1] is TAKEN UNDER ADVISEMENT; the Supplemental Motion
                             to Dismiss [473-2] is TAKEN UNDER ADVISEMENT; DENYING
                             Motion For Preservation [659-1] and Production of Pedro Castillo
                             Video Tape [659-2]; govt shall file a pleading that identifies the
                             individuals with whom the govt has personnel files, based upon the list
                             supplied by Mr. Smith, by 12/27/02; counsel shall file a status update
                             on 1/10/03; bond cont.; Court Reporter: Kara Spitler (ecm) (Entered:
                             12/18/2002)
 12/18/2002            720   COURTROOM MINUTES OF HEARING ON MOTION TO SEVER
                             before Judge Wiley Y. Daniel; arguments by counsel; ORDER: Shatto's
                             Motion For Severance of Defendant's [211-1] is TAKEN UNDER
                             ADVISEMENT; Pruyne's Motion To Sever Trial of Defendant [212-1]
                             is TAKEN UNDER ADVISEMENT; Schultz' Motion For Separate
                             Trial [225-1] is TAKEN UNDER ADVISEMENT; Gall's Motion For
                             Severance [217-2]; Verbickas' Motion to Sever [223-1] is TAKEN
                             UNDER ADVISEMENT; final trial preparation conference set for 3:30
                             3/20/03; final trial prep. conf. and motions in limine are set for 3:00;
                             jury trial is reset to 8:30 4/7/03; Court Reporter: Kara Spitler (ecm)
                             (Entered: 12/19/2002)




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 12/19/2002            724   ORDER by Judge Wiley Y. Daniel GRANTING David Pruyne's
                             Motion For Payment in Excess (Suppressed) [694-1] (Cert of Mailing)
                             (ecm) (Entered: 12/30/2002)
 12/20/2002            721   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             To Continue Trial [714-1]; jury trial is reset to 8:30 4/7/03; trial
                             preparation conference is reset to 3:30 3/20/03; govt shall file its
                             F.R.Ev. 404(b) Proffer by 1/22/03; defts shall respond to govts proffer
                             by 1/31/03; hearing on the proffer is set for 2:30 2/14/03; (ecm)
                             (Entered: 12/23/2002)
 12/27/2002            722   List of Personnel Files Possessed by USA (ecm) (Entered: 12/30/2002)
 01/03/2003            726   ORDER by Judge Wiley Y. Daniel; DENYING Gall's Motion Motion
                             to Dismiss [254-3], DENYING Supplemental Motion to Dismiss [473-
                             2]; DENYING Verbickas' Motion To Dismiss (SEALED) [324-1];
                             DENYING Motion to dismiss count(s) as to James Bond [524-1] (Cert
                             of Mailing) (ecm) (Entered: 01/06/2003)
 01/03/2003            727   ORDER by Judge Wiley Y. Daniel DENYING Motion For Severance
                             of Defendant's [211-1]; DENYING Motion To Sever Trial of
                             Defendant [212-1]; DENYING Motion For Relief From Prejudicial
                             Joinder [217-1]; DENYING Motion For Sever Parties [223-1];
                             DENYING Motion For Separate Trial [225-1]; DENYING Motion To
                             Suppress Statements of Co-Defendants [278-1]; GRANTING Motion
                             To Continue Trial [714-1]; jury trial is reset to 8:30 4/7/03; the govt
                             shall file its notice of 404(b) material by 1/22/03; defts shall file
                             responses to the govts notice by 1/31/03; the govts mtns in limine and
                             any other pretrial matters are set for 2:30 2/14/03; defts shall be
                             prepared at that hrg. to advise the court whether they anticipate filings
                             mtns in limine; any motion to disqualify govt counsel shall be filed by
                             1/10/03; final trial preparation conference set for 3:30 3/20/03 (Cert of
                             Mailing) (ecm) (Entered: 01/06/2003)
 01/10/2003            733   ORDER by Judge Wiley Y. Daniel GRANTING motion for order
                             directing USM to arrange non-custodial transportation [730-1]; the
                             USM is directed to provide non-custodial transportation for deft Robert
                             Verbickas on 2/14/03 from Bradley International Airport in Hartford,
                             CT to Denver (Cert of Mailing) (ecm) (Entered: 01/13/2003)
 01/10/2003            734   ORDER by Judge Wiley Y. Daniel GRANTING motion for order
                             directing USM to arrange non-custodial transportation [731-1]; the
                             USM is directed to provide non-custodial transportation for deft Robert
                             Verbickas on 2/14/03 from Denver to Hartford, CT (Cert of Mailing)
                             (ecm) (Entered: 01/13/2003)
 01/10/2003            735   MOTION To Disqualify Mark Blumberg, Esq. by Mike Lavallee, Rod
                             Schultz, Ken Shatto, Robert Verbickas, Brent Gall, James Bond (ecm)
                             (Entered: 01/13/2003)
 01/13/2003            736   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                             for leave of court for appearance in this district via video conference for
                             hrg [729-1]; counsel for Robert Verbickas shall make arrangements




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                             w/automation dept. to coordinate the video conf. for deft Verbickas for
                             the hearing set for 2/14/03; the Orders [734-1], [733-1] directing the
                             USM to arrange non-custodial transportation are VACATED (ecm)
                             (Entered: 01/14/2003)
 01/13/2003            737   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall
                             respond to defts [735-1] Motion To Disqualify Mark Blumberg, Esq. by
                             1/28/03; the motion will be heard at the hearing set for 2:30 2/14/03
                             (ecm) (Entered: 01/14/2003)
 01/16/2003            741   TRANSCRIPT of Hearing Pending Motions, Day 6 dated 12/17/02;
                             copy; (1016-1263 pages) Prepared By: Kara Spitler (ecm) (Entered:
                             01/23/2003)
 01/16/2003            742   TRANSCRIPT of Hearing Pending Motions, Day 7 dated 12/18/02;
                             copy; (1264-1473 pages) Prepared By: Kara Spitler (ecm) (Entered:
                             01/23/2003)
 01/17/2003            738   MOTION for order directing USM to arrange non-custodial
                             transporation to Denver, CO from Tuscon, AZ by Rod Schultz (dlb)
                             (Entered: 01/21/2003)
 01/17/2003            743   MOTION For Order Directing USM Arrange Non-Custodial
                             Transportation to Denver, Colorado by Rod Schultz (ecm) (Entered:
                             01/23/2003)
 01/23/2003            744   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing USM Arrange Non-Custodial Transportation to
                             Denver, Colorado [743-1] (Cert of Mailing) (ecm) (Entered:
                             01/23/2003)
 01/23/2003            745   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             for order directing USM to arrange non-custodial transporation to
                             Denver, CO from Tuscon, AZ [738-1] (Cert of Mailing) (ecm)
                             (Entered: 01/23/2003)
 01/23/2003            746   MOTION For Protective Order for Federal Bureau of Prisons
                             Documents Disclosed to the Defense Teams by USA (ecm) (Entered:
                             01/24/2003)
 01/24/2003            747   MINUTE ORDER before Judge Wiley Y. Daniel; any objection to the
                             govts' [746-1] Motion For Protective Order for Federal Bureau of
                             Prisons Documents Disclosed to the Defense Teams shall be filed by
                             2/3/03 (ecm) (Entered: 01/27/2003)
 01/24/2003            765   ORDER: approving Final Voucher for Expert other services Number 03
                             01 28/41 of Boston Henry Stanton Jr. for Rod Schultz regarding (dlb)
                             (Entered: 02/04/2003)
 01/28/2003            749   RESPONSE by USA to Defendants' Motion To Disqualify Mark
                             Blumberg, Esq. [735-1] (1st Part of document) (ecm) (Entered:
                             01/29/2003)
 01/28/2003            749   MOTION In Limine to Exclude Reference to Alleged Prosecutorial




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                             Misconduct (2nd Part of document #749) by USA (ecm) (Entered:
                             01/29/2003)
 01/29/2003            752   MOTION to File 404(b) Notice by USA (ecm) (Entered: 01/30/2003)
 01/29/2003            752   Discovery Obligation and F.R.E. 404(b) Notice by USA (attachment to
                             # [752-1]) (ecm) (Entered: 01/30/2003)
 01/31/2003            758   OBJECTIONS by defendant Rod Schultz to gov's motion to File 404(b)
                             Notice [752-1] regarding [752-1] (dlb) (Entered: 02/03/2003)
 01/31/2003            761   MINUTE ORDER; before Judge Wiley Y. Daniel granting gov's
                             motion to File 404(b) Notice [752-1] to the extent that it seeks to file a
                             404(B) Notice; dfts shall resp to the gov's ntc by 2/6/03, regarding
                             [754-1] motion For Jury View, regarding [757-1] motion for (to) sever
                             (dlb) (Entered: 02/03/2003)
 02/03/2003            764   MINUTE ORDER before Judge Wiley Y. Daniel; govt shall respond to
                             Shatto's [757-1] Supplemental Motion For Severance (ecm) (Entered:
                             02/04/2003)
 02/05/2003            801   ORDER by Judge Wiley Y. Daniel GRANTING Brent Gall's Motion
                             For Appointment of Expert - Investigator (SUPPRESSED) [725-1]
                             (Cert of Mailing) (ecm) (Entered: 02/14/2003)
 02/06/2003            773   CONSOLIDATED RESPONSE by USA to Defendant's Objections to
                             Govt's Rule 404(B) Proffer and Renewed Motions For Severance
                             regarding [758-1], [757-1], [756-1], [753-1], [751-1] (ecm) (Entered:
                             02/07/2003)
 02/07/2003            775   MINUTE ORDER before Judge Wiley Y. Daniel; in light of the
                             volume of issues to be heard at the hrg. set for 2/14/03, argument on the
                             mtns in limine is deferred until the Final Trial Prep. Conf. on 3/20/03
                             (ecm) (Entered: 02/10/2003)
 02/07/2003            776   MOTION For Appointment of Counsel (SUPPRESSED) by Rod
                             Schultz (ecm) (Entered: 02/10/2003)
 02/07/2003            777   ORDER by Judge Wiley Y. Daniel; the parties shall meet anc confer
                             and file a pleading by 2/12/03 as to what software prog. the parties will
                             use to present exhs. at trial; if the parties doe not plan on using the
                             Laser Fiche prog., the parties shall also advise if they plan on using an
                             organizational or trial management system such as Trial Director; the
                             parties shall advise the corut why they did not comply w/its order to file
                             a stauts report on technology issues by 1/10/03; the parties shall advise
                             the court whether the three CD-ROMS received by the court are current
                             as to the exhs. to be presented at trial; if not, the parties shall either
                             provide updated CD-ROMS and/or supplement the CD-ROMS by
                             2/14/03; (Cert of Mailing) (ecm) (Entered: 02/10/2003)
 02/11/2003            780   NOTIFICATION To the Court and Counsel Concerning the
                             Technology Issues by USA (ecm) (Entered: 02/12/2003)
 02/13/2003            788   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'




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                             Petition For Writ [787-1] (Cert of Mailing) (ecm) (Entered:
                             02/14/2003)
 02/13/2003            789   WRIT of HC Ad Test issued by Clerk re Robert Verbickas (ecm)
                             (Entered: 02/14/2003)
 02/13/2003            790   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Petition for Writ [785-1] (Cert of Mailing) (ecm) (Entered: 02/14/2003)
 02/13/2003            791   WRIT of HC Ad Test issued by Clerk re Robert Verbickas (ecm)
                             (Entered: 02/14/2003)
 02/13/2003            792   MOTION For Rule 15 Deposition To Preserve Testimony For Use at
                             Trial by USA (ecm) (Entered: 02/14/2003)
 02/14/2003            805   WRIT of HC Ad Test by David Pruyne; issued by WYD for witness
                             Ellis Lard (ecm) (Entered: 02/19/2003)
 02/14/2003            806   WRIT of HC Ad Test by David Pruyne issued by WYD for Jamar
                             Phenis (ecm) (Entered: 02/19/2003)
 02/14/2003            816   COURTROOM MINUTES OF HEARING PENDING ISSUES before
                             Judge Wiley Y. Daniel; ORDER: GRANTING Motion For Rule 15
                             Deposition To Preserve Testimony For Use at Trial [792-1];
                             DENYING Motion To Disqualify Mark Blumberg, Esq. [735-1];
                             GRANTING Motion In Limine to Exclude Reference to Alleged
                             Prosecutorial Misconduct (2nd Part of document #749) [749-1];
                             GRANTING Motion For Preservation [659-1]; GRANTING Motion
                             Production of Pedro Castillo Video Tape [659-2]; DENYING Motion
                             For Order Directing USM to Arrange Non-Custodial Transportation
                             (from Denver to Connecticut) [633-1]; DENYING Motion For Payment
                             in Excess for Expert (Suppressed) [573-1]; GRANTING Motion For To
                             Approve Payment of Private Investigator Voucher [627-1];
                             GRANTING Motion In Limine to Exclude Government Proffered 404
                             (b) Evidence Regarding Defendant [786-1]; DENYING Motion to
                             extend time to 9/30/02 to resp [652-1]; final trial preparation conference
                             set for 1:30 3/20/03 Court Reporter: Kara Spitler (ecm) (Entered:
                             02/24/2003)
 02/14/2003                  (Utility Event) - Terminating Deadline(s) (ecm) (Entered: 02/25/2003)
 02/18/2003            807   MINUTE ORDER before Judge Wiley Y. Daniel; trial preparation
                             conference is reset to 1:30 3/20/03 for Mike Lavallee, for Rod Schultz,
                             for Ken Shatto, for David Pruyne, for Robert Verbickas, for Brent Gall,
                             for James Bond (ecm) (Entered: 02/19/2003)
 02/21/2003            814   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Order Directing USM to Arrange Non-Custodial
                             Transportation (from Connecticut to CO) [812-1] (Cert of Mailing)
                             (ecm) (Entered: 02/24/2003)
 02/21/2003            815   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Order Directing US to Arrange Non-Custodial
                             Transportation (from Denver to Connecticut) [811-1] (Cert of Mailing)




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                             (ecm) (Entered: 02/24/2003)
 02/21/2003            830   ORDER by Judge Wiley Y. Daniel GRANTING Mike Lavalee's
                             Motion For Payment in Excess (Suppressed) [802-1] (Cert of Mailing)
                             (ecm) (Entered: 02/27/2003)
 02/21/2003            833   ORDER by Judge Wiley Y. Daniel GRANTING Michael Lavalee's
                             Motion For Payment in Excess - Investigator (Suppressed) [809-1]
                             (Cert of Mailing) (ecm) (Entered: 02/27/2003)
 02/24/2003            818   MOTION To File Armstrong Medical Records by USA (ecm) (Entered:
                             02/25/2003)
 02/24/2003            822   ORDER by Judge Wiley Y. Daniel GRANTING David Pruyne's
                             Motion For Travel Authorization (SUPPRESSED) [820-1] and
                             Amended Motion for Travel [821-1] (Cert of Mailing) (ecm) (Entered:
                             02/26/2003)
 02/24/2003            817   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Robert
                             Verbickas Motion For Leave of Court For Appearance in This District
                             Via Video Conference for Hearing [813-1] and [819-1]; on/before
                             3/5/03, counsel for deft Verbickas shall make arrangements w/the
                             court's automation dept. to coordinate the video conferencing for deft
                             Verbickas for the hrg. at 1:30 3/20/03 (ecm) (Entered: 03/11/2003)
 02/24/2003          1192    CJA Form 20 Copy 4 (Appointment of Counsel) Attorney appointed for
                             Rod Schultz by Magistrate Judge Craig B. Shaffer (dlb) (Entered:
                             05/13/2003)
 02/25/2003            823   JOINT MOTION For Emergency Hearing on Rule 15 Deposition
                             Protocol (SEALED) by USA (ecm) Modified on 02/27/2003 (Entered:
                             02/26/2003)
 02/25/2003            825   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING govt's
                             Motion To File Armstrong Medical Records [818-1] (ecm) (Entered:
                             02/26/2003)
 02/25/2003            842   TRANSCRIPT of Hearing on Pending Motions dated 2/14/03' copy;
                             ( 100 pages) Prepared By: Kara Spitler (ecm) (Entered: 02/28/2003)
 02/26/2003            826   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Robert
                             Verbickas' Motion To Seal [823-1] Motion For Emergency Hearing on
                             Rule 15 Deposition Protocol [824-1] (ecm) (Entered: 02/27/2003)
 02/26/2003            827   MINUTE ORDER before Judge Wiley Y. Daniel; regarding [823-1]
                             Motion For Emergency Hearing on Rule 15 Deposition Protocol
                             (SEALED) and motion to compel Rule 15 deposition of David
                             Armstrong.., a hearing set for 2:30 2/28/03 for Robert Verbickas (ecm)
                             (Entered: 02/27/2003)
 02/26/2003            828   ORDER by Judge Wiley Y. Daniel; GRANTING Motion For Rule 15
                             Deposition To Preserve Testimony For Use at Trial [792-1];
                             DENYING Motion To Disqualify Mark Blumberg, Esq. [735-1];
                             GRANTING in PART and DENYING in PART the Motion In Limine




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                             to Exclude Reference to Alleged Prosecutorial Misconduct (2nd Part of
                             document #749) [749-1]; DENYING Motion For Jury View [754-1];
                             DENYING Motion For Protective Order for Federal Bureau of Prisons
                             Disclosed to the Defense Teams [746-1]; GRANTING in PART and
                             DENYING in PART and DEFERRING in PART the Motion to File
                             404(b) Notice [752-1]; DENYING Motion In Limine to Exclude
                             Government Proffered 404(b) Evidence Regarding Defendant [786-1];
                             DENYING Motion for (to) sever [757-1]; trial preparation conference
                             set for 1:30 3/20/03; the govt shall file and serve its prelim. witness list
                             on defts counsel by 2/28/03; defts shall file and serve on govt their
                             prelim. witness list by 3/10/03; prelim. exh. lists shall be exchanged
                             between defts and govt by 3/10/03; final witness and exh. lists shall be
                             filed at the final trial prep. conf.; (Cert of Mailing) (ecm) (Entered:
                             02/27/2003)
 02/27/2003            834   CJA 20 ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz'
                             Motion For Appointment of Counsel (SUPPRESSED) [776-1]
                             appointing Attorney James S. Covino (Cert of Mailing) (ecm) (Entered:
                             02/27/2003)
 02/27/2003            840   WAIVER of Appearance for Conference by Rod Schultz (ecm)
                             (Entered: 02/28/2003)
 02/27/2003            844   ORDER by Judge Wiley Y. Daniel GRANTING David Pruyne's
                             Motion For Travel Authorization (SUPPRESSED) [843-1] (Cert of
                             Mailing) (ecm) (Entered: 03/03/2003)
 02/28/2003            845   PETITION for Writ of HC Ad Test for witness Ellis Lard by USA
                             (ecm) (Entered: 03/03/2003)
 02/28/2003            846   PETITION for Writ of HC Ad Test for witness Stephen McClay by
                             USA (ecm) (Entered: 03/03/2003)
 02/28/2003            847   PETITION for Writ of HC Ad Test for witness Reginald McCoy by
                             USA (ecm) (Entered: 03/03/2003)
 02/28/2003            848   PETITION for Writ of HC Ad Test for witness Christopher Rawls by
                             USA (ecm) (Entered: 03/03/2003)
 02/28/2003            849   PETITION for Writ of HC Ad Test for witness Keith Overstreet by
                             USA (ecm) (Entered: 03/03/2003)
 02/28/2003            850   PETITION for Writ of HC Ad Test for witness Howard Lane by USA
                             (ecm) (Entered: 03/03/2003)
 02/28/2003            851   PETITION for Writ of HC Ad Test for witness Billy Ray Rosamond by
                             USA (ecm) (Entered: 03/03/2003)
 02/28/2003            852   PETITION for Writ of HC Ad Test for witness William Turner by USA
                             (ecm) (Entered: 03/03/2003)
 02/28/2003            853   PETITION for Writ of HC Ad Test for witness Felton Wiggins by USA
                             (ecm) (Entered: 03/03/2003)




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 02/28/2003            854   WITNESS list by USA (ecm) (Entered: 03/03/2003)
 02/28/2003            855   COURTROOM MINUTES OF HEARING ON JOINT MOTION FOR
                             EMERGENCY HEARING ON RULE 15 DEPOSITION PROTOCOL
                             before Judge Wiley Y. Daniel; ORDER: GRANTING Motion For
                             Emergency on Rule 15 Deposition Protocol (SEALED) [823-1]; the
                             deposition of Mr. Armstrong shall be taken after the date of 3/29/03 and
                             shall be completed prior to the start of trial 4/7/03; the deposition may
                             be taken in either the courthouse in Camden, NJ or a large conference
                             room in the AUSA's office in Philadelphia; bond cont.; Court Reporter:
                             Suzanne Claar (ecm) (Entered: 03/03/2003)
 02/28/2003            896   ORDER by Judge Wiley Y. Daniel GRANTING Michael Lavalee's
                             Motion For Payment in Excess - Specialist (Suppressed) [810-1],
                             regarding [895-1] application ex parte (Cert of Mailing) (ecm)
                             (Entered: 03/07/2003)
 03/03/2003            858   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall
                             respond to deft Mike Lavalee's [857-1] JOINT Motion For Order
                             Relating To Travel by 3/5/03 (ecm) (Entered: 03/04/2003)
 03/04/2003            861   ORDER by Judge Wiley Y. Daniel GRANTING David Pruyne's
                             Motion for Issuance of Subpoenas in Forma Pauperis [793-1], [794-1]
                             (Cert of Mailing) (ecm) (Entered: 03/05/2003)
 03/04/2003            862   ORDER by Judge Wiley Y. Daniel GRANTING David Pruyne's
                             Petition for Writ of Felton Wiggins [853-1] (Cert of Mailing) (ecm)
                             (Entered: 03/05/2003)
 03/04/2003            863   WRIT of HC Ad Test for witness Felton Wiggins, returnable 4/7/03 at
                             9:00 am; issued by Clerk (ecm) (Entered: 03/05/2003)
 03/04/2003            864   ORDER by Judge Wiley Y. Daniel GRANTING David Pruyne's
                             Petition for Writ for witness William Turner [852-1] (Cert of Mailing)
                             (ecm) (Entered: 03/05/2003)
 03/04/2003            865   WRIT of HC Ad Test for witness William Turner; returnable 4/7/03 at
                             9:00; issued by clerk (ecm) (Entered: 03/05/2003)
 03/04/2003            866   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ of
                             witness Billy Ray Rosamond [851-1] (Cert of Mailing) (ecm) (Entered:
                             03/05/2003)
 03/04/2003            867   WRIT of HC Ad Test for witness Billy Ray Rosamond; returnable
                             4/7/03 at 9:00; issued by Clerk (ecm) (Entered: 03/05/2003)
 03/04/2003            868   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ of
                             HC Ad Test for witness Howard Lane [850-1] (Cert of Mailing) (ecm)
                             (Entered: 03/05/2003)
 03/04/2003            869   WRIT of HC Ad Test for witness Howard Lane; returnable 4/7/03 at
                             9:00; issued by Clerk (ecm) (Entered: 03/05/2003)
 03/04/2003            870   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ of




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                             HC ad Test for witness Keith Overstreet [849-1] (Cert of Mailing)
                             (ecm) (Entered: 03/05/2003)
 03/04/2003            871   WRIT of HC Ad Test for witness Keith Overstreet; returnable 4/7/03 at
                             9 am; issued by Clerk (ecm) (Entered: 03/05/2003)
 03/04/2003            872   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ for
                             witness Christopher Rawls [848-1] (Cert of Mailing) (ecm) (Entered:
                             03/05/2003)
 03/04/2003            873   WRIT of HC Ad Test for witness Christopher Rawls; returnable 4/7/03
                             at 9 am; issued by Clerk (ecm) (Entered: 03/05/2003)
 03/04/2003            874   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ for
                             witness Reginald McCoy [847-1] (Cert of Mailing) (ecm) (Entered:
                             03/05/2003)
 03/04/2003            875   WRIT of HC Ad Test for witness Reginald McCoy; returnable 4/7/03 at
                             9 am; issued by Clerk (ecm) (Entered: 03/05/2003)
 03/04/2003            876   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ for
                             witness Stephen McClay [846-1] (Cert of Mailing) (ecm) (Entered:
                             03/05/2003)
 03/04/2003            877   WRIT of HC Ad Test for witness Stephen McClay; returnable 4/7/03 at
                             9 am; issued by Clerk (ecm) (Entered: 03/05/2003)
 03/04/2003            878   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ for
                             witness Ellis Lard [845-1] (Cert of Mailing) (ecm) (Entered:
                             03/05/2003)
 03/04/2003            879   WRIT of HC Ad Test for witness Ellis Lard; returnable 4/7/03 at 9 am;
                             issued by Clerk (ecm) (Entered: 03/05/2003)
 03/04/2003            880   WRIT of HC Ad Test for witness Jamar Phenis; returnable 4/7/03 at
                             8:30; issued by WYD (ecm) (Entered: 03/05/2003)
 03/05/2003            881   ORDER by Judge Wiley Y. Daniel GRANTING Brent Gall's Motion
                             for Issuance of Subpoenas in Forma Pauperis [839-1] (Cert of Mailing)
                             (ecm) (Entered: 03/06/2003)
 03/05/2003            884   MOTION To Allow Limited Purpose Entry, Alternatively to Withdraw
                             by Rod Schultz (ecm) (Entered: 03/06/2003)
 03/05/2003            886   MINUTE ORDER before Judge Wiley Y. Daniel; Boston Stanton shall
                             respond to James Covino's [884-1] Motion To Allow Limited Purpose
                             Entry, Alternatively to Withdraw by 3/10/03 (ecm) (Entered:
                             03/06/2003)
 03/06/2003            888   ORDER: approving Final Voucher for Expert other services Number 03
                             03 05/49 of Boston Henry Stanton Jr. for Rod Schultz regarding
                             2/14/03 hrg (dlb) (Entered: 03/06/2003)
 03/07/2003            897   MOTION For Order Directing USM to Arrange Non-Custodial
                             Transportation From Denver to Arizona by Rod Schultz (ecm)




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                             (Entered: 03/10/2003)
 03/07/2003            898   MOTION For Order Directing USM to Arrange Non-Custodial
                             Transportation to Denver, CO by Rod Schultz (ecm) (Entered:
                             03/10/2003)
 03/07/2003            899   PETITION for Writ of HC Ad Test by USA for witness Hadley
                             Stanford (ecm) (Entered: 03/10/2003)
 03/07/2003            900   PETITION for Writ of HC Ad Test by USA re witness Kevin Gibeaux
                             (ecm) (Entered: 03/10/2003)
 03/07/2003            901   PETITION for Writ of HC Ad Test by USA for witness Craig Hron
                             (ecm) (Entered: 03/10/2003)
 03/07/2003            903   PETITION for Writ of HC Ad Test by USA for witness Ronald Jones
                             (ecm) (Entered: 03/10/2003)
 03/07/2003            905   MOTION Concerning Use of Jury Questioaire by USA (ecm) (Entered:
                             03/10/2003)
 03/07/2003            906   PETITION for Writ of HC Ad Test by USA re witness Ronnie Beverly
                             (ecm) (Entered: 03/10/2003)
 03/10/2003            911   MOTION To Continue Trial , Motion to Sever, Response and Status
                             Report by Rod Schultz (ecm) (Entered: 03/11/2003)
 03/10/2003            913   JOINT PRELIMINARY Trial Witness List by Mike Lavallee, Rod
                             Schultz, Ken Shatto, David Pruyne, Robert Verbickas, Brent Gall,
                             James Bond, USA (ecm) (Entered: 03/11/2003)
 03/10/2003            914   PRELIMINARY EXHIBIT List by USA (ecm) (Entered: 03/11/2003)
 03/10/2003            917   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing USM to Arrange Non-Custodial Transportation to
                             Denver, CO [898-1] (Cert of Mailing) (ecm) (Entered: 03/11/2003)
 03/10/2003            918   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing USM to Arrange Non-Custodial Transportation
                             From Denver to Arizona [897-1] (Cert of Mailing) (ecm) (Entered:
                             03/11/2003)
 03/10/2003            919   ORDER by Judge Wiley Y. Daniel GRANTING Joint Motion For
                             Order Relating To Travel [857-1]; the the Dept. of Justice, as the entity
                             that brought this suit and requests the deposition of Mr. Armstrong
                             shall pay the travel and subsistence costs of defts and their counsel in
                             connection w/the deposition of David Armstrong, as well as the costs of
                             the deposition transcript; the govt shall make forthwith arrangements to
                             ensure that all deposition travel and subsistence expenses are paid in
                             advance of or at the deposition (Cert of Mailing) (ecm) (Entered:
                             03/11/2003)
 03/11/2003            924   ORDER to Issue Subpoenas by Robert Verbickas (SUPPRESSED) by
                             Judge Wiley Y. Daniel (Cert of Mailing) (ecm) (Entered: 03/12/2003)




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 03/11/2003                  Text not available. (Entered: 03/12/2003)
 03/11/2003            925   ORDER by Judge Wiley Y. Daniel GRANTING James Bond's Motion
                             for Issuance of Subpoenas in Forma Pauperis (SUPPRESSED) [907-1]
                             (Cert of Mailing) (ecm) (Entered: 03/12/2003)
 03/11/2003            926   ORDER for Service of Subpoenas in Forma Pauperis for James Bond
                             by Judge Wiley Y. Daniel (Cert of Mailing) (ecm) (Entered:
                             03/12/2003)
 03/11/2003            927   ORDER by Judge Wiley Y. Daniel DENYING Rod Schultz' Motion To
                             Allow Limited Purpose Entry, Alternatively to Withdraw [884-1],
                             DENYING Motion To Continue Trial [911-1], DENYING Motion
                             Motion to Sever, Response and Status Report [911-2] (Cert of Mailing)
                             (ecm) (Entered: 03/12/2003)
 03/11/2003            928   CERTIFICATE of Mailing; the Order dated 3/10/03 re Joint Motion
                             Relating to Trial was remailed (ecm) (Entered: 03/12/2003)
 03/11/2003            929   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ of
                             HC Ad Test re Ronnie Beverly [906-1] (Cert of Mailing) (ecm)
                             (Entered: 03/12/2003)
 03/11/2003            930   WRIT of HC Ad Test for witness Ronnie Beverly; returnable 4/7/03 at
                             9 am; issued by Clerk (ecm) (Entered: 03/12/2003)
 03/11/2003            931   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ of
                             HC Ad Test for Ronald Jones [903-1] (Cert of Mailing) (ecm) (Entered:
                             03/12/2003)
 03/11/2003            932   WRIT of HC Ad Test for witness Ronald Jones; returnable 4/7/03 at 9
                             am; issued by Clerk (ecm) (Entered: 03/12/2003)
 03/11/2003            933   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ of
                             HC Ad Test for witness Stanford Hadley [899-1] (Cert of Mailing)
                             (ecm) (Entered: 03/12/2003)
 03/11/2003            934   WRIT of HC Ad Test for witness Stanford Hadley; returnable 4/7/03;
                             issued by Clerk (ecm) (Entered: 03/12/2003)
 03/11/2003            935   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ of
                             HC ad Test [900-1] for witness Kevin Gibeaux (Cert of Mailing) (ecm)
                             (Entered: 03/12/2003)
 03/11/2003            936   WRIT of HC Ad Test for witness Kevin Gibeaux; returnable 4/7/03 at 9
                             am; issued by Clerk (ecm) (Entered: 03/12/2003)
 03/11/2003            937   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ of
                             HC Test for Craig Hron [901-1] (Cert of Mailing) (ecm) (Entered:
                             03/12/2003)
 03/11/2003            938   WRIT of HC ad Test for witness Craig Hron; returnable 4/7/03 at 9 am;
                             issued by clerk (ecm) (Entered: 03/12/2003)
 03/11/2003            939   WRIT of HC Ad Test for witness William Turner; returnable 4/7/03 at




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                             10:00 am; issued by Clerk (ecm) (Entered: 03/12/2003)
 03/11/2003            945   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall
                             respond to deft Bond's [910-1] Motion In Limine by 3/18/03 (ecm)
                             (Entered: 03/13/2003)
 03/11/2003            946   MINUTE ORDER before Judge Wiley Y. Daniel DENYING Robert
                             Verbickas' RENEWED Motion For Travel Authorization
                             (SUPPRESSED) [909-1] and DENYING Robert Verbickas' Motion For
                             Travel Authorization (SUPPRESSED) [908-1] (ecm) (Entered:
                             03/13/2003)
 03/11/2003            947   MINUTE ORDER before Judge Wiley Y. Daniel DENYING David
                             Pruyne's Motion For Travel Authorization (SUPPRESSED) [904-1]
                             (ecm) (Entered: 03/13/2003)
 03/12/2003            941   RETURN OF SERVICE on writ; returned unexecuted (ecm) (Entered:
                             03/13/2003)
 03/12/2003            943   RETURN OF SERVICE on writ; returned unexecuted as to Ronnie
                             Beverly (ecm) (Entered: 03/13/2003)
 03/12/2003            944   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall
                             respond to deft Ken Shatto's [921-1] Motion For Limited Release of
                             Pre-Sentence Report of Dave Armstrong, For Any Section 5k1.1
                             Motion Filed on His Behalf, or Any Other Motion Pertaining to His
                             Sentence or Disposition of His Case by 3/17/03 (ecm) (Entered:
                             03/13/2003)
 03/13/2003            948   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall
                             respond to deft Gall's [942-1] Motion In Limine to Exclude Evidence
                             by 3/17/03 (ecm) (Entered: 03/14/2003)
 03/14/2003            951   WRIT for Christopher Rawls returned UNEXECUTE (former empl)
                             (Entered: 03/17/2003)
 03/14/2003            952   MINUTE ORDER; before Judge Wiley Y. Daniel ; parties to confer
                             and submit at the final trial prep conf the witness list to be attached to
                             the jury questionnaire by 3/20/03 at 1:30 pm. (former empl) (Entered:
                             03/17/2003)
 03/14/2003            960   ORDER by Judge Wiley Y. Daniel GRANTING Brent Gall's Motion
                             for Issuance of Subpoenas in Forma Pauperis [949-1] (Cert of Mailing)
                             (ecm) (Entered: 03/20/2003)
 03/14/2003            963   ORDER for Service of Subpoenas in Forma Pauperis by Brent Gall by
                             Judge Wiley Y. Daniel (Cert of Mailing) (ecm) (Entered: 03/21/2003)
 03/17/2003            953   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion To
                             Extend Time to Submit Jury Instructions [950-1] to and including
                             3/19/03. (former empl) (Entered: 03/18/2003)
 03/17/2003            954   MOTION to amend the Order Dated March 10, 2003 by USA regarding
                             Mike Lavallee, Rod Schultz, Ken Shatto, David Pruyne, Robert




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                             Verbickas, Brent Gall, James Bond (former empl) (Entered:
                             03/18/2003)
 03/17/2003            955   RESPONSE by USA motion In Limine to Exclude Evidence [942-1]
                             regarding [942-1] (former empl) (Entered: 03/18/2003)
 03/17/2003            956   RESPONSE by USA motion For Limited Release of Pre-Sentence
                             Report of Dave Armstrong, For Any Section 5k1.1 Motion on His
                             Behalf, or Any Other Motion Pertaining to His Sentence or Disposition
                             of His Case [921-1] regarding [921-1] (former empl) (Entered:
                             03/18/2003)
 03/17/2003            957   MOTION for leave to file jury instructions out of time by USA
                             regarding Mike Lavallee, Rod Schultz, Ken Shatto, David Pruyne,
                             Robert Verbickas, Brent Gall, James Bond (former empl) (Entered:
                             03/18/2003)
 03/17/2003            958   PROPORSED JURY Instructions Tendered by USA (former empl)
                             (Entered: 03/18/2003)
 03/19/2003          1332    EXHIBIT list by USA (former empl) (Entered: 06/26/2003)
 03/20/2003            972   MINUTE ORDER before Judge Wiley Y. Daniel; trial preparation
                             conference is reset to 9:00 3/28/03 for Mike Lavallee, for Rod Schultz,
                             for Ken Shatto, for David Pruyne, for Robert Verbickas, for Brent Gall,
                             for James Bond (ecm) (Entered: 03/24/2003)
 03/24/2003            976   ORDER by Judge Wiley Y. Daniel GRANTING Brent Gall's Motion
                             for Issuance of Subpoenas in Forma Pauperis [966-1] (Cert of Mailing)
                             (ecm) (Entered: 03/26/2003)
 03/24/2003            978   MOTION For Order Directing USM to Arrange Non-Custodial
                             Transportation From Denver to Arizona by Rod Schultz (ecm)
                             (Entered: 03/26/2003)
 03/24/2003            979   MOTION For Order Directing USM to Arrange Non-Custodial
                             Transportation to Colorado Springs, CO by Rod Schultz (ecm)
                             (Entered: 03/26/2003)
 03/25/2003            977   NOTICE to Court Concerning Arrangements For Armstrong
                             Deposition by USA (ecm) (Entered: 03/26/2003)
 03/25/2003            980   WITNESS Roger Procter's Motion In Limine (ecm) (Entered:
                             03/26/2003)
 03/26/2003            981   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing USM to Arrange Non-Custodial Transportation
                             From Denver to Arizona [978-1] (Cert of Mailing) (ecm) (Entered:
                             03/27/2003)
 03/26/2003            982   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                             For Order Directing USM to Arrange Non-Custodial Transportation to
                             Colorado Springs, CO [979-1] (Cert of Mailing) (ecm) (Entered:
                             03/27/2003)




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 03/26/2003            983   MINUTE ORDER before Judge Wiley Y. Daniel; witness Roger
                             Procter's [980-1] Motion In Limine, will be heard at the final trial
                             preparation conference set for 9:00 3/28/03 (ecm) (Entered:
                             03/27/2003)
 03/26/2003            986   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                             Motion For Issuance of Subpoenas in Forma Pauperis [974-1] (Cert of
                             Mailing) (ecm) (Entered: 03/27/2003)
 03/27/2003            994   ORDER by Judge Wiley Y. Daniel granting motion For Travel
                             Authorization (SUPPRESSED) [940-1], granting motion For Funds For
                             Lodging and Per Diem Expenses During Trial [922-1] (Cert of Mailing)
                             (dlb) (Entered: 03/31/2003)
 03/28/2003            993   Final WITNESS list by plaintiff USA (dlb) (Entered: 03/31/2003)
 03/28/2003            998   WITNESS list by defendant Rod Schultz (dlb) (Entered: 03/31/2003)
 03/28/2003            999   EXHIBIT list by defendant Rod Schultz (dlb) (Entered: 03/31/2003)
 03/28/2003          1002    EXHIBIT list by plaintiff USA (dlb) (Entered: 03/31/2003)
 04/01/2003          1004    MINUTE ORDER before Judge Wiley Y. Daniel GRANTING motion
                             for order to issue trial subpoenas for trial witn Lee Green and Jerry
                             Sullivan to appear at trial [995-1] (ecm) (Entered: 04/02/2003)
 04/02/2003          1006    ORDER by Judge Wiley Y. Daniel; re the deposition of David
                             Armstrong which was commenced on 3/31/03, and discontinued 4/2/03
                             due to Mr. Armstrong's health problems; if the govt chooses to file a
                             mtn to cont. the trial set to commence 4/7/03, such mtn shall be filed by
                             4/4/03; defts responses to the mtns shall be brought to court on 4/7/03
                             the first day of trial; by 4/4/03 the govt shall provide to defts counsel
                             the medical records and medication recordds ordered as to Mr.
                             Armstrong's recent hospitalizations and medical trtmt, including
                             records related to Mr. Armstrong's trtmt and prognosis (Cert of
                             Mailing) (ecm) (Entered: 04/03/2003)
 04/02/2003          1008    TRANSCRIPT of Final Trial Preparation Conference dated 3/28/03;
                             copy; (140 pages) Prepared By: Kara Spitler (ecm) (Entered:
                             04/03/2003)
 04/03/2003          1009    MOTION To Postpone April 7, 2003 Trial Date and Request for
                             Emergency Hearing to be Held on April 4, 2003 by USA (ecm)
                             (Entered: 04/04/2003)
 04/03/2003          1011    MOTION For Order Directing USM to Arrange Non-Custodial
                             Transportation to Colorado Springs, CO by Rod Schultz (ecm)
                             (Entered: 04/04/2003)
 04/03/2003          1013    MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Ken
                             Shatto's Motion for Issuance of Subpoenas in Forma Pauperis
                             (SUPPRESSED) [1005-1] (ecm) (Entered: 04/04/2003)
 04/04/2003          1019    SUPPLEMENTAL MOTION for a Protective Order for Documents




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                            Disclosed to the Defense Teams by USA (ecm) (Entered: 04/07/2003)
 04/04/2003          1021   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                            For Order Directing USM to Arrange Non-Custodial Transportation to
                            Colorado Springs, CO [1011-1] (Cert of Mailing) (ecm) (Entered:
                            04/07/2003)
 04/04/2003          1022   MINUTE ORDER before Judge Wiley Y. Daniel; the deft shall respond
                            to the govts [1009-1] Motion To Postpone April 7, 2003 Trial Date and
                            Request for Emergency Hearing to be Held on April 4, 2003 by 4/4/03
                            at 5:00; a hearing on the motion is set for 8:30 4/7/03 (ecm) (Entered:
                            04/07/2003)
 04/04/2003          1023   MEDICAL RECORDS by USA Re David Armstrong (SEALED) (ecm)
                            (Entered: 04/07/2003)
 04/07/2003          1024   TRANSCRIPT of Hearing on Government's Motion for Emergency
                            Hearing to be Held on April 4, 2003 before Judge Daniel on 4/7/03 ( 1-
                            45 pages) Prepared By: Kara Spitler (former empl) (Entered:
                            04/07/2003)
 04/07/2003          1025   RESPONSE by USA to Pruyne's Motion To Order Compliance With
                            This Court's Previous Writ of Habeas Corpus ad Test or in the
                            Alternative, to Strike Any Reference to Ellis Lar in the Superseding
                            Indictment [1016-1] (ecm) (Entered: 04/08/2003)
 04/07/2003          1029   STIPULATED JURY Instructions With Authority Tendered by USA
                            (ecm) Modified on 04/08/2003 (Entered: 04/08/2003)
 04/07/2003          1030   DISPUTED JURY Instructions With Authority Tendered by USA
                            (ecm) (Entered: 04/08/2003)
 04/07/2003          1032   ORDER by Judge Wiley Y. Daniel GRANTING govt's Motion To File
                            Supplemental Affidavit in Support of Motion to Continue April 7, 2003
                            Trial Date; DENYING as MOOT the Request for Emergency Hearing
                            to Be Held April 4, 2003 [1026-1] as the hearing was held today;
                            DENYING Motion To Postpone April 7, 2003 Trial Date [1009-1];
                            should the govt demonstrate from a medical standpoint that Mr.
                            Armstrong is strong enough to be deposed during the trial of this
                            matter, the trial will be susp. so that Mr. Armstrong's testimony can be
                            completed (Cert of Mailing) (ecm) (Entered: 04/08/2003)
 04/07/2003          1033   RETURN OF SERVICE on writ; Writ of HC Ad Test re witness
                            Ronnie Beverly, returned unexecuted on 4/4/03 (ecm) (Entered:
                            04/08/2003)
 04/07/2003          1034   APPEAL Notice to C/A by USA from the Order [1032-1] DENYING a
                            continuance; Fees N/A; transcripts order form due 4/18/03; (cc: all
                            counsel) (ecm) (Entered: 04/08/2003)
 04/07/2003          1036   ORDER by Judge Wiley Y. Daniel GRANTING Verbickas' Motion For
                            Issuance of Subpoenas in Forma Pauperis (SUPPRESSED) [1017-1]
                            (Cert of Mailing) (ecm) (Entered: 04/08/2003)




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 04/08/2003          1035   Receipt from C/A on NOA filed by govt (ecm) (Entered: 04/08/2003)
 04/08/2003          1037   ORDER by Judge Wiley Y. Daniel; the joint exparte Motion For
                            Clarification of Order [1012-1] is GRANTED in PART and DENIED
                            in PART; the mtn is DENIED to the extent that it seeks an order that
                            the USM provide subsistence to defts during trial; the mtn is
                            GRANTED to the extent that it seeks clarification of the court's prior
                            order of 3/27/03; the extent that it ordered the USM to provide
                            subsistence to defts during the course of trial is RETRACTED, since
                            the USM is not required to provide such subsistence; the mtn is
                            GRANTED to the extent that defts seek subsistence (hotel and food)
                            during the trial of this matter; the PTS has provided defts such relief as
                            required by the PTS (Cert of Mailing) (ecm) Modified on 04/09/2003
                            (Entered: 04/09/2003)
 04/08/2003          1039   APPEAL NUMBER received from C/A appeal [1034-1] regarding the
                            United States Government ( Appeal Number: 03-1138) (msn) (Entered:
                            04/09/2003)
 04/08/2003          1043   COURTROOM MINUTES OF TRIAL TO JURY - 1ST DAY before
                            Judge Wiley Y. Daniel; defts Lavallee, Schultz, Shatto, Pruyne,
                            Verbickas, Gall and Bond present w/counsel; ORDER: govts oral
                            emergency motion to stay proceedings DENIED; court's opening
                            remarks to respective jurors; trial began Court Reporter: Kara Spitler
                            (ecm) (Entered: 04/10/2003)
 04/09/2003          1040   ORDER Directing Probation Office to Provide Temporary Housing and
                            Subsistence for Indigent Defendants by Judge Wiley Y. Daniel; upon
                            report from the prob. office concerning the financial cond. and
                            resources of the defts, find that they are in genuine need of temporary
                            food and shelter; the p.o. shall make arrangements to provide housing
                            and subsistence for the defts while they are in Denver for trial (Cert of
                            Mailing) (ecm) (Entered: 04/10/2003)
 04/09/2003          1041   ORDER by Judge Wiley Y. Daniel GRANTING in PART and
                            DENYING in PART Ken Shatto's Motion In Limine to Preclude
                            Statements About David Armstrong's Condition [1027-1]; the mtn is
                            GRANTED to the extent that it seeks to preclude any reference to
                            David Armstrong's medical condition during opening stmts, and the
                            govt shall refrain from any such reference during its opening argument;
                            the mtn is otherwise DEFERRED (Cert of Mailing) (ecm) (Entered:
                            04/10/2003)
 04/09/2003          1042   PROTECTIVE ORDER by Judge Wiley Y. Daniel; various BOP
                            documents and other documents have been disclosed to the defense
                            team in accordance with the govts' various disclosure obligations and
                            the discov. orders entered in by this court and the documents will be
                            handled as directed in this order (Cert of Mailing) (ecm) (Entered:
                            04/10/2003)
 04/09/2003          1044   APPEAL Opinion from C/A regarding [1034-1] appeal; the govts
                            appeal is DISMISSED for lack of jurisdiction, its request for alternative




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                            mandamus consideration is DENIED; because the C/A lacks
                            jurisdiction, the mtn for stay is DENIED as MOOT (cc: all counsel)
                            (ecm) (Entered: 04/10/2003)
 04/09/2003          1045   COURTROOM MINUTES OF TRIAL TO JURY - 2ND DAY before
                            Judge Wiley Y. Daniel; ORDER: deft Shatto's [1027-1] Motion In
                            Limine to Preclude Statements About David Armstrong's Condition is
                            GRANTED in PART and DEFERRED in PART; the mtn is
                            GRANTED as it seeks to prevent any reference to David Armstron;s
                            condition in opening stmts and DEFERRED as to the remainder of the
                            mtn; ORDER: govts oral mtn to postpone the onset of the trial for 24
                            hrs. is DENIED; ORDER: opening stmts shall commence on 4/10/03 at
                            8:30; ORDER: govts oral mtn to sever cts. 3,7 and 8 and defer trial as
                            to Ball and Bond DEFERRED; bond cont. Court Reporter: Kara Spitler
                            (ecm) (Entered: 04/10/2003)
 04/09/2003          1065   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                            Motion For Appointment of Expert [893-1] and Motion For Payment in
                            Excess (Suppressed) [893-2] (Cert of Mailing) (ecm) (Entered:
                            04/17/2003)
 04/10/2003          1046   PETITION for Writ of HC Ad Test by USA (ecm) (Entered:
                            04/11/2003)
 04/10/2003          1047   WRIT of HC Ad Test for witness Ronald Jones; returnable forthwith;
                            issued by PAC (ecm) (Entered: 04/11/2003)
 04/10/2003          1050   COURTROOM MINUTES OF TRIAL TO JURY - 3RD DAY before
                            Judge Wiley Y. Daniel; opening statements; witnesses; exhibits; court
                            in recess; Court Reporter: Kara Spitler (ecm) (Entered: 04/14/2003)
 04/11/2003          1048   TRANSCRIPT of Excerpt of Trial to Jury, 4/10/03; copy' (18 pages)
                            Prepared By: Kara Spitler (ecm) (Entered: 04/11/2003)
 04/11/2003          1049   TRANSCRIPT of Excerpt of Trial to Jury, Day 4; MacFarlane's and
                            Hammonds Cross of Hourigan dated 4/11/03; copy; ( 53 pages)
                            Prepared By: Kara Spitler (ecm) (Entered: 04/14/2003)
 04/11/2003          1051   COURTROOM MINUTES OF TRIAL TO JURY - 4TH DAY before
                            Judge Wiley Y. Daniel; witnesses; exhibits; court in recess; Court
                            Reporter: Kara Spitler (ecm) (Entered: 04/14/2003)
 04/14/2003          1055   COURTROOM MINUTES OF TRIAL TO JURY (DAY 5);
                            ORDERED: dft Verbickas oral motion for severance is DENIED; dft
                            Schultz oral motion for severance is DENIED; dft Pruyne oral motion
                            to sever is DENIED; counsel shall meet and confer in an attempt to
                            work out procedures for the video conf; David Armstrong's test w/be
                            taken via video; counsel and parties decide if they w/be present in ctrm
                            or at a location for video; dfts not likely to flee, BOND cont; before
                            Judge Wiley Y. Daniel Court Reporter: Kara Spitler (dlb) (Entered:
                            04/16/2003)
 04/15/2003          1054   REPORTER'S TRANSCRIPT of Excerpts of Trial to Jury, Day 5 on




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                            April 14, 2003 before Wiley Y. Daniel (Re: [1034-1] ) Pgs 1 - 14
                            certified copy Prepared By: Kara Spitler, RMR, CRR (dlb) (Entered:
                            04/16/2003)
 04/15/2003          1056   MOTION for order directing USM to arrange non-custodial trans from
                            Denver to AZ by Rod Schultz (dlb) (Entered: 04/16/2003)
 04/15/2003          1057   MOTION for order directing USM arrange non-custodial trans to
                            Denver, CO by Rod Schultz (dlb) (Entered: 04/16/2003)
 04/15/2003          1058   COURTROOM MINUTES OF TRIAL TO JURY - 6TH DAY before
                            Judge Wiley Y. Daniel; witnesses; exhibits; ORDER: court will
                            conduct a telephone conf. w/Dr. Scott Dessain at 2:00 this date to
                            discuss the condition of David Armstrong; jury excused at 2:00 pm; Dr.
                            Dessain appears by telephone; Dr. Dessain sworn; telephone conf.
                            w/Dr. Dessain will resume on 4/16/03 at 11:45; bonds cont.; Court
                            Reporter: Kara Spitler (ecm) (Entered: 04/17/2003)
 04/15/2003          1062   LETTER to court from witness (SEALED) (ecm) (Entered:
                            04/17/2003)
 04/15/2003          1063   LETTER to court from witness (SEALED) (ecm) (Entered:
                            04/17/2003)
 04/16/2003          1059   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                            for order directing USM to arrange non-custodial trans from Denver to
                            AZ [1056-1] (Cert of Mailing) (ecm) (Entered: 04/17/2003)
 04/16/2003          1061   MOTION To Allow David Armstrong to Testify at Trial Via Two-Day
                            Video Conference by USA (ecm) (Entered: 04/17/2003)
 04/16/2003          1066   COURTROOM MINUTES OF TRIAL TO JURY - 7TH DAY before
                            Judge Wiley Y. Daniel; witnesses, exhibits; Dr. Scott Kendall Dessain
                            appears by telephone conference; court's examination of witness;
                            ORDER: a futher telephone conf. is set for 11:45 4/24/03; Dr. Dessain
                            shall contact Mr. Blumbert if there are any changes in David
                            Armstrong's condition that would prevent Mr. Armstrong from
                            testifying in Denver; court in recess Court Reporter: Kara Spitler (ecm)
                            (Entered: 04/18/2003)
 04/16/2003          1069   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                            for order directing USM arrange non-custodial trans to Denver, CO
                            [1057-1] (Cert of Mailing) (ecm) (Entered: 04/18/2003)
 04/17/2003          1070   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                            Motion For Order Directing USM to Arrange Non-Custodial
                            Transportation (from Denver to Connecticut) [1067-1] on 4/18/03 (Cert
                            of Mailing) (ecm) (Entered: 04/18/2003)
 04/17/2003          1071   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                            Motion For Order Directing USM to Arrange Non-Custodial
                            Transportation (from Connecticut to Denver) [1068-1] on 4/20/03 (Cert
                            of Mailing) (ecm) (Entered: 04/18/2003)




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 04/17/2003          1072   COURTROOM MINUTES OF TRIAL TO JURY - 8TH DAY before
                            Judge Wiley Y. Daniel; witnesses; exhibits; govt shall not later than
                            4/21/03 provide to the court and ea. deft a clean version of the Feb.
                            2000 meeting notes, including 302 any interview notes from any and all
                            FBI agents who attended that meeting and any other paperwork or
                            documents that have any bearing o the interview w/Charlotte Gutierrez
                            on 2/9/00; court in recess; Court Reporter: Kara Spitler (ecm) (Entered:
                            04/21/2003)
 04/18/2003          1073   COURTROOM MINUTES OF TRIAL TO JURY - 9TH DAY before
                            Judge Wiley Y. Daniel; witnesses; exhibits; counsel shall meet and
                            confer to discuss schedules for witnesses in the future; court in recess;
                            Court Reporter: Kara Spitler (ecm) (Entered: 04/21/2003)
 04/18/2003          1088   ORDER by Judge Wiley Y. Daniel; GRANTING Brent Gall's Motion
                            For Payment in Excess for Expert (Suppressed) [1086-1] (Cert of
                            Mailing) (ecm) (Entered: 04/22/2003)
 04/18/2003          1091   ORDER by Judge Wiley Y. Daniel GRANTING James Bonds' Motion
                            For Appointment of Expert (SUPPRESSED) [1089-1] (Cert of Mailing)
                            (ecm) (Entered: 04/22/2003)
 04/21/2003          1075   ORDER: approving Final Voucher for Expert other services Number 03
                            04 09/47 of Boston Henry Stanton Jr. for Rod Schultz regarding (dlb)
                            (Entered: 04/21/2003)
 04/21/2003          1077   ORDER by Judge Wiley Y. Daniel GRANTING Motion To Compel
                            Testimony of Garrett Fozzard [1076-1] (Cert of Mailing) (ecm)
                            (Entered: 04/22/2003)
 04/21/2003          1078   MOTION To Compel Testimony of Roger Procter by USA (ecm)
                            (Entered: 04/22/2003)
 04/21/2003          1079   ORDER by Judge Wiley Y. Daniel GRANTING Motion To Compel
                            Testimony of Roger Procter [1078-1] (Cert of Mailing) (ecm) (Entered:
                            04/22/2003)
 04/21/2003          1080   MOTION To Disqualify Jennifer Grundy by Mike Lavallee, Rod
                            Schultz, Ken Shatto, David Pruyne, Robert Verbickas, Brent Gall,
                            James Bond (ecm) (Entered: 04/22/2003)
 04/21/2003          1085   LETTER to court from witness (SEALED) (ecm) (Entered:
                            04/22/2003)
 04/21/2003          1092   COURTROOM MINUTES OF TRIAL TO JURY - 10TH DAY before
                            Judge Wiley Y. Daniel; jury present; witnesses; exhibits; ORDER:
                            GRANTING govt's Motion To Compel Testimony of Roger Procter
                            [1078-1]; GRANTING govt's Motion To Compel Testimony of Garrett
                            Fozzard [1076-1]; ORDER: govt shall respond to defts Motion to
                            Disqualify Jennifer Grundy by 4/28/03; court in recess Court Reporter:
                            Kara Spitler (ecm) (Entered: 04/23/2003)
 04/22/2003          1094   MOTION For Order Directing USM to Arrange Non-Custodial
                            Transportation From Denver to Arizona by Rod Schultz (ecm)




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                            (Entered: 04/23/2003)
 04/22/2003          1095   MOTION For Order Directing USM Arrange Non-Custodial
                            Transportation to Denver, CO by Rod Schultz (ecm) (Entered:
                            04/23/2003)
 04/22/2003          1098   COURTROOM MINUTES OF TRIAL TO JURY - 11TH DAY before
                            Judge Wiley Y. Daniel; witnesses; exhibits; stmt by govt re the health
                            of David Armstrong and that he would not be able to travel to Denver
                            earlier than 5/1/03; ORDER: GRANTING Pruyne's Motion Requesting
                            the Court to Modify Its Procedure in Issuing a Limiting Instruction
                            [1096-1]; the [1061-1] Motion To Allow David to Testify at Trial Via
                            Two-Day Video Conference is DEFERRED; the [954-1] Motion to
                            Amend the Order Dated March 10, 2003 is DEFERRED; GRANTING
                            Motion for Issuance of Subpoenas in Forma (SUPPRESSED) [883-1];
                            DENYING Motion to compel gov to provide discovery produced in
                            case no. 98-CR-224-D under proto [990-1]; the [1016-1] Motion To
                            Order Compliance With This Court's Previous Writ of Habeas Corpus
                            ad Test or in the Alternative, to Strike Any Reference to Ellis Lar in the
                            Superseding Indictment is DEFERRED; GRANTING Motion To Issue
                            Writ of HC Ad Test (SUPPRESSED) [860-1]; GRANTING Motion for
                            Issuance of Subpoenas in Forma Pauperis (SUPPRESSED) [799-1];
                            GRANTING Motion For Payment in Excess - Expert [796-1]; court in
                            recess; Court Reporter: Kara Spitler (ecm) (Entered: 04/24/2003)
 04/23/2003          1099   ORDER by Judge Wiley Y. Daniel DENYING Verbickas' Motion to
                            compel gov to provide discovery produced in case no. 98-CR-224-D
                            under proto [990-1] (Cert of Mailing) (ecm) (Entered: 04/24/2003)
 04/23/2003          1100   ORDER by Judge Wiley Y. Daniel GRANTING Shultz' Motion For
                            Order Directing USM to Arrange Non-Custodial Transportation From
                            Denver to Arizona [1094-1] (Cert of Mailing) (ecm) (Entered:
                            04/24/2003)
 04/23/2003          1101   ORDER by Judge Wiley Y. Daniel GRANTING Schultz' Motion For
                            Order Directing USM Arrange Non-Custodial Transportation to
                            Denver, CO [1095-1] (Cert of Mailing) (ecm) (Entered: 04/24/2003)
 04/23/2003          1103   COURTROOM MINUTES OF TRIAL TO JURY - 12TH DAY before
                            Judge Wiley Y. Daniel; witnesses; exhibits; ORDER: the govt shall
                            respond to the [1093-1] Motion For Issuance of Subpoenas Duces
                            Tecum for the Production of Mental Health Records of David
                            Armstrong by 4/28/03; bond cont.; Court Reporter: Kara Spitler (ecm)
                            (Entered: 04/25/2003)
 04/24/2003          1102   TRANSCRIPT of Excerpt of Trial to Jury, Day 11, Direct, Redirect,
                            Sears' Cross and Recross of McDougald dated 4/22/03; copy; (51
                            pages) Prepared By: Kara Spitler (ecm) (Entered: 04/25/2003)
 04/24/2003          1104   EXHIBITS A & B to the Motion To Disqualify Jennifer Grundy [1080-
                            1] (ecm) (Entered: 04/25/2003)
 04/24/2003          1106   ORDER by Judge Wiley Y. Daniel GRANTING Motion For Issuance




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                            of Subpoenas in Forma Pauperis (SUPPRESSED) [1097-1] (Cert of
                            Mailing) (ecm) (Entered: 04/25/2003)
 04/24/2003          1116   COURTROOM MINUTES OF TRIAL TO JURY - 13TH DAY before
                            Judge Wiley Y. Daniel; witnesses; exhibits; court in recess; Court
                            Reporter: Kara Spitler (ecm) (Entered: 04/28/2003)
 04/24/2003          1119   LETTER to court from witness (SEALED) (ecm) (Entered:
                            04/28/2003)
 04/25/2003          1107   TRANSCRIPT of Excerpt of Trial to Jury, Day 13, Sears' Cross of
                            Geiger dated 4/24/03; copy; (19 pages) Prepared By: Kara Spitler (ecm)
                            (Entered: 04/25/2003)
 04/25/2003          1109   ORDER: approving Final Voucher for Expert other services Number 03
                            04 18/14 of Boston Henry Stanton Jr. for Rod Schultz regarding (dlb)
                            (Entered: 04/25/2003)
 04/25/2003          1117   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                            Motion for Issuance of Subpoenas in Forma Pauperis [1105-1] (Cert of
                            Mailing) (ecm) (Entered: 04/28/2003)
 04/28/2003          1120   RESPONSE by plaintiff USA to dft's motion To Disqualify Jennifer
                            Grundy [1080-1] regarding [1080-1] (dlb) (Entered: 04/28/2003)
 04/28/2003          1121   RESPONSE by plaintiff USA to dft's motion For Issuance of
                            Subpoenas Duces Tecum for the Production of Mental Health Records
                            of David Armstrong [1093-1] regarding [1093-1] (dlb) (Entered:
                            04/28/2003)
 04/28/2003          1123   TRANSCRIPT of Excerpt of Trial to Jury, Day 14, Sears' Recross of
                            Geiger dated 4/28/03; copy; (6 pages) Prepared By: Kara Spitler (ecm)
                            (Entered: 04/29/2003)
 04/28/2003          1124   COURTROOM MINUTES TRIAL TO JURY - 14TH DAY Time
                            Court Began: 9:13 am Time Court Ended: 3:05 pm before Judge Wiley
                            Y. Daniel; witnesses; exhibits; discussion re setting up a telephone
                            conf. w/a doctor in Minnesota related to info about witness Ellis Lard; a
                            telephone conf. will occur on 4/29/03 at 1:30 pm; ORDER: DENYING
                            Motion In Limine to Exclude Evidence Regarding Acts and
                            Declarations of Non-Conspirators [1118-1]; DENYING Motion
                            Disqualify Jennifer Grundy [1080-1]; DENYING Motion for Issuance
                            of Subpoenas in Forma Pauperis [1105-1]; counsel shall pick up jury
                            instructions and verdict form from chambers on 4/30/03 at 1:30; jury
                            instructions conf. is set for 9:00 5/1/03; bond cont.; Court Reporter:
                            Kara Spitler (ecm) (Entered: 04/30/2003)
 04/29/2003          1125   ORDER by Judge Wiley Y. Daniel GRANTING Petition for Writ of
                            HC Ad Test for witness Ellis Lard [1046-1] (Cert of Mailing) (ecm)
                            (Entered: 04/30/2003)
 04/29/2003          1126   WRIT of HC Ad Test for witness Ellis Lard; returnable 5/8/03 at 9 am;
                            issued by WYD (ecm) (Entered: 04/30/2003)




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 04/29/2003          1127   MOTION For Issuance of Subpoenas in Forma Pauperis
                            (SUPPRESSED) by Rod Schultz (ecm) (Entered: 04/30/2003)
 04/29/2003          1128   COURTROOM MINUTES Time Court Began: 9:55 AM Time Court
                            Ended: 2:32 PM OF TRIAL TO JURY (DAY 15) before Judge Wiley
                            Y. Daniel; ORDERED: case shall be to the jury by 5/21/03; gov's req
                            for competency exam of Ellis Lard is DENIED; granting in part and
                            denying in part dft Pruyne's motion To Order Compliance With This
                            Court's Previous Writ of Habeas Corpus ad Test or in the Alternative, to
                            Strike Any Reference to Ellis Lar in the Superseding Indictment; the
                            motion is granted as to mtn for compliance with this court's previous
                            writ of habeas corpus ad test and dneied as to the mtn to strike [1016-
                            1]; ORDERED: dfts shall be present for the jury instruction conf on
                            5/1/03 at 9:00; counsel shall obtain jury instr and verdict forms from
                            chambers by 4/30/03 at 1:30; granting dft Pruyne's motion for Issuance
                            of Subpoena duces tecum for the prod of US penitentiary Florence BOP
                            docs; court finds that dfts are not likely to flee or be a danger, BOND
                            CONT. [1122-1] Court Reporter: Kara Spitler (dlb) (Entered:
                            04/30/2003)
 04/29/2003          1130   ORDER by Judge Wiley Y. Daniel granting motion for Issuance of
                            Subpoena duces tecum for the prod of US penitentiary Florence BOP
                            docs [1122-1] (Cert of Mailing) (dlb) (Entered: 04/30/2003)
 04/30/2003          1129   ORDER by Judge Wiley Y. Daniel granting motion For Issuance of
                            Subpoenas in Forma Pauperis (SUPPRESSED) [1127-1] (Cert of
                            Mailing) (dlb) (Entered: 04/30/2003)
 04/30/2003          1131   REPORTER'S TRANSCRIPT of Excerpt of Trial to Jury, Day 15,
                            Testimony of John Gutierrez on April 29, 2003 before Wiley Y. Daniel
                            (Re: [1034-1] ) Pgs 1 - 47 certified copy Prepared By: Kara Spitler,
                            RMR, CRR (dlb) (Entered: 05/01/2003)
 04/30/2003          1132   MOTION for order directing USM arrange non-custodial trans to
                            Denver,CO by Rod Schultz (dlb) (Entered: 05/01/2003)
 04/30/2003          1133   MOTION for order directing USM to arrange non-custodial trans from
                            Denver to AZ by Rod Schultz (dlb) (Entered: 05/01/2003)
 05/01/2003          1137   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' motion
                            for order directing USM arrange non-custodial trans to Denver,CO
                            5/5/03 [1132-1] (Cert of Mailing) (ecm) (Entered: 05/02/2003)
 05/01/2003          1138   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' motion
                            for order directing USM to arrange non-custodial trans from Denver to
                            AZ 5/2/03 [1133-1] (Cert of Mailing) (ecm) (Entered: 05/02/2003)
 05/01/2003          1139   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                            Motion For Order Directing USM to Arrange Non-Custodial
                            Transportation (from Connecticut to Denver 5/11/03) [1134-1] (Cert of
                            Mailing) (ecm) (Entered: 05/02/2003)
 05/01/2003          1140   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'




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                            Motion For Order Directing USM to Arrange Non-Custodial
                            Transportation (from Denver to Connecticut 5/9/03) [1135-1] (Cert of
                            Mailing) (ecm) (Entered: 05/02/2003)
 05/01/2003          1141   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                            Motion For Order Directing USM to Provide Non-Custodial
                            Transportation (from Denver to Connecticut 5/2/03) [1136-1] (Cert of
                            Mailing) (ecm) (Entered: 05/02/2003)
 05/01/2003          1143   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                            Motion For Issuance of Subpoenas in Forma Pauperis (SUPPRESSED)
                            [1142-1] (Cert of Mailing) (ecm) (Entered: 05/02/2003)
 05/01/2003          1144   MOTION Requesting Leave to Be Added as Joint Party to the Action
                            Purs. to F.R.Cv.P. 20(a) by Reggie L. McCoy pro se (ecm) (Entered:
                            05/02/2003)
 05/01/2003          1145   MINUTE ORDER before Judge Wiley Y. Daniel DENYING Reggie
                            McCoy's pro se Motion Requesting Leave to Be Added as Joint Party to
                            the Action Purs. to F.R.Cv.P. 20(a) [1144-1] for lack of merit (ecm)
                            (Entered: 05/02/2003)
 05/01/2003          1147   COURTROOM MINUTES TRIAL TO JURY - 16TH DAY Time
                            Court Began: 9:12 am Time Court Ended: 3:25 before Judge Wiley Y.
                            Daniel; discussion re jury instructions related to the conspiracy;
                            ORDER: govt shall file pleading related to jury instruction on
                            conspiracy by 5/2/03; counsel shall submit any suppl. jury instructions
                            by 5/5/03; court informs counsel that Ellis Lard will be available to
                            testify on 5/8/03 at 9:00 am; court in recess; Court Reporter: Kara
                            Spitler (ecm) (Entered: 05/02/2003)
 05/01/2003          1148   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                            Motion For Order Directing USM to Arrange Non-Custodial
                            Transportation (from Connecticut to Denver 5/5/03) [1146-1] (Cert of
                            Mailing) (ecm) (Entered: 05/02/2003)
 05/01/2003          1149   APPEAL Mandate from C/A dismissing the government's appeal
                            [1034-1] for lack of jurisidiction, the government's request for
                            alternative mandamus consideration is denied, and because the USCA
                            lacks jurisdiction, the motion for stay is denied as moot. (cc: all
                            counsel) (msn) (Entered: 05/02/2003)
 05/02/2003          1152   Subpoena in a Criminal Case (STATEMENT ) executed on 3/11/03 as
                            to Terry Hines (dlb) (Entered: 05/05/2003)
 05/02/2003          1153   Subpoena in a criminal case (STATEMENT) as to Jeff Chase (dlb)
                            (Entered: 05/05/2003)
 05/02/2003          1154   Subpoena in a criminal case (STATEMENT) as to Lee Green (dlb)
                            (Entered: 05/05/2003)
 05/02/2003          1155   ReSTATEMENT by USA of elements of 18 USC Sec. 242 and 241
                            (dlb) (Entered: 05/05/2003)




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 05/02/2003          1156   United States' MEMORANDUM as to Mike Lavallee, Rod Schultz,
                            Ken Shatto, David Pruyne, Robert Verbickas, Brent Gall, James Bond
                            regasrding whether the jury must unanimously agree on a means or
                            method of a civil rights conspiracy (dlb) (Entered: 05/05/2003)
 05/02/2003          1157   COURTROOM MINUTES Time Court Began: 8:16 AM Time Court
                            Ended: 2:44 PM OF TRIAL TO JURY (DAY 17) before Judge Wiley
                            Y. Daniel denying motion To Allow David Armstrong to Testify at
                            Trial Via Two-Day Video Conference [1061-1] Court Reporter: Janet
                            Morrissey (dlb) (Entered: 05/05/2003)
 05/02/2003          1230   EX PARTE MOTION Investigator (SUPPRESSED) by Rod Schultz
                            (former empl) (Entered: 05/22/2003)
 05/05/2003          1159   MOTION to exclude reference in the dfts' case to alleged prosecutorial
                            misconduct by USA regarding Mike Lavallee, Rod Schultz, Ken Shatto,
                            David Pruyne, Robert Verbickas, Brent Gall, James Bond (dlb)
                            (Entered: 05/06/2003)
 05/05/2003                 Tendered Jury Instruction submitted by plaintiff USA (dlb) (Entered:
                            05/06/2003)
 05/05/2003          1161   Ex parte MOTION for funds (SUPPRESSED) by Rod Schultz (dlb)
                            (Entered: 05/06/2003)
 05/06/2003          1164   ORDER: approving Final Voucher for Expert other services Number 03
                            04 25/14 of Boston Henry Stanton Jr. for Rod Schultz regarding (dlb)
                            (Entered: 05/06/2003)
 05/06/2003          1171   ORDER: approving Final Voucher for Expert other services Number 03
                            05 01/41 of Boston Henry Stanton Jr. for Rod Schultz regarding (dlb)
                            (Entered: 05/06/2003)
 05/06/2003          1177   COURTROOM MINUTES Time Court Began: 8:49 AM Time Court
                            Ended: 5:10 PM OF TRIAL TO JURY (DAY 18) before Judge Wiley
                            Y. Daniel Court Reporter: ECR Janet Morrissey (dlb) (Entered:
                            05/07/2003)
 05/07/2003          1178   COURTROOM MINUTES Time Court Began: 9:15 AM Time Court
                            Ended: 5:00 PM OF TRIAL TO JURY (DAY 19) before Judge Wiley
                            Y. Daniel Court Reporter: Janet Morrissey (dlb) (Entered: 05/08/2003)
 05/07/2003          1186   ORDER by Judge Wiley Y. Daniel granting motion for authorization of
                            funds (SUPPRESSED) [1160-1] (Cert of Mailing) (dlb) (Entered:
                            05/12/2003)
 05/07/2003          1231   ORDER by Judge Wiley Y. Daniel granting motion Investigator
                            (SUPPRESSED) [1230-1] (SEALED) (Cert of Mailing) (former empl)
                            (Entered: 05/22/2003)
 05/07/2003          1233   ORDER by Judge Wiley Y. Daniel granting motion for additional
                            authorization of funds for sevices in excess of the statutory maximum
                            [1232-1] (Cert of Mailing) (former empl) (Entered: 05/22/2003)




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 05/08/2003          1179   MOTION for order directing USM arrange non-custodial trans to
                            Denver, CO by Rod Schultz (dlb) (Entered: 05/09/2003)
 05/08/2003          1180   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM arrange non-custodial trans to Denver, CO [1179-1] (Cert of
                            Mailing) (dlb) (Entered: 05/09/2003)
 05/08/2003          1181   ORDER by Judge Wiley Y. Daniel granting motion for issuance of
                            subpoenas (SUPPRESSED) [1162-1] (Cert of Mailing) (dlb) (Entered:
                            05/09/2003)
 05/08/2003          1183   COURTROOM MINUTES Time Court Began: 8:40 AM Time Court
                            Ended: 5:21 PM OF TRIAL TO JURY (DAY 20) before Judge Wiley
                            Y. Daniel Court Reporter: Janet Morrissey (dlb) (Entered: 05/12/2003)
 05/09/2003          1185   ORDER by Judge Wiley Y. Daniel denying motion to exclude
                            reference in the dfts' case to alleged prosecutorial misconduct [1159-1]
                            (Cert of Mailing) (dlb) (Entered: 05/12/2003)
 05/09/2003          1187   COURTROOM MINUTES Time Court Began: 9:07 am Time Court
                            Ended: 5:21 OF TRIAL TO JURY (DAY 21) before Judge Wiley Y.
                            Daniel denying motion to exclude reference in the dfts' case to alleged
                            prosecutorial misconduct [1159-1] Court Reporter: Janet Morrissey
                            (dlb) (Entered: 05/12/2003)
 05/12/2003          1190   MOTION for order directing USM to arrange non-custodial trans from
                            Denver to AZ by Rod Schultz (dlb) (Entered: 05/13/2003)
 05/12/2003          1191   MOTION for order directing USM arrange non-custodial trans to
                            Denver, CO by Rod Schultz (dlb) (Entered: 05/13/2003)
 05/12/2003          1195   COURTROOM MINUTES Time Court Began: 9:43 am Time Court
                            Ended: 5:35 pm OF TRIAL TO JURY (DAY 22) before Judge Wiley
                            Y. Daniel denying motion for judgment of acquittal [1189-1] Court
                            Reporter: Kara Spitler (dlb) (Entered: 05/14/2003)
 05/13/2003          1196   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM arrange non-custodial trans to Denver, CO [1191-1] (Cert of
                            Mailing) (dlb) (Entered: 05/14/2003)
 05/13/2003          1197   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM to arrange non-custodial trans from Denver to AZ [1190-1] (Cert
                            of Mailing) (dlb) (Entered: 05/14/2003)
 05/13/2003          1198   ORDER by Judge Wiley Y. Daniel denying motion for judgment of
                            acquittal [1189-1] (Cert of Mailing) (dlb) (Entered: 05/14/2003)
 05/13/2003          1199   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM to arrange non-custodial transporation [1193-1] (Cert of Mailing)
                            (dlb) (Entered: 05/14/2003)
 05/13/2003          1200   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM to arrange non-custodial transporation [1194-1] (Cert of Mailing)
                            (dlb) (Entered: 05/14/2003)




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 05/13/2003          1201   COURTROOM MINUTES Time Court Began: 8:33 am Time Court
                            Ended: 5:17 pm OF TRIAL TO JURY (DAY 23) before Judge Wiley
                            Y. Daniel Court Reporter: Kara Spitler (dlb) (Entered: 05/15/2003)
 05/14/2003          1202   MOTION for court order to issue writ of habeas corpus ad
                            testificandum by Rod Schultz (dlb) (Entered: 05/15/2003)
 05/14/2003          1204   ORDER by Magistrate Judge Craig B. Shaffer granting motion for
                            court order to issue writ of habeas corpus ad testificandum [1202-1]
                            (Cert of Mailing) (dlb) (Entered: 05/15/2003)
 05/14/2003          1205   WRIT for HABEAS CORPUS AD TESTIF issued as to Bradley
                            Chapin for 5/23/03 (dlb) (Entered: 05/15/2003)
 05/15/2003          1206   REPORTER'S TRANSCRIPT of Excerpt of Trial to Jury on April 15,
                            2003 before Wiley Y. Daniel (Re:) Pgs 1 - 33 certified copy Prepared
                            By: Kara Spitler (dlb) (Entered: 05/16/2003)
 05/15/2003          1207   REPORTER'S TRANSCRIPT of Excerpt of Trial to Jury on May 1,
                            2003 before Wiley Y. Daniel (Re:) Pgs 1 - 170 certified copy Prepared
                            By: Kara Spitler (dlb) (Entered: 05/16/2003)
 05/15/2003          1215   WRIT for EXECUTED issued for Reginald McCoy (former empl)
                            (Entered: 05/20/2003)
 05/15/2003          1216   WRIT for EXECUTED issued for Kevin Gilbeaux (former empl)
                            (Entered: 05/20/2003)
 05/15/2003          1217   WRIT for EXECUTED issued for Ronald Jones. (former empl)
                            (Entered: 05/20/2003)
 05/15/2003          1218   WRIT for EXECUTED issued for Craig Hron (former empl) (Entered:
                            05/20/2003)
 05/15/2003          1219   WRIT for EXECUTED issued for Felton Wiggins (former empl)
                            (Entered: 05/20/2003)
 05/15/2003          1220   WRIT for EXECUTED issued for Ellis lard (former empl) (Entered:
                            05/20/2003)
 05/15/2003          1221   WRIT for EXECUTED issued for Billy Ray Rosamond (former empl)
                            (Entered: 05/20/2003)
 05/16/2003          1208   TRANSCRIPT of Trial to Jury Day 6 before Judge Daniel on 4/15/03
                            ( 1-33 pages) Testimony of Charlotte Gutierrez Prepared By: Kara
                            Spitler (former empl) Modified on 05/19/2003 (Entered: 05/19/2003)
 05/16/2003          1209   TRANSCRIPT of Trial to Jury Day 7 before Judge Daniel on 4/16/03
                            ( 34-279 pages) testimony of Charlotte Gutierrez Prepared By: Kara
                            Spitler (former empl) (Entered: 05/19/2003)
 05/16/2003          1210   TRANSCRIPT of Trial to Jury Day 8 before Judge Daniel on 4/17/03
                            ( 280-473 pages) testimony of Charlotte Gutierrez Prepared By: Kara
                            Spitler (former empl) (Entered: 05/19/2003)




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 05/16/2003          1211   TRANSCRIPT of Trial to Jury Day 9 before Judge Daniel on 4/18/03
                            (474-485 pages) testimony of Charlotte Gutierrez Prepared By: Kara
                            Spitler (former empl) (Entered: 05/19/2003)
 05/16/2003          1212   TRANSCRIPT of Trial to Jury Day 12 before Judge Daniel on 4/23/03
                            ( 486-539 pages) testimony of Geiger Prepared By: Kara Spitler
                            (former empl) (Entered: 05/19/2003)
 05/19/2003          1213   TRANSCRIPT of Trial to Jury Day 13 before Judge Daniel ( 540-667
                            pages) testimony of Geiger on 4/24/03Prepared By: Kara Spitler
                            (former empl) (Entered: 05/19/2003)
 05/19/2003          1214   TRANSCRIPT of Trial to Jury Day 14 before Judge Daniel ( 668-755
                            pages) testimony of Geiger on 4/28/03 Prepared By: Kara Spitler
                            (former empl) (Entered: 05/19/2003)
 05/19/2003          1222   ORDER by Judge Wiley Y. Daniel granting motion for Issuance of
                            Subpoenas in Forma Pauperis [1203-1] (former empl) (Entered:
                            05/20/2003)
 05/19/2003          1224   COURTROOM MINUTES Time Court Began: 8:14 am Time Court
                            Ended: 3:40 pm OF TRIAL TO JURY DAY 24 before Judge Y.
                            Daniel; exhibits, witnesses; ORDERED: counsel for defts shall submit
                            hard copies of exhibits by close of business on 5/21/03; LaValle's oral
                            motion under FRCRp 26.3 is DENIED: deft's Oral Motion for mistrial
                            is DENIED; defts allowed to remain on bond; Court Reporter: Kara
                            Spitler (former empl) (Entered: 05/21/2003)
 05/20/2003          1223   MOTION to exclude reference to William Turner's Statements in his
                            Disciplinary Hearing Officer Report by USA regarding Mike Lavallee,
                            Rod Schultz, Ken Shatto, David Pruyne, Robert Verbickas, Brent Gall,
                            James Bond (former empl) (Entered: 05/21/2003)
 05/20/2003          1226   MOTION for order directing USM to arrange non-custodial trans to
                            Denver, cO by Rod Schultz (former empl) (Entered: 05/22/2003)
 05/20/2003          1227   MOTION for order directing USM to arrange non-custodial trans from
                            Denver to Arizona by Rod Schultz (former empl) (Entered: 05/22/2003)
 05/20/2003          1228   COURTROOM MINUTES Time Court Began: 8;42 AM Time Court
                            Ended: 5:21 AM OF TRIAL TO JURY DAY 25 before Judge Y.
                            Daniel; witnesses; exhibits; ORDERED; Ct will not allow testimony
                            regarding prior inconsistent stmts by Charlotte Gutierrez to e elicited
                            from witness Mark Mooneyham; deft sallowed to remain on bond;
                            Court Reporter: Kara Spitler (former empl) (Entered: 05/22/2003)
 05/21/2003          1234   COURTROOM MINUTES Time Court Began: 8:36 am Time Court
                            Ended: 4:20 pm OF TRIAL TO JURY DAY 26 before Judge Y.
                            Daniel ; witnesses; exhibits; ORDERED: 1) Exhibit A0842 shall be
                            redacted as outlined by the Court; 2)Mr.Banta shall sumit redacted
                            copies of A0765pp 15-17, 10766 pp 5-7; and A0767 pp2-4 by the close
                            of business on 5/21/03; Ct finds defts will not flee therefore bonds are
                            continued; Court Reporter: Kara Spitler (former empl) (Entered:




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                            05/27/2003)
 05/22/2003          1235   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM to arrange non-custodial trans to Denver, cO [1226-1] (Cert of
                            Mailing) (former empl) (Entered: 05/27/2003)
 05/22/2003          1236   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM to arrange non-custodial trans from Denver to Arizona [1227-1]
                            (Cert of Mailing) (former empl) (Entered: 05/27/2003)
 05/22/2003          1238   COURTROOM MINUTES Time Court Began: 8:35 am Time Court
                            Ended: 8:41 am OF TRIAL TO JURY DAY 27 before Judge Y.
                            Daniel ; juror is ill, counsel have no objection to suspending the trial for
                            1 day due to illness of juror; trial to resume on 5/23/03 at 8:15 am;
                            bonds continued for all defts. Court Reporter: Kara Spitler (former
                            empl) (Entered: 05/27/2003)
 05/22/2003          1243   TRANSCRIPT of Trial to Jury Day 24 excerpts of Harrison testimony
                            before Jude Daniel on 5/19/03 ( 1-11 pages) Prepared By: Kara Spitler
                            (former empl) (Entered: 05/28/2003)
 05/23/2003          1239   COURTROOM MINUTES Time Court Began: 8:15 am Time Court
                            Ended: 11:42 am OF TRIAL TO JURY DAY 28 before Judge Wiley Y.
                            Daniel ; ORDERED: counsel shall file any law regarding the issue of
                            deft's legal right for surrebutal by 5/27/03; witnesses; exhibits;
                            ORDERED: Mr. Holland shall confer with govt counsel regarding
                            discovery issue and file a motion if the issue cannot be resolved; bonds
                            shall continue; Court Reporter: Kara Spitler (former empl) (Entered:
                            05/27/2003)
 05/23/2003          1248   ORDER by Judge Wiley Y. Daniel granting motion for Issuance of
                            Subpoenas in Forma Pauperis (SUPPRESSED) [1247-1] (Cert of
                            Mailing) (former empl) (Entered: 05/28/2003)
 05/27/2003          1240   MOTION to join motion for mistrial [1225-1] by Rod Schultz (dlb)
                            (Entered: 05/27/2003)
 05/27/2003          1241   BRIEF on Surrebuttal by plaintiff USA (dlb) (Entered: 05/27/2003)
 05/27/2003          1249   COURTROOM MINUTES Time Court Began: 8:05 am Time Court
                            Ended: 5:10 pm OF TRIAL TO JURY (DAY 29) before Judge Wiley
                            Y. Daniel regarding LaVallee's [1225-1] motion for mistrial, gov shall
                            respond by 5/29/03; granting in part and denying in part as outlined by
                            the court, Verbicka's motion to compel government to provide
                            discovery; [1246-1] granting in part and denying in part as outlined by
                            the court LaVallee's motion to exclude "rebuttal" testimony and present
                            the case to the jury by 5/30/03 [1242-1] Court Reporter: Kara Spitler
                            (dlb) (Entered: 05/29/2003)
 05/28/2003          1250   MOTION for order directing USM arrange non-custodial transporation
                            to Denver CO by Rod Schultz (dlb) (Entered: 05/29/2003)
 05/28/2003          1251   MOTION for order directing USM to arrange non-custodial
                            transporation from Denver to AZ by Rod Schultz (dlb) (Entered:




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                            05/29/2003)
 05/28/2003          1252   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM arrange non-custodial transporation to Denver CO [1250-1] (Cert
                            of Mailing) (dlb) (Entered: 05/29/2003)
 05/28/2003          1253   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM to arrange non-custodial transporation from Denver to AZ [1251-
                            1] (Cert of Mailing) (dlb) (Entered: 05/29/2003)
 05/28/2003          1266   COURTROOM MINUTES Time Court Began: 8:09 am Time Court
                            Ended: 5:30 pm OF TRIAL TO JURY (DAY 30) before Judge Wiley
                            Y. Daniel Court Reporter: Kara Spitler (dlb) (Entered: 05/30/2003)
 05/29/2003          1256   ORDER by Judge Wiley Y. Daniel granting motion to issue subpoena
                            [1255-1] (Cert of Mailing) (dlb) (Entered: 05/29/2003)
 05/29/2003          1257   Subpoena (SUMMONS) issued in a criminal case for Dennis Jones
                            (dlb) (Entered: 05/29/2003)
 05/29/2003          1259   RESPONSE by plaintiff USA to motion for mistrial [1225-1] (dlb)
                            (Entered: 05/30/2003)
 05/29/2003          1260   MOTION to sever by Rod Schultz (dlb) (Entered: 05/30/2003)
 05/29/2003          1263   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM to arrange non-custodial transporation from Denver to
                            Connecticut [1262-1] (Cert of Mailing) (dlb) (Entered: 05/30/2003)
 05/29/2003          1265   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM to arrange non-custodial transporation from Connecticut to
                            Colordo [1264-1] (Cert of Mailing) (dlb) (Entered: 05/30/2003)
 05/29/2003          1267   COURTROOM MINUTES Time Court Began: 8:10 am Time Court
                            Ended: 2:33 pm OF TRIAL TO JURY (DAY 31) before Judge Wiley
                            Y. Daniel granting motion to adjourn trial during the week of 6/2/03
                            [1237-1] granting motion to join motion to adjourn trial during the
                            week of 6/2/03 [1237-1] [1244-1] as to Mike Lavallee, Rod Schultz,
                            Ken Shatto, David Pruyne, Robert Verbickas, Brent Gall, James Bond
                            denying motion for judgment of acquittal [1258-1], denying motion to
                            sever [1260-1] Court Reporter: Kara Spitler (dlb) (Entered: 06/02/2003)
 05/29/2003          1361   REPORTER'S TRANSCRIPT of Hr on Gov's Motion to Postpone
                            4/7/03 Trial date and Request for Emergency Hrg to be held on 4/4/03;
                            on April 7, 2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 1 - 75
                            certified copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 05/29/2003          1362   REPORTER'S TRANSCRIPT of Hearing on Juror Questionnaire on
                            April 7, 2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 1 - 89
                            certified copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 05/29/2003          1363   REPORTER'S TRANSCRIPT of Trial to Jury, Day 1 on April 8, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 1 - 271 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)




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 05/29/2003          1364   REPORTER'S TRANSCRIPT of Trial to Jury, Day 2 on April 9, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 272 - 459 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 05/29/2003          1365   REPORTER'S TRANSCRIPT of Trial to Jury, Day 3 on April 10, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 460 - 710 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 05/29/2003          1366   REPORTER'S TRANSCRIPT of Trial to Jury, Day 4 on April 11, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 711 - 789 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 05/29/2003          1367   REPORTER'S TRANSCRIPT of Trial to Jury, Day 5 on April 14, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 790 - 1068 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 05/29/2003          1368   REPORTER'S TRANSCRIPT of Trial to Jry, Day 6 on April 15, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 1069 - 1320 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 05/29/2003          1369   REPORTER'S TRANSCRIPT of Trial to Jury, Day 7 on April 16, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 1321 - 1587 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 05/29/2003          1370   REPORTER'S TRANSCRIPT of Trial to Jury, Day 8 on April 17, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 1588 - 1842 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 05/30/2003          1268   ORDER by Judge Wiley Y. Daniel granting motion to join motion for
                            mistrial [1225-1] [1240-1] as to Mike Lavallee, Rod Schultz, Ken
                            Shatto, David Pruyne, Robert Verbickas, Brent Gall, James Bond
                            granting motion to join motion for mistrial [1225-1] [1245-1] denying
                            motion for mistrial [1225-1] (Cert of Mailing) (dlb) (Entered:
                            06/02/2003)
 05/30/2003          1269   ORDER by Judge Wiley Y. Daniel (Cert of Mailing) re: juror fee (dlb)
                            (Entered: 06/02/2003)
 06/02/2003          1270   ORDER by Judge Wiley Y. Daniel granting motion for funds
                            (SUPPRESSED) [1161-1] (Cert of Mailing) (dlb) (Entered:
                            06/03/2003)
 06/02/2003          1271   ORDER by Judge Wiley Y. Daniel granting motion For Payment of
                            support service (Suppressed) [1188-1] (Cert of Mailing) (dlb) (Entered:
                            06/03/2003)
 06/04/2003          1272   ORDER by Judge Wiley Y. Daniel granting motion Payment
                            (SEALED) [1229-1] (Cert of Mailing) (dlb) (Entered: 06/05/2003)
 06/04/2003          1371   REPORTER'S TRANSCRIPT of Trial to Jury, Day 9 on April 18, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 1843 - 1983 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 06/04/2003          1372   REPORTER'S TRANSCRIPT of Trial to Jury, Day 10 on April 21,




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                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 1984 - 2250 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 06/04/2003          1373   REPORTER'S TRANSCRIPT of Trial to Jury, Day 11 on April 22,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 2251 - 2541 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 06/04/2003          1374   REPORTER'S TRANSCRIPT of Trial to Jury, Day 12 on April 23,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 2542 - 2810 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 06/04/2003          1375   REPORTER'S TRANSCRIPT of Trial to Jury, Day 13 on April 24,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 2811 - 3075 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 06/04/2003          1376   REPORTER'S TRANSCRIPT of Trial to Jury, Day 14 on April 28,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 3076 - 3276 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 06/04/2003          1377   REPORTER'S TRANSCRIPT of Trial to Jury, Day 15 on April 29,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 3277 - 3436 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 06/04/2003          1378   REPORTER'S TRANSCRIPT of Trial to Jury, Day 16 on May 1, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 3437 - 3607 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 06/05/2003          1273   REPORTER'S TRANSCRIPT of Excerpt of Trial to Jury, Day 23,
                            Cross and Recross of King; on May 13, 2003 before Wiley Y. Daniel
                            (Re:) Pgs 1 - 58 certified copy Prepared By: Kara Spitler (dlb) (Entered:
                            06/06/2003)
 06/05/2003          1274   REPORTER'S TRANSCRIPT of Excerpt of Trial to Jury, Day 24;
                            Cross and Recross of Harrison; on May 19, 2003 before Wiley Y.
                            Daniel (Re:) Pgs 1 - 54 certified copy Prepared By: Kara Spitler (dlb)
                            (Entered: 06/06/2003)
 06/05/2003          1275   REPORTER'S TRANSCRIPT of Excerpt of Trial to Jury; Day 25,
                            Cross of Pruyne and Chase; on May 20, 2003 before Wiley Y. Daniel
                            (Re:) Pgs 1 - 71 certified copy Prepared By: Kara Spitler (dlb) (Entered:
                            06/06/2003)
 06/05/2003          1276   REPORTER'S TRANSCRIPT of Excerpt of Trial to Jury, Day 29;
                            Cross of Shatto; on May 27, 2003 before Wiley Y. Daniel (Re:) Pgs 1 -
                            37 certified copy Prepared By: Kara Spitler (dlb) (Entered: 06/06/2003)
 06/05/2003          1277   REPORTER'S TRANSCRIPT of Excerpt of Trial to Jury, Day 30; La
                            Vallee Cross; on May 29, 2003 before Wiley Y. Daniel (Re:) Pgs 1 - 90
                            certified copy Prepared By: Kara Spitler (dlb) (Entered: 06/06/2003)
 06/05/2003          1278   REPORTER'S TRANSCRIPT of Excerpt of Trial to Jury, Day 31,
                            MacFarlane's Cross of Ziemann; on May 29, 2003 before Wiley Y.
                            Daniel (Re:) Pgs 1 - 4 certified copy Prepared By: Kara Spitler (dlb)
                            (Entered: 06/06/2003)




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 06/05/2003          1286   TRANSCRIPT of Excerpt of Trial to Jury Day 22 cross and recross of
                            Hines before Judge Daniel on 5/12/03 ( 1-85 pages) Prepared By: Kara
                            Spitler (former empl) (Entered: 06/09/2003)
 06/06/2003          1280   ORDER: approving Final Voucher for Expert other services Number
                            030529/28 of Boston Henry Stanton Jr. for Rod Schultz regarding (dlb)
                            (Entered: 06/06/2003)
 06/06/2003          1379   REPORTER'S TRANSCRIPT of Trial to Jury, Vol 17 on May 2, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 3608 - 3803 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 06/06/2003          1380   REPORTER'S TRANSCRIPT of Trial to Jury, Vol 18 on May 6, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 3804 - 3930 certified copy
                            Prepared By: Janet Morrissey (dlb) (Entered: 07/08/2003)
 06/06/2003          1381   REPORTER'S TRANSCRIPT of Trial to Jury, Vol 19 on May 7, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 3931 - 3991 certified copy
                            Prepared By: Janet Morrissey (dlb) (Entered: 07/08/2003)
 06/06/2003          1382   REPORTER'S TRANSCRIPT of Trial to Jury, Vol 20 on May 8, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 3992 - 4257 certified copy
                            Prepared By: Janet Morrissey (dlb) (Entered: 07/08/2003)
 06/09/2003          1287   MOTION For Payment in Excess (Suppressed) by Rod Schultz (dlb)
                            (Entered: 06/10/2003)
 06/09/2003          1288   COURTROOM MINUTES Time Court Began: 8:32 am Time Court
                            Ended: 5:02 pm OF TRIAL TO JURY (DAY 32) before Judge Wiley
                            Y. Daniel Court Reporter: Kara Spitler (dlb) (Entered: 06/11/2003)
 06/09/2003          1319   JURY Instructions READ TO THE JURY by Mike Lavallee, Rod
                            Schultz, Ken Shatto, David Pruyne, Robert Verbickas, Brent Gall,
                            James Bond, USA (former empl) (Entered: 06/26/2003)
 06/10/2003          1289   COURTROOM MINUTES Time Court Began: 8:35 am Time Court
                            Ended: 5:01 pm OF TRIAL TO JURY (DAY 33) before Judge Wiley
                            Y. Daniel as to Mike Lavallee, Rod Schultz, Ken Shatto, David Pruyne,
                            Robert Verbickas, Brent Gall, James Bond; jury deliberates Court
                            Reporter: Kara Spitler (dlb) (Entered: 06/11/2003)
 06/10/2003          1290   STIPULATION and order regarding custody of exhibits and
                            depositions by Judge Wiley Y. Daniel (dlb) (Entered: 06/11/2003)
 06/11/2003          1291   COURTROOM MINUTES Time Court Began: 8:00 am Time Court
                            Ended: 5:05 pm OF TRIAL TO JURY - DAY 34 before Judge Wiley
                            Y. Daniel; jury arrives to resume deliberations; jury shall return and
                            resume deliberations on 6/12/03 at 8:00; bond cont; Court Reporter:
                            Kara Spitler (dlb) (Entered: 06/12/2003)
 06/12/2003          1292   COURTROOM MINUTES Time Court Began: 8:10 am Time Court
                            Ended: 4:57 pm OF Trial to Jury Day 35 before Judge Y. Daniel; jury
                            returns to resume deliberations; jury to return on 6/13/03 at 8:30 to
                            resume deliberations; bonds continued. Court Reporter: Darlene




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                            Martinez (former empl) (Entered: 06/13/2003)
 06/12/2003          1308   ORDER by Judge Wiley Y. Daniel granting motion For Payment in
                            Excess (Suppressed) [1287-1] (Cert of Mailing) (dlb) (Entered:
                            06/23/2003)
 06/13/2003          1297   COURTROOM MINUTES Time Court Began: 8:27 am Time Court
                            Ended: 4:20 pm OF TRIAL TO JURY (DAY 36) before Judge Wiley
                            Y. Daniel; jury arrives to resume deliberations; jury excused for the
                            evening and shall return Monday 6/16/03 at 8:30; Court Reporter:
                            Darlene Martinez (dlb) (Entered: 06/16/2003)
 06/14/2003          1299   ORDER by Judge Wiley Y. Daniel granting motion For additional
                            Payment in Excess of statutory maximum [1150-1] (SUPPRESSED)
                            (former empl) (Entered: 06/17/2003)
 06/16/2003          1294   RETURN OF SERVICE on writ on 6/12/03 as to Bradley Chapin from
                            Terre Haute USP (dlb) (Entered: 06/16/2003)
 06/16/2003          1295   ORDER: approving 030912/155 Interim Voucher Number 2 of James
                            S. Covino for Rod Schultz regarding (dlb) (Entered: 06/16/2003)
 06/16/2003          1298   COURTROOM MINUTES Time Court Began: 8:45 am Time Court
                            Ended: 2:46 pm OF TRIAL TO JURY (DAY 37); deliberations
                            continued; before Richard P. Matsch for Judge Wiley Y. Daniel Court
                            Reporter: Kara Spitler (dlb) Modified on 06/17/2003 (Entered:
                            06/17/2003)
 06/17/2003          1300   COURTROOM MINUTES Time Court Began: 8:30 Time Court
                            Ended: 3:52 pm OF TRIAL TO JURY DAY 38 jury continues
                            deliberations before Judge Wiley Y. Daniel Court Reporter: Kara
                            Spitler (former empl) (Entered: 06/18/2003)
 06/18/2003          1301   MOTION for order directing USM arrange non-custodial trnasportation
                            to Denver, CO. by Rod Schultz (former empl) (Entered: 06/18/2003)
 06/18/2003          1302   MOTION for order directing USM to arrange non-custodial
                            transportation from Denver to Arizona by Rod Schultz (former empl)
                            (Entered: 06/18/2003)
 06/18/2003          1303   COURTROOM MINUTES Time Court Began: 8:30 am Time Court
                            Ended: 1:35 pm OF JURY DELIBERATIONS DAY 39 before Judge
                            Richard P. Matsch for Judge Daniel; jury note and resposne from Judge
                            Matsch; jury to return on 6/19/03 at 8:30 a.m. Court Reporter: Kara
                            Spitler (former empl) (Entered: 06/19/2003)
 06/19/2003          1306   ORDER by Judge Wiley Y. Daniel granting motion for order directing
                            USM to arrange non-custodial transportation from Denver to Arizona
                            [1302-1] (Cert of Mailing) (former empl) (Entered: 06/20/2003)
 06/19/2003          1307   ORDER by Judge Nottingham for Judge Wiley Y. Daniel granting
                            motion for order directing USM arrange non-custodial trnasportation to
                            Denver, CO. [1301-1] (Cert of Mailing) (former empl) (Entered:
                            06/20/2003)




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 06/19/2003          1309   COURTROOM MINUTES Time Court Began: 8:30 am Time Court
                            Ended: 4:25 pm OF JURY DELIBERATIONS DAY 40 before Judge
                            Matsch for Judge Wiley Y. Daniel; dft Schultz and Verbicka's motion
                            for permission to travel are granted; Court Reporter: Kara Sptiler
                            (former empl) (Entered: 06/23/2003)
 06/20/2003          1310   ORDER by Judge Richard P. Matsch granting motion for order
                            directing USM to arrange non-custodial transportation from Hartford,
                            CT to Denver, CO [1305-1] (Cert of Mailing) (former empl) (Entered:
                            06/23/2003)
 06/20/2003          1311   ORDER by Judge Richard P. Matsch granting motion for order
                            directing USM to arrange non-custodial transportation from Denver,
                            CO to Hartford,CT on 6/20/03 [1304-1] (Cert of Mailing) (former
                            empl) (Entered: 06/23/2003)
 06/20/2003          1312   COURTROOM MINUTES Time Court Began: 8:45 am Time Court
                            Ended: 4:31 pm OF TRIAL TO JURY (DAY 41); jurors arrive to
                            resume deliberations; 4:24 pm court in session; jury not present; court
                            states it has not received any msgs from the jurors today; 4:26 jurors
                            present; court intructs jurors; jurors excused until 6/23/03 at 8:30 am;
                            before Judge Richard P. Matsch Court Reporter: Kara Spitler (dlb)
                            (Entered: 06/23/2003)
 06/23/2003          1313   MOTION for release pending sentencing purs to USC Sec. 3143 by
                            Rod Schultz (dlb) (Entered: 06/23/2003)
 06/23/2003          1314   COURTROOM MINUTES Time Court Began: 8:30 am Time Court
                            Ended: 4:58 pm OF TRIAL TO JURY (DAY 42); jury arrives to
                            resume deliberations; ORDERED: court will allow the jury to submit
                            partial verdicts under seal; counsel shall remain in the courthouse and
                            the jury will be excused at 4:55 pm; dft LaVallee's oral mtn for mistrial
                            is DENIED; jury shall return to resume deliberations on 6/24/03 at 8:30
                            am; bond continued; before Judge Wiley Y. Daniel Court Reporter:
                            Kara Spitler (dlb) (Entered: 06/24/2003)
 06/24/2003          1322   Receipt for exhibits as to Rod Schultz (former empl) (Entered:
                            06/26/2003)
 06/24/2003          1336   COURTROOM MINUTES Time Court Began: 8:30 am Time Court
                            Ended: 4:05 pm OF TRIAL TO JURY DAY 43 before Judge Wiley Y.
                            Daniel Jury has returned their verdicts with the following findings:
                            finding Mike Lavallee (1) count(s) 1, 5s guilty finding Mike Lavallee
                            (1) count(s) 1, 5s guilty finding Mike Lavallee (1) count(s) 2, 8s, 10s
                            not guilty finding Rod Schultz (2) count(s) 1, 5s guilty finding Rod
                            Schultz (2) count(s) 2, 8s not guilty finding guilty finding Ken Shatto
                            (3) count(s) 1, 3s not guilty finding David Pruyne (4) count(s) 1, 6s not
                            guilty finding Robert Verbickas (5) count(s) 4s guilty finding Robert
                            Verbickas (5) count(s) 1, 7s, 10s not guilty finding Brent Gall (6) count
                            (s) 1, 3s not guilty finding James Bond (7) count(s) 1, 8s not guilty
                            Court orders that the following defts are remanded to the custody of the
                            USM: Mike Lavallee, Rod Schultz, Robert Verbickas request by deft




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                            LaValle to join in the motions for release pending sentencing is
                            GRANTED as to the motion to join; Deft Schultz Motion for Release
                            Pending Sentencing filed 6/24/03 is DENIED; Deft Verbickas' Motion
                            for Release Pending Sentencing is DENIED; Court Reporter: Kara
                            Spitler (former empl) (Entered: 06/26/2003)
 06/24/2003          1338   VERDICT as to Rod Schultz (former empl) (Entered: 06/26/2003)
 06/25/2003          1315   MOTION to join motions and arguments after verdicts entered by Rod
                            Schultz (dlb) (Entered: 06/25/2003)
 06/25/2003          1318   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion to
                            join motions and arguments after verdicts entered [1315-1] as to Rod
                            Schultz (dlb) (Entered: 06/26/2003)
 06/25/2003          1348   MINUTE ORDER; before Judge Wiley Y. Daniel ; sentencing hearing
                            set for 8:30 9/11/03 for Mike Lavallee sentencing hearing set for 9:00
                            9/11/03 for Rod Schultz , sentencing hearing set for 9:30 9/11/03 for
                            Robert Verbickas (former empl) (Entered: 06/26/2003)
 06/26/2003          1317   MINUTE ORDER; before Judge Wiley Y. Daniel regarding
                            Vervickas' [1313-1] motion for release pending sentencing purs to USC
                            Sec. 3143, regarding Lavallee and Schultz's [1315-1] motion to join
                            motions and arguments after verdicts entered, regarding Verbickas'
                            Renewed [1316-1] motion for release pending sentencing, the
                            government shall respond by 6/27/03; the to extent the dfts Shultz
                            and/or Lavalee wish to join in Verbickas' mtn they are directed to file
                            such joinder by 6/27/03 motion hearing set for 3:30 7/1/03 for Mike
                            Lavallee, for Rod Schultz, for Robert Verbickas as to Mike Lavallee,
                            Rod Schultz, Robert Verbickas (dlb) (Entered: 06/26/2003)
 06/26/2003          1350   RENEWED MOTION for Release Pending Sentencing and Motion to
                            adopt motions filed by defts Verbickas and Lavalle and for leave to join
                            facts and arguments forwarded by both Verbiacks and Schultz by Rod
                            Schultz (former empl) Modified on 07/16/2003 (Entered: 06/27/2003)
 06/27/2003          1351   Combined RESPONSE by plaintiff USA to motion for reconsideration
                            of court's order detaining dft LaVallee pending sentencing [1349-1],
                            motion for release pending sentencing [1316-1], motion for Release
                            Pending Sentencing [1328-1], motion for release pending sentencing
                            purs to USC Sec. 3143 [1313-1] (dlb) (Entered: 06/30/2003)
 06/30/2003          1352   MOTION to extend time in which to file sentencing statement by USA
                            regarding Mike Lavallee, Rod Schultz, Robert Verbickas (former empl)
                            (Entered: 07/01/2003)
 07/01/2003          1353   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion to
                            extend time in which to file sentencing statement to 7/9/03 [1352-1]
                            (dlb) (Entered: 07/01/2003)
 07/01/2003          1383   REPORTER'S TRANSCRIPT of Trial to Jury, Vol 21 on May 9, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 4258 - 4498 certified copy
                            Prepared By: Janet Morrissey (dlb) (Entered: 07/08/2003)




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 07/01/2003          1384   REPORTER'S TRANSCRIPT of Trial to Jury, Day 22 on May 12,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 4499 - 4801 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1385   REPORTER'S TRANSCRIPT of Trial to Jury, Day 23 on May 13,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 4802 - 5063 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1386   REPORTER'S TRANSCRIPT of Trial to Jury, Day 24 on May 19,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 5064 - 5326 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1387   REPORTER'S TRANSCRIPT of Trial to Jury, Day 25 on May 20,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 5327 - 5643 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1388   REPORTER'S TRANSCRIPT of Trial to Jury, Day 26 on May 21,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 5644 - 5890 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1389   REPORTER'S TRANSCRIPT of Trial to Jury, Day 27 on May 22,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 5891 - 5896 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1390   REPORTER'S TRANSCRIPT of Trial to Jury, Day 28 on May 23,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 5897 - 6047 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1391   REPORTER'S TRANSCRIPT of Trial to Jury, Day 29 on May 27,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 6048 - 6312 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1392   REPORTER'S TRANSCRIPT of Trial to Jury, Day 30 on May 28,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 6313 - 6636 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1393   REPORTER'S TRANSCRIPT of Trial to Jury, Day 31 on May 29,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 6637 - 6867 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1394   REPORTER'S TRANSCRIPT of Trial to Jury, Day 32 on June 9, 2003
                            before Wiley Y. Daniel (Re: [1360-1] ) Pgs 6868 - 7095 certified copy
                            Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1395   REPORTER'S TRANSCRIPT of Trial to Jury, Day 33 on June 10,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 7096 - 7204 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1396   REPORTER'S TRANSCRIPT of Trial to Jury, Day 34 on June 11,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 7205 - 7223 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1397   REPORTER'S TRANSCRIPT of Trial to Jury, Day 37 on June 16,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 7224 - 7231 certified




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                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1398   REPORTER'S TRANSCRIPT of Trial to Jury, Day 38 on June 17,
                            2003 before Richard P. Matsch (Re: [1360-1] ) Pgs 7232 - 7237
                            certified copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1399   REPORTER'S TRANSCRIPT of Trial to Jury, Day 39 on June 18,
                            2003 before richard P. Matsch (Re: [1360-1] ) Pgs 7238 - 7246 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1400   REPORTER'S TRANSCRIPT of Trial to Jury, Day 40 on June 19,
                            2003 before Richard P. Matsch (Re: [1360-1] ) Pgs 7247 - 7254
                            certified copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1401   REPORTER'S TRANSCRIPT of Trial to Jury, Day 41 on June 20,
                            2003 before Richard P. Matsch (Re: [1360-1] ) Pgs 7255 - 7259
                            certified copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1402   REPORTER'S TRANSCRIPT of Trial to Jury, Day 42 on June 23,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 7260 - 7276 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1403   REPORTER'S TRANSCRIPT of Trial to Jury, Day 43 on June 24,
                            2003 before Wiley Y. Daniel (Re: [1360-1] ) Pgs 7277 - 7326 certified
                            copy Prepared By: Kara Spitler (dlb) (Entered: 07/08/2003)
 07/01/2003          1359   COURTROOM MINUTES Time Court Began: 3:35 pm Time Court
                            Ended: 4:52 pm OF MOTIONS HEARING before Judge Wiley Y.
                            Daniel regarding Lavalle's renewed [1349-1] motion for reconsideration
                            of court's order detaining dft LaVallee pending sentencing denying
                            motion for Release Pending Sentencing [1350-1], granting motion
                            Motion to adopt motions filed by defts Verbickas and Lavalle [1350-2]
                            as to Mike Lavallee, Rod Schultz, Robert Verbickas, granting motion
                            for leave to join facts and arguments forwarded by both Verbiacks and
                            Schultz [1350-3] regarding [1328-1] motion for Release Pending
                            Sentencing Court Reporter: Kara Spitler (dlb) (Entered: 07/16/2003)
 07/02/2003          1356   ORDER by Judge Wiley Y. Daniel denying motion for Release
                            Pending Sentencing [1350-1] [1316-1] [1328-1], denying motion for
                            release pending sentencing purs to USC Sec. 3143 [1313-1], denying
                            dft Verbickas' Rrenwed motion for reconsideration of court's order
                            detaining dft LaVallee pending sentencing [1349-1] (Cert of Mailing)
                            (dlb) (Entered: 07/16/2003)
 07/03/2003          1357   MINUTE ORDER; before Judge Wiley Y. Daniel regarding Lavallee's
                            [1354-1] motion for judgment of acquittal notwithstanding the verdict
                            and motion for new trial, gov has to 7/16/03 to file a response, dft shall
                            have to 7/25/03 to file a reply, [1354-2] hrg on pending matters/in-court
                            hearing set for 9:00 9/24/03 for Mike Lavallee, for Rod Schultz, for
                            Ken Shatto, for David Pruyne, for Robert Verbickas, for Brent Gall, for
                            James Bond as to Mike Lavallee, Rod Schultz, Ken Shatto, David
                            Pruyne, Robert Verbickas, Brent Gall, James Bond (dlb) (Entered:
                            07/03/2003)




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 07/03/2003          1358   Supplemental MOTION to join motions and arguments after verdicts
                            entered by Rod Schultz (dlb) (Entered: 07/07/2003)
 07/09/2003          1405   SENTENCING STATEMENT by USA as to dft, Mike Lavallee, Rod
                            Schultz and Robert Verbickas (dlb) (Entered: 07/10/2003)
 07/10/2003          1406   APPEAL NUMBER received from C/A; re: appeal [1360-1] regarding
                            Verbickas; assigned Appeal Number: 03-1301; this is a bail appeal,
                            Fed.R.App.P. 9 and 10th Cir. R.9 must be carefully followed. (msn)
                            (Entered: 07/11/2003)
 07/11/2003          1407   APPEAL Notice to C/A by Rod Schultz re: order [1356-1]; IN FORMA
                            PAUPERIS; transcript order form deadline 7/24/03; (cc: all counsel)
                            (msn) (Entered: 07/14/2003)
 07/14/2003          1408   REPORTER'S TRANSCRIPT of Motions Hearing on July 1, 2003
                            before Wiley Y. Daniel (Re:) Pgs 1 - 51 certified copy Prepared By:
                            Kara Spitler (dlb) (Entered: 07/14/2003)
 07/15/2003          1409   ORDER: approving Final Voucher for Expert other services Number
                            0306251/36 for Rod Schultz regarding (dlb) (Entered: 07/15/2003)
 07/15/2003          1411   ORDER: approving 030511/125 Interim Voucher Number 1 of James
                            S. Covino for Rod Schultz regarding (dlb) (Entered: 07/15/2003)
 07/15/2003          1413   APPEAL NUMBER received from C/A; re: appeal [1407-1] regarding
                            Schultz; assigned Appeal Number: 03-1310 (msn) (Entered:
                            07/16/2003)
 07/16/2003          1414   APPEAL Letter to C/A regarding corrected docket sheet; mailed to all
                            counsel w/copy of corrected docket sheet; re: appeal [1412-1] (msn)
                            (Entered: 07/16/2003)
 07/16/2003          1416   APPEAL NUMBER received from C/A appeal [1412-1] regarding
                            Michael Lavallee; assigned Appeal Number: 03-1314 (msn) (Entered:
                            07/17/2003)
 07/22/2003          1417   MINUTE ORDER; before Judge Wiley Y. Daniel regarding Rod
                            Schultz's [1358-1] motion to join motions and arguments after verdicts
                            entered; on or before 7/28/03 dft file a supplement stating precisely
                            which mtns he wishes to join (dlb) (Entered: 07/23/2003)
 07/23/2003          1418   MINUTE ORDER; before Judge Wiley Y. Daniel ; sentencing hearing
                            set for 8:30 9/11/03 for Mike Lavallee as to Mike Lavallee , ;
                            sentencing hearing set for 9:45 9/11/03 for Rod Schultz as to Rod
                            Schultz , ; sentencing hearing set for 11:00 9/11/03 for Robert
                            Verbickas as to Robert Verbickas (dlb) (Entered: 07/24/2003)
 07/25/2003          1419   MOTION for leave to supplement motion filed 7/3/03 by Rod Schultz
                            (dlb) (Entered: 07/28/2003)
 07/25/2003          1420   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion to
                            join motions and arguments after verdicts entered [1358-1] [1354-1]
                            motion for judgment of acquittal notwithstanding the verdict, regarding




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                            [1354-2] motion for new trial (dlb) (Entered: 07/28/2003)
 07/29/2003          1427   ORDER by Judge Wiley Y. Daniel granting motion for auhoritzation of
                            interim payment of investigator and for pmt of add'l fees in excess
                            (SUPPRESSED) [1404-1] (Cert of Mailing) (dlb) (Entered:
                            08/06/2003)
 07/30/2003          1426   ORDER by Judge Wiley Y. Daniel granting motion For Payment in
                            Excess (Suppressed) [1421-1] (Cert of Mailing) (dlb) (Entered:
                            08/05/2003)
 08/08/2003          1428   LETTER to court re: PSI as to Robert Verbicks (dlb) (Entered:
                            08/11/2003)
 08/08/2003          1429   LETTER to court re: PSI as to dft Mike Lavalle (dlb) (Entered:
                            08/11/2003)
 08/08/2003          1430   LETTER to court re: PSI as to Rod Schultz (dlb) (Entered: 08/11/2003)
 08/11/2003          1431   ORDER: approving Final Voucher for Expert other services Number
                            030729/26 of James S. Covino for Rod Schultz regarding (former empl)
                            (Entered: 08/11/2003)
 08/26/2003          1442   MINUTE ORDER; before Judge Wiley Y. Daniel regarding dft
                            Verbickas' [1439-1] supplement regarding [1328-1] dft's motion for
                            Release Pending Sentencing, gov is to respond and explain why dft has
                            not received the medications noted in the supplement by 9/8/03; (dlb)
                            (Entered: 08/28/2003)
 08/27/2003          1441   ORDER by Judge Wiley Y. Daniel granting motion to issue subpoena
                            (SUPPRESSED) [1440-1] (Cert of Mailing) (former empl) (Entered:
                            08/28/2003)
 08/28/2003          1445   ORDER by Judge Wiley Y. Daniel granting motion for Issuance of
                            Subpoenas in Forma Pauperis (SUPPRESSED) [1443-1] (Cert of
                            Mailing) (former empl) (Entered: 08/28/2003)
 09/04/2003          1448   CERTIFICATE of mailing from probatio that the addendum to the PSI
                            was mailed re: Robert Verbickas (former empl) (Entered: 09/04/2003)
 09/04/2003          1449   CERTIFICATE of mailing from probation that the addendum t the PSI
                            ws mailed re: Mike Lavalle (former empl) (Entered: 09/04/2003)
 09/04/2003          1450   CERTIFICATE of mailing from probation that the addednumto the PSI
                            was mailed re: Rod Schultz (former empl) (Entered: 09/04/2003)
 09/08/2003          1452   MOTION to join motion to continue sentencing hearing [1446-1] by
                            Rod Schultz (dlb) (Entered: 09/08/2003)
 09/08/2003          1455   RESPONSE by plaintiff USA to dft Verbickas' supplemental motion
                            for Release Pending Sentencing [1328-1] regarding [1328-1] (dlb)
                            (Entered: 09/09/2003)
 09/09/2003          1454   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion to
                            continue sentencing hearing [1446-1] granting motion to join motion to




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                            continue sentencing hearing [1446-1] [1452-1] as to Mike Lavallee,
                            Rod Schultz, Ken Shatto, David Pruyne, Robert Verbickas, Brent Gall,
                            James Bond sentencing hearing VACTED on 9/9/03 ; motion/in-court
                            hearing reset for 1:30 10/6/03; the sentencing hrgs will be reset at the
                            hrg on pending motions (dlb) (Entered: 09/09/2003)
 09/12/2003          1459   MINUTE ORDER; before Judge Wiley Y. Daniel denying motion to
                            set sentencing hearing [1456-1] within seven days (dlb) (Entered:
                            09/15/2003)
 09/17/2003          1460   MOTION to continue 10/6/03 hrg by USA regarding Mike Lavallee,
                            Rod Schultz, Robert Verbickas (dlb) (Entered: 09/18/2003)
 09/18/2003          1462   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion to
                            continue 10/6/03 hrg [1460-1] post-motions hearing set for 9:30
                            11/21/03 ; sentencing hearing set for immediately following post-
                            motions hearing (9:30 11/21/03) for Mike Lavallee, for Rod Schultz,
                            for Robert Verbickas as to Mike Lavallee, Rod Schultz, Robert
                            Verbickas (dlb) (Entered: 09/19/2003)
 09/26/2003          1463   APPEAL Mandate from C/A affirming the decision of the District
                            Court on appeal [1407-1] as to Rod Schultz (cc: all counsel) (msn)
                            (Entered: 09/29/2003)
 10/06/2003          1467   ORDER by Judge Wiley Y. Daniel denying Verbicka's renewed motion
                            To Set Sentencing Hearing [1466-1] (Cert of Mailing) (former empl)
                            (Entered: 10/07/2003)
 10/24/2003          1469   ORDER Continuing Subpoenas by Judge Wiley Y. Daniel; the
                            subpoenas previously issued are cont. as to Robert Verbickas
                            sentencing hrg. to 11/21/03 at 9:30 (Cert of Mailing) (ecm) (Entered:
                            10/28/2003)
 11/17/2003          1472   MOTION To Supplement Record for Sentencing by Rod Schultz (ecm)
                            (Entered: 11/18/2003)
 11/18/2003          1474   RESPONSE by USA to Supplement to Motion for Downward
                            Departure [1470-1] (ecm) (Entered: 11/19/2003)
 11/18/2003          1478   ORDER by Judge Wiley Y. Daniel GRANTING Michael LaVallee's
                            Motion For Issuance of Subpoenas in Forma Pauperis (SUPPRESSED)
                            [1473-1] (Cert of Mailing) (ecm) (Entered: 11/20/2003)
 11/19/2003          1475   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion To
                            Supplement Record for Sentencing [1472-1] (former empl) (Entered:
                            11/20/2003)
 11/19/2003          1477   CERTIFICATE of mailing from probation that the second addendum to
                            the PSI was mailed re: Rod Schultz (former empl) (Entered:
                            11/20/2003)
 11/19/2003          1483   ORDER by Judge Wiley Y. Daniel GRANTING Brian Holland's final
                            cja form 20 [1482-1] re Robert Verbickas (ecm) (Entered: 12/02/2003)




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 11/21/2003          1479   COURTROOM MINUTES OF HEARING ON PENDING MOTIONS
                            AND SENTENCING Time Court Began: 9:34 am Time Court Ended:
                            5:45 pm before Judge Wiley Y. Daniel; ORDER: DENYING
                            LaVallee's motion for judgment of acquittal notwithstanding the verdict
                            [1354-1]; DENYING LaVallee's motion for new trial [1354-2];
                            GRANTING in PART and DENYING in PART Verbickas' Motion For
                            Downward Departure [1447-1]; GRANTING in PART and DENYING
                            in PART LaValle's Motion Downward Departure [1476-1];
                            SENTENCING Robert Verbickas on ct. 4; deft shall be impr. for 30
                            mos.; Court Recommends that the BOP place the deft at an appropriate
                            level facility in FCI, Otisville, NY or FMC Devins, MA; the BOP shall
                            conduct an immediate independent medical exam of deft to determine
                            what medical needs are concerning his migraine headaches and his knee
                            and to prescriptions for the two narcotic drugs that have not been given
                            to him while he's been in presentence deten.; 2 yrs. sup. rel.; $100 to
                            CVF due immediately; SENTENCING Mike Lavallee on cts. 1 and 5;
                            deft shall be impr. for 41 mos; Court Recommends that the BOP place
                            the deft at the appropriate level facility in Englewood, CO or
                            appropriate level facility in Florence, CO; 2 yrs. sup. rel.; $200 to CVF
                            due immediately; SENTENCING Rod Schultz on cts. 1 & 5; deft shall
                            be impr. for 41 mos.; Court Recommends the BOP place the deft at the
                            appropriate level facility in Safford, AZ; 2 yrs. sup. rel.; $200 to CVF
                            due immediately; defts remanded; all exhibits are returned to counsel at
                            the conclusion of the hrg.; case terminated, Court Reporter: Kara Spitler
                            (ecm) (Entered: 11/28/2003)
 12/03/2003          1484   JUDGMENT and Commitment signed as to Rod Schultz by Judge
                            Wiley Y. Daniel; eod 12/4/03 (copies distrib) (ecm) (Entered:
                            12/04/2003)
 12/10/2003          1489   APPEAL NUMBER received from C/A; re: appeal [1487-1] ( Appeal
                            Number: 03-1515) (msn) (Entered: 12/12/2003)
 12/12/2003          1490   MINUTE ORDER; before Magistrate Judge O. E. Schlatter ; deft's
                            Motion for Release Pending Appeal filed 12/12/03 is set for hearing for
                            10:00 12/19/03 for Rod Schultz (former empl) (Entered: 12/15/2003)
 12/12/2003          1492   APPEAL Notice to C/A by Rod Schultz re: judgment [1484-1]; DEFT
                            IFP; transcript order form deadline 12/22/03; (cc: all counsel) (msn)
                            (Entered: 12/15/2003)
 12/12/2003          1493   MOTION to appeal in forma pauperis by Rod Schultz (msn) (Entered:
                            12/15/2003)
 12/12/2003          1494   MOTION to join motion for release pending appeal [1486-1] by Rod
                            Schultz (former empl) (Entered: 12/16/2003)
 12/12/2003          1495   MOTION for Release Pending Appeal by Rod Schultz (former empl)
                            (Entered: 12/16/2003)
 12/16/2003          1497   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion to
                            join motion for release pending appeal [1486-1] as to Rod Schultz
                            (former empl) (Entered: 12/18/2003)




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 12/17/2003          1496   MINUTE ORDER before Judge Wiley Y. Daniel the motion to appeal
                            in forma pauperis [1493-1] by Rod Schultz is DENIED as MOOT
                            (ecm) (Entered: 12/18/2003)
 12/17/2003          1498   TRANSCRIPT of Sentencing before Judge Daniel on 11/21/03 ( 1-240
                            pages) Prepared By: Kara Spitler (former empl) (Entered: 12/18/2003)
 12/22/2003          1499   RESPONSE by USA motion for release pending appeal [1486-1]
                            regarding [1486-1] (former empl) (Entered: 12/23/2003)
 12/22/2003          1501   APPEAL Designation of Record requested by Rod Schultz re: appeal
                            [1492-1] regarding [1492-1] (gms) (Entered: 12/23/2003)
 12/22/2003          1505   APPEAL Transcript Designation by defendant/appellant Rod Schultz.
                            Transcripts of trial 4/7/03 - 6/24/03, jury instructions on 6/9/03, post
                            trial motions on 7/1/03, closing arguments on 6/9 and 10/03 and the
                            following other proceedings ordered: 5/21-23/02, 8/22-23/02, 12/17-
                            18/02 and 2/14/03. appeal [1492-1] regarding [1492-1] (gms) (Entered:
                            12/23/2003)
 12/23/2003          1502   APPEAL NUMBER received from C/A appeal [1492-1] regarding
                            [1492-1] ( Appeal Number: 03-1523) (gms) (Entered: 12/23/2003)
 12/23/2003          1503   APPEAL NUMBER received from C/A appeal [1491-1] regarding
                            [1491-1] ( Appeal Number: 03-1522) (gms) (Entered: 12/23/2003)
 12/29/2003          1508   APPEAL Transcript Order Form (TOF) by court reporter Kara Spitler;
                            est completion date: already on file; as to Rod Schultz; re: appeal
                            [1492-1] (msn) (Entered: 12/30/2003)
 12/31/2003          1509   APPEAL Notice to C/A by USA re: judgment [1485-1] regarding Mike
                            Lavallee , judgment [1484-1] regarding Rod Schultz and judgment
                            [1481-1] regarding Robert Verbickas; FEES N/A; Transcript Order
                            Form deadline 1/12/03; (cc: all counsel) (msn) (Entered: 01/02/2004)
 01/08/2004          1510   ORDER: approving Final Voucher for Expert other services Number
                            031202-78 of James S. Covino for Rod Schultz regarding (former
                            empl) (Entered: 01/08/2004)
 01/08/2004          1511   APPEAL NUMBER received from C/A; re: appeal [1509-1] ( Appeal
                            Number: 04-1000) (msn) (Entered: 01/12/2004)
 01/12/2004          1513   APPEAL Transcript Designation by USA; TOF filed states...the
                            necessary transcript is already on file; re: appeal [1509-1] (msn)
                            (Entered: 01/13/2004)
 01/27/2004          1516   JUDGMENT and Commitment returned executed on 1/15/04 as to Rod
                            Schultz (klt) (Entered: 01/27/2004)
 02/11/2004          1519   NOTICE of address change by attorney Boston Stanton for deft Rod
                            Schultz (former empl) (Entered: 02/12/2004)
 02/20/2004          1520   RECEIPT OF ROA Volume Numbers I-LXXXIX; Vols. I - VI original
                            pleadings; Vol. VII original sealed documents; Vols. VIII - LXXXIX
                            original transcripts; re: appeals [1487-1], [1491-1] and [1492-1] (msn)




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                            (Entered: 02/20/2004)
 02/23/2004          1526   ORDER by Judge Wiley Y. Daniel GRANTING final cja form 20
                            [1525-1] of Thomas Hammond for Michael Lavallee (ecm) (Entered:
                            03/17/2004)
 03/01/2004          1527   ORDER: approving Final Voucher Number 040308/128 of Boston
                            Henry Stanton Jr. for Rod Schultz (covers 3 years) (ecm) (Entered:
                            03/17/2004)
 03/01/2004          1528   ORDER by Judge Wiley Y. Daniel GRANTING Boston Stanton's final
                            cja form 20 [1527-1] re Rod Schultz (ecm) (Entered: 03/17/2004)
 03/08/2004          1522   MINUTE ORDER; before Judge Wiley Y. Daniel regarding [1521-1]
                            motion for order for release pending appeal ; govt and probation dept
                            shall respond by 3/22/04 5:00 pm (former empl) (Entered: 03/09/2004)
 03/12/2004          1524   ORDER: approving 3 Interim Voucher Number 031218/124 of James
                            S. Covino for Rod Schultz regarding (former empl) (Entered:
                            03/12/2004)
 03/15/2004          1529   MOTION For Payment in Excess (Suppressed) by witness Roger
                            Procter by Sally Wheeler (ecm) (Entered: 03/17/2004)
 03/19/2004          1530   MOTION for additional time in whch to respond to Lavalle's motion
                            for bond pending appeal by USA regarding Mike Lavallee, Rod
                            Schultz, Robert Verbickas (former empl) (Entered: 03/22/2004)
 03/19/2004          1531   MINUTE ORDER; before Judge Wiley Y. Daniel granting motion for
                            additional time in whch to respond to Lavalle's motion for bond
                            pending appeal [1530-1]; govt to respond by 3/26/04. (former empl)
                            (Entered: 03/22/2004)
 03/26/2004          1532   RESPONSE by USA motion for order for release pending appeal
                            [1521-1] regarding [1521-1] (former empl) (Entered: 03/29/2004)
 03/30/2004          1533   MOTION For Payment in Excess - Expert (Suppressed) by Rod Schultz
                            (ecm) (Entered: 04/01/2004)
 04/15/2004          1535   ORDER: approving Final Voucher Number 040428/211 for Sally
                            Wheeler; regarding witness Roger Procter (SUPPRESSED) (ecm)
                            (Entered: 05/11/2004)
 04/15/2004          1536   ORDER by Judge Wiley Y. Daniel GRANTING witness Roger
                            Procter's Motion For Payment in Excess (Suppressed) [1529-1] (ecm)
                            (Entered: 05/11/2004)
 05/06/2004          1534   ORDER by Judge Wiley Y. Daniel; DENYING Verbickas' Motion for
                            release pending appeal [1486-1]; DENYING Rod Schultz' Motion for
                            Release Pending Appeal [1495-1]; DENYING Verbickas' Supplemental
                            Motion [1512-1]; DENYING motion to join motion for release pending
                            appeal [1486-1] [1514-1]; DENYING Motion to join motion for release
                            pending appeal [1486-1] [1494-1]; DENYING motion for order for
                            release pending appeal [1521-1] (Cert of Mailing) (ecm) (Entered:




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                            05/07/2004)
 06/14/2004          1537   MOTION for new trial based on newly discovered evidence by Rod
                            Schultz (nmb) (Entered: 06/15/2004)
 06/14/2004          1538   BRIEF by Rod Schultz in support of motion for new trial based on
                            newly discovered evidence [1537-1] (nmb) (Entered: 06/16/2004)
 06/15/2004          1539   MINUTE ORDER; before Judge Wiley Y. Daniel ; govt shall respond
                            to defendant Rod Schultz's Motion for New Trial by 6/30/04 (nmb)
                            (Entered: 06/16/2004)
 06/17/2004          1540   MOTION to withdraw by Rod Schultz (nmb) (Entered: 06/18/2004)
 06/21/2004          1541   MINUTE ORDER before Magistrate Judge Boyd N. Boland; regarding
                            [1540-1] motion to withdraw, a hearing set for 2:00 6/28/04 for Rod
                            Schultz (ecm) (Entered: 06/23/2004)
 06/22/2004          1542   APPEAL Order from C/A; this appeal is certified as extended or
                            complex and the statutory maximum under the CJA is waived;
                            counsel's request to incur professional expense for a legal research
                            assistant is approved, although we decline to authorize a specific
                            amount for those services in advance. (msn) (Entered: 06/24/2004)
 06/24/2004          1543   MOTION For Extension of Time to Respond to Deft's Motion for a
                            New Trial Based Upon Newly Discovered Evidence by USA regarding
                            Rod Schultz (ecm) (Entered: 06/28/2004)
 06/25/2004          1544   OBJECTION by Rod Schultz to Motion For Extension of Time to
                            Respond to Deft's Motion for a New Trial Based Upon Newly
                            Discovered Evidence [1543-1] (ecm) (Entered: 06/28/2004)
 06/28/2004          1545   MOTION To Withdraw by Rod Schultz (ecm) (Entered: 06/29/2004)
 06/28/2004          1546   MINUTE ORDER before Judge Wiley Y. Daniel; GRANTING Motion
                            For Extension of Time to Respond to Deft's Motion for a New Trial
                            Based Upon Newly Discovered Evidence [1543-1] to/including 7/21/04
                            (ecm) (Entered: 06/29/2004)
 07/07/2004          1549   MINUTE ORDER; before Judge Wiley Y. Daniel regarding [1547-1]
                            motion For Release Pending Appeal (Blakely v. Washington) ; govt
                            shall respond by 7/26/04 ; deft may reply by 8/4/04 (nmb) (Entered:
                            07/08/2004)
 07/09/2004          1550   COURTROOM MINUTES OF MOTION TO WITHDRAW Time
                            Court Began: 2:43 Time Court Ended: 3:02 before Magistrate Judge
                            Craig B. Shaffer; deft Rod Schultz present w/counsel; ORDER:
                            GRANTING Motion to withdraw [1540-1] withdrawing Mr. Covino;
                            Mr. MacFarlane states that he has been retained on the motion for new
                            trial; Court Reporter: FTR CBS PM (ecm) (Entered: 07/13/2004)
 07/12/2004          1551   ORDER by Judge Wiley Y. Daniel GRANTING Robert Verbickas'
                            Motion For Appointment of Counsel (SUPPRESSED) [1548-1];
                            appointing Attorney Brian K. Holland (Cert of Mailing) (ecm)




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                            (Entered: 07/20/2004)
 07/21/2004          1552   RESPONSE by USA to motion for new trial based on newly discovered
                            evidence [1537-1] (ecm) (Entered: 07/22/2004)
 07/22/2004          1554   MINUTE ORDER; before Judge Wiley Y. Daniel regarding [1547-1]
                            motion For Release Pending Appeal (Blakely v. Washington),
                            regarding [1537-1]; motion for new trial based on newly discovered
                            evidence ; 2-hr hearing set for 10:00 10/4/04 as to Rod Schultz, Robert
                            Verbickas (nmb) (Entered: 07/26/2004)
 07/23/2004          1555   MINUTE ORDER; before Judge Wiley Y. Daniel granting to the extent
                            it seeks to join motion to join deft Verbickas' motion For Release
                            Pending Appeal (Blakely v. Washington) [1547-1] [1553-1] as to Mike
                            Lavallee ; hearing set for 10:00 10/4/04 as to Mike Lavallee, Rod
                            Schultz, Robert Verbickas (nmb) (Entered: 07/26/2004)
 07/27/2004          1557   MOTION To Join Verbickis' Motion For Release Pending Appeal
                            (Blakely v. Washington) [1547-1] by Rod Schultz (ecm) (Entered:
                            07/29/2004)
 07/29/2004          1558   MINUTE ORDER before Judge Wiley Y. Daniel; Rod Schultz' Motion
                            For Payment in Excess - Expert (Suppressed) [1533-1] is DENIED as
                            MOOT (ecm) (Entered: 07/30/2004)
 07/29/2004          1559   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                            To Join Verbickis' Motion For Release Pending Appeal (Blakely v.
                            Washington) [1547-1] [1557-1] as to Rod Schultz; regarding [1537-1]
                            motion for new trial based on newly discovered evidence, a hearing is
                            set for 10:00 10/4/04 for Mike Lavallee, Rod Schultz and Robert
                            Verbickas (ecm) (Entered: 07/30/2004)
 07/30/2004          1560   APPEAL Order from C/A dated 7/30/04 allowing Boston Stanton to
                            w/d as counsel for Rod Schultz and appointing Neil MacFarlane as his
                            appointed counsel under CJA. (gms) (Entered: 08/02/2004)
 09/07/2004          1562   MOTION For Order For Payment of CJA Fees Out of Time and
                            Statement of Good Cause by Rod Schultz (ecm) (Entered: 09/10/2004)
 09/10/2004          1563   MOTION for order directing govt to produce videotape , or in the
                            alternative, to allow defense access to records concerning videotapes
                            and storage of such videotapes by Rod Schultz (nmb) (Entered:
                            09/14/2004)
 09/14/2004          1564   AMENDED MOTION For New Trial Based on Newly Discovered
                            Evidence by Rod Schultz (ecm) Modified on 09/17/2004 (Entered:
                            09/17/2004)
 09/14/2004          1565   Text not available. (Entered: 09/17/2004)
 09/14/2004          1565   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall
                            respond to deft Rod Schultz' [1563-1] motion for order directing govt to
                            produce videotape by 9/24/04; regarding Verbickas' [1547-1] Motion
                            For Release Pending Appeal (Blakely v. Washington), and




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                            Schultz' [1537-1] Motion for new trial based on newly discovered
                            evidence, a hearing is set for 10:00 10/4/04 for Mike Lavallee, for Rod
                            Schultz, for Robert Verbickas (ecm) (Entered: 09/17/2004)
 09/16/2004          1566   MINUTE ORDER before Judge Wiley Y. Daniel; the govt shall
                            respond to Schultz' [1564-1] Amended Motion For New Trial Based on
                            Newly Discovered Evidence by 9/23/04 (ecm) (Entered: 09/17/2004)
 09/22/2004          1567   RESPONSE by USA to Rod Schultz' Amended Motion For New Trial
                            Based on Newly Discovered Evidence [1564-1] (ecm) (Entered:
                            09/23/2004)
 09/22/2004          1569   MOTION For Waiver of Appearance at October 4, 2004 Hearing by
                            Rod Schultz (ecm) (Entered: 09/24/2004)
 09/24/2004          1570   MOTION For Additional Time in Which to Respond to Deft Rod
                            Schultz Motion For Order Directing the Govt to Produce Video Tape,
                            or in the Alternative, To Allow Defense Access to Records by USA
                            regarding Mike Lavallee, Rod Schultz, Robert Verbickas (ecm)
                            (Entered: 09/27/2004)
 09/28/2004          1572   MOTION For Ruling on Defense Motion Filed September 10, 2004 by
                            Rod Schultz (ecm) (Entered: 09/29/2004)
 09/29/2004          1574   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING govt's
                            Motion For Additional Time in Which to Respond to Deft Rod Schultz
                            Motion For Order Directing the Govt to Produce Video Tape, or in the
                            Alternative, To Allow Defense Access to Records [1570-1] to 9/29/04
                            (ecm) (Entered: 09/30/2004)
 09/29/2004          1575   ORDER by Judge Wiley Y. Daniel; Verbickas [1547-1] Motion For
                            Release Pending Appeal (Blakely v. Washington) is DEFERRED; the
                            hearing is reset to 9:00 10/4/04 for Mike Lavallee, for Rod Schultz, for
                            Robert Verbickas (Cert of Mailing) (ecm) (Entered: 09/30/2004)
 09/29/2004          1576   RESPONSE by USA to motion for order directing govt to produce
                            videotape [1563-1] (ecm) (Entered: 09/30/2004)
 09/29/2004          1582   ORDER: approving Final Voucher Number 0401008/26 of James S.
                            Covino for Rod Schultz (SUPPRESSED) (ecm) (Entered: 10/12/2004)
 09/29/2004          1583   ORDER by Judge Wiley Y. Daniel GRANTING Rod Schultz' Motion
                            For Order For Payment of CJA Fees Out of Time and Statement of
                            Good Cause [1562-1] (Cert of Mailing) (ecm) (Entered: 10/12/2004)
 09/30/2004          1577   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING
                            LaValee's Motion To Waive Defts Appearance For October 4, 2004
                            Hearing [1571-1], GRANTING Verbickas' Motion For Waiver of
                            Appearance of Defendant at October 4, 2004 Hearing [1568-1];
                            GRANTING Schultz' Motion For Waiver of Appearance at October 4,
                            2004 Hearing [1569-1] (ecm) (Entered: 10/01/2004)
 10/04/2004          1580   COURTROOM MINUTES OF HEARING ON POST-TRIAL
                            MOTIONS Time Court Began: 9:09 Time Court Ended: 12:55 before




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                            Judge Wiley Y. Daniel; defts Mike LaVallee, Rod Schultz and Robert
                            Verbickas present w/counsel; ORDER: granting LaVallee's Motion for
                            Re-Appointment of Counsel (SUPPRESSED) [1578-1]; Mr. Hammond
                            shall contact Nancy Rutledge to get info re renewed CJA appt.;
                            Verbickas [1547-1] Motion For Release Pending Appeal (Blakely v.
                            Washington) is DEFERRED; the Motion For Ruling on Defense
                            Motion Filed September 10, 2004 [1572-1] is DENIED as MOOT;
                            DENYING motion for order directing govt to produce videotape [1563-
                            1]; GRANTING motion to allow defense access to records concerning
                            videotapes and storage of such videotapes [1563-2]; govt shall file an
                            affidavit re efforts to find the videotapes requested by defts and
                            outlining efforts which resulted in the discov. of the 4/6/96 videotape
                            by 10/25/04; witnesses; exhibits; deft Schultz shall file a memo as
                            outlined by 10/15/04 related to the third element for a new trial whether
                            the evidence is merely impeaching; govt shall respond to defts memo
                            by 10/25/04; this hrg. will be cont. at a later date; Court Reporter: Kara
                            Spitler (ecm) (Entered: 10/06/2004)
 10/06/2004          1581   ORDER by Judge Wiley Y. Daniel; the court will DEFER ruling on
                            deft Verbickas [1547-1] Motion For Release Pending Appeal (Blakely
                            v. Washington) until the Supreme Court has ruled on related issues;
                            Schultz Motion For Ruling on Defense Motion Filed September 10,
                            2004 [1572-1] is DENIED as MOOT; GRANTING Schultz' motion for
                            order directing govt to produce videotape [1563-1]; DENYING w/o
                            PREJ Schultz' motion to allow defense access to records concerning
                            videotapes and storage of such videotapes [1563-2]; deft Schultz [1564-
                            1] Amended Motion For New Trial Based on Newly Discovered
                            Evidence, and [1537-1] motion for new trial based on newly discovered
                            evidence are CONT. to 11/12/04 at 9:30; GRANTING LaVallee's
                            Motion To Join Motion For New Trial Based on Newly Discovered
                            Evidence [1564-1] [1579-1] as to Mike Lavallee; ORDER: if defts
                            Lavallee or Verbickas wishes to join in deft Schultz Motion for New
                            Trial, a pleading join in such motion shall be filed by 10/25/04 (Cert of
                            Mailing) (ecm) (Entered: 10/07/2004)
 10/12/2004          1584   MOTION For Continuance of November 12, 2004 Hearing by USA
                            regarding Rod Schultz (ecm) (Entered: 10/13/2004)
 10/13/2004          1585   MINUTE ORDER before Judge Wiley Y. Daniel GRANTING Motion
                            For Continuance of November 12, 2004 Hearing [1584-1]; regarding
                            [1564-1] Motion For New Trial Based on Newly Discovered Evidence,
                            the hearing is reset to 9:30 12/6/04 for Mike Lavallee, Rod Schultz and
                            Robert Verbickas (ecm) (Entered: 10/14/2004)
 10/13/2004          1586   TRANSCRIPT of Hearing on Pending Motions of Mike LaVallee, Rod
                            Schultz and Robert Verbickas dated 10/4/04; copy; (116 pages)
                            Prepared By: Kara Spitler (ecm) (Entered: 10/15/2004)
 10/15/2004          1587   Supplemental BRIEF on Motion for New Trial by Rod Schultz (nmb)
                            (Entered: 10/18/2004)
 10/19/2004          1588   Copy of ORDER from Court of Appeals directing USDC to supplement




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                            the record [1509-1], [1492-1], [1491-1], [1487-1] (djs) (Entered:
                            10/20/2004)
 10/22/2004          1591   RECORD on appeal, consisting of supplemental volumes I-IV appeal
                            [1509-1], appeal [1492-1], appeal [1491-1], appeal [1487-1] transmitted
                            to the Court of Appeals. (djs) (Entered: 10/25/2004)
 10/25/2004          1592   MOTION To Reconsider Order Requiring Testimony From Prosecutors
                            by USA regarding Rod Schultz (ecm) (Entered: 10/26/2004)
 10/25/2004          1593   MOTION To File Ordered Affidavits Concerning Defendant Schultz'
                            Motion for New Trial by USA regarding Rod Schultz (ecm) (Entered:
                            10/26/2004)
 10/25/2004          1594   SUPPLEMENTAL RESPONSE by USA to Schultz' Motion For New
                            Trial Based on Newly Discovered Evidence [1564-1] (ecm) (Entered:
                            10/26/2004)
 10/26/2004          1596   MINUTE ORDER before Judge Wiley Y. Daniel; govt shall respond to
                            deft Verbickas' [1547-1] Motion For Release Pending Appeal (Blakely
                            v. Washington) by 11/2/04 (ecm) (Entered: 10/27/2004)
 11/02/2004          1599   NOTICE OF ATTORNEY APPEARANCE Barbara Kay Bosserman
                            appearing for USA. (ecm, ) (Entered: 11/04/2004)
 11/10/2004          1600   MOTION For Appointment Under CJA or in the Alternative, For Leave
                            to Withdraw by Neil MacFarlane re Rod Schultz. (ecm, ) (Entered:
                            11/16/2004)
 11/12/2004          1601   MEMORANDUM referring 1600 MOTION to Appoint CJA Counsel
                            filed by Rod Schultz to Magistrate Judge Boyd N. Boland by Judge
                            Wiley Y. Daniel on 11/12/04. (ecm, ) (Entered: 11/18/2004)
 11/15/2004          1602   MOTION for Extension of Time to Respond to Govt Motion by Rod
                            Schultz. (ecm, ) (Entered: 11/19/2004)
 11/15/2004          1603   RESPONSE to Motion by Rod Schultz to 1592 Motion for
                            Reconsideration of Order Directing Prosecutor's to Appear and Be
                            Questioned (ecm, ) (Entered: 11/19/2004)
 11/16/2004          1604   ORDER; GRANTING 1602 Motion for Extension of Time to Respond
                            as to Rod Schultz (2) to/including 11/15/04. Signed by Judge Wiley Y.
                            Daniel on 11/15/04. (ecm, ) (Entered: 11/22/2004)
 11/17/2004          1605   MINUTE ORDER; GRANTING 1600 Motion to Appoint CJA Counsel
                            Neil E. MacFarlane appointedfor Rod Schultz by Magistrate Judge
                            Craig B Shaffer on 11/17/04. (ecm, ) (Entered: 11/22/2004)
 11/17/2004          1606   CJA 20 : Appointment of Attorney Neil E. MacFarlane for Rod
                            Schultz . Signed by Magistrate Judge Craig B Shaffer on 11/17/04.
                            (ecm, ) (Entered: 11/24/2004)
 11/22/2004          1607   RESPONSE to the Govt's Submission of Declarations Concerning
                            Searches for the April 5, 1996 Videotape and Change Discovery of the
                            April 6, 1996 Videotape by Rod Schultz (ecm, ) (Entered: 11/30/2004)




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 12/04/2004                 TEXT ENTRY ONLY; Defendant has filed a Notice of appeal;
                            terminating 1592 Motion for Reconsideration as to Rod Schultz (2)
                            (ecm, ) (Entered: 10/06/2005)
 12/06/2004          1611   Minute Entry for Post-Trial Motions Hearing before Judge Wiley Y.
                            Daniel : as to Mike Lavallee, and Rod Schultz; defts' presence waived;
                            witnesses; exhibits; DENYING 1537 Motion for New Trial filed by
                            Rod Schultz, and DENYING 1564 Amended Motion for New Trial
                            filed by Rod Schultz; written order to follow; exhibits returned to
                            counsel. (Court Reporter Kara Spitler.) (nmb, ) (Entered: 12/13/2004)
 12/06/2004                 ORDER pursuant to motions hearing minutes; DENYING 1537 Motion
                            for New Trial as to Rod Schultz (2); and DENYING 1564 Amended
                            Motion for New Trial as to Rod Schultz (2). (nmb, ) (Entered:
                            12/13/2004)
 12/10/2004          1615   ORDER; DENYING 1537 Motion for New Trial filed by Rod Schultz
                            and 1564 Amended Motion for New Trial filed by Rod Schultz and
                            DENYING deft Mike Lavallee's Motion For New Trial (wherein he
                            joined deft Schultz's motions for new trial). Signed by Judge Wiley Y.
                            Daniel on 12/9/04. (ecm, ) (Entered: 12/17/2004)
 12/13/2004          1612   TRANSCRIPT of Hearing on Defts Motions For New Trial, Day 2 as
                            to Mike Lavallee, Rod Schultz held on 12/6/04 before Judge Wiley Y.
                            Daniel. Prepared by: Kara Spitler. Pages: 310. (certified copy) (ecm, )
                            (Entered: 12/15/2004)
 12/20/2004          1617   NOTICE OF APPEAL by Rod Schultz re 1615 Order on 12/10/04. Fee
                            Status: CJA. Notice mailed to all counsel on 12/21/04. Transcript Order
                            Form due by 1/6/2005. (djs, ) (Entered: 12/21/2004)
 12/27/2004          1620   USCA Case Number as to Rod Schultz 04-1540 for 1617 Notice of
                            Appeal filed by Rod Schultz. (djs, ) (Entered: 12/28/2004)
 01/04/2005          1621   TRANSCRIPT ORDER FORM filed by appellant Rod Schultz for
                            hearing on motion for new trial held on 10/4/04 and 12/6/04 re 1617
                            Notice of Appeal. (djs, ) (Entered: 01/06/2005)
 01/04/2005          1622   DESIGNATION OF RECORD ON APPEAL by Rod Schultz re 1617
                            Notice of Appeal. (djs, ) (Entered: 01/06/2005)
 03/04/2005          1631   MOTION to Participate in the Hearing on Co-Defendant Verbickas'
                            Motion for Release Pending Appeal and MOTION to Excuse
                            Defendant's Appearance by Rod Schultz. (ecm, ) (Entered: 03/09/2005)
 03/08/2005          1633   MINUTE ORDER; GRANTING 1631 Motion to Excuse as to Rod
                            Schultz (2); GRANTING 1631 Motion to Participate in the Hearing on
                            Co-Defendant Verbickas' Motion For Release Pending Appeal and
                            Request that Rod Schultz Appearance be Waived as to Rod Schultz (2)
                            by Judge Wiley Y. Daniel (ecm, ) (Entered: 03/11/2005)
 03/10/2005          1636   Minutes of Hearing on Motion for Release Pending Appeal before
                            Judge Wiley Y. Daniel: deft Robert Verbickas present; deft Rod
                            Schultz appearance was waived; deft Mike Lavallee appears via




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                            telephone; witnesses; ORDER: DENYING 1547 MOTION For Release
                            Pending Appeal filed by Robert Verbickas; to the extent deft Mike
                            LaVallee and Rod Schultz have joined in the motion, the motion is
                            DENED w/o prej.; (Court Reporter Gwen Daniel.) (ecm, ) (Entered:
                            03/14/2005)
 03/14/2005          1638   Record on Appeal consisting of volumes I-III transmitted to US Court
                            of Appeals as to Rod Schultz re 1617 Notice of Appeal. (djs, ) (Entered:
                            03/14/2005)
 03/15/2005          1639   ORDER by Judge Wiley Y. Daniel DENYING 1547 MOTION For
                            Release Pending Appeal filed by Robert Verbickas; as to Mike
                            Lavallee, Rod Schultz, to the extent defts have joined in the motion,
                            their requests are DENIED w/o prej.(nmb, ) (Entered: 03/18/2005)
 03/22/2005          1640   ORDER of USCA (certified copy) to supplement the record on appeal
                            as to 1617 Notice of Appeal. USDC clerk shall supplement the record
                            on appeal by 4/1/05. (djs, ) (Entered: 03/24/2005)
 05/17/2005          1645   MOTION to Vacate under 28 U.S.C. 2255 ( Civil Action 05-D-899.) by
                            Rod Schultz. (bpm, ) (Entered: 05/18/2005)
 05/17/2005          1651   MOTION for Leave to Proceed in Forma Pauperis by Rod Schultz.
                            (nmb, ) (Entered: 05/23/2005)
 05/20/2005          1652   ORDER DENYING 1645 Motion to Vacate (2255) as to Rod Schultz
                            (2)signed by Judge Wiley Y. Daniel on 5/20/05. (nmb, ) (Entered:
                            05/26/2005)
 05/20/2005          1653   JUDGMENT as to defendant Rod Schultz; Motion to Vacate, Set
                            Aside, or Correct Sentence Pursuant to 28 USC 2255 is denied w/o
                            prej. (nmb, ) (Entered: 05/26/2005)
 08/10/2005          1656   TRANSCRIPT ORDER FORM filed by Rod Schultz re 1617 Notice of
                            Appeal. All transcripts requested are already on file in USDC. (djs, )
                            (Entered: 08/11/2005)
 08/12/2005          1658   ORDER of USCA (certified copy) directing USDC to supplement the
                            record on appeal by 8/22/05 as to Rod Schultz re 1617 Notice of
                            Appeal. (djs, ) (Entered: 08/16/2005)
 08/18/2005          1659   Supplemental Record on Appeal volume I transmitted to US Court of
                            Appeals as to Rod Schultz re 1617 Notice of Appeal. (djs, ) (Entered:
                            08/18/2005)
 09/12/2005          1660   Replacement for Supplemental Record on Appeal volume I transmitted
                            to US Court of Appeals as to Rod Schultz re 1617 Notice of Appeal.
                            (djs, ) (Entered: 09/12/2005)
 10/21/2005          1661   MOTION For New Trial Based On Newly Discovered Evidence by
                            Rod Schultz. (mjg, ) (Entered: 10/25/2005)
 12/05/2005          1667   Exparte Document (Attachments: # 1 Attachment A)(nrutl, ) (Entered:
                            12/28/2005)




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 12/19/2005          1662   MINUTE ORDER re 1661 MOTION for New Trial filed by Rod
                            Schultz; Government responses due by 1/6/2006 (mjg, ) (Entered:
                            12/20/2005)
 12/21/2005          1663   RESPONSE to Motion by USA as to Rod Schultz re 1661 MOTION
                            for New Trial extension of time to respond to Schultz motion for new
                            trial (Mydans, Robert) (Entered: 12/21/2005)
 12/22/2005          1664   MOTION to Amend/Correct 1663 Response to Motion filed by USA,
                            by USA as to Rod Schultz. (Mydans, Robert) (Entered: 12/22/2005)
 12/22/2005          1665   MINUTE ORDER; GRANTING 1664 AMENDED MOTION for
                            Extension of Time to Respond to Schultz Motion for New Trial filed by
                            USA; Responses due 1/20/2006 by Judge Wiley Y. Daniel (ecm, )
                            (Entered: 12/23/2005)
 12/22/2005          1666   TEXT ENTRY ONLY; Please refer to doc. #1665: granting 1664
                            Motion to Amend/Correct as to Rod Schultz (2) by USA (ecm, )
                            (Entered: 12/23/2005)
 01/20/2006          1668   RESPONSE to Motion by USA as to Rod Schultz re 1661 MOTION
                            for New Trial Based on Newly Discovered Evidence (Attachments: # 1
                            # 2 Affidavit # 3 # 4 # 5 # 6)(Mydans, Robert) (Entered: 01/20/2006)
 02/04/2006          1669   MOTION for Extension of Time to File Reply by Rod Schultz.
                            (MacFarlane, Neil) (Entered: 02/04/2006)
 02/06/2006          1670   MINUTE ORDER re 1669 MOTION for Extension of Time to File
                            Reply filed by Rod Schultz: Dft Rod Schultz has until 2/7/06, in which
                            to file a reply to govt's response to dft's motion for new trial (mjg, )
                            (Entered: 02/06/2006)
 02/06/2006          1671   REPLY TO RESPONSE to Motion by Rod Schultz re 1664 MOTION
                            to Amend/Correct 1663 Response to Motion filed by USA,
                            (MacFarlane, Neil) (Entered: 02/06/2006)
 03/22/2006          1672   MANDATE of USCA (certified copy) issued on 3/22/06 affirming the
                            USDC judgment as to Mike Lavallee, Rod Schultz, Robert Verbickas re
                            1487 Notice of Appeal, 1492 Notice of Appeal, 1509 Notice of Appeal,
                            1616 Notice of Appeal, 1491 Notice of Appeal. (Attachments: # 1 03-
                            1515# 2 03-1515 Continued# 3 03-1522, 04-1538# 4 03-1522, 04-1538
                            Continued# 5 04-1000, 03-1515, 03-1523# 6 04-1000, 03-1515, 03-
                            1523 Continued)(djs, ) (Entered: 03/23/2006)
 05/16/2006          1673   MANDATE of USCA (certified copy) issued on 5/16/06 as to Rod
                            Schultz re 1617 Notice of Appeal. USCA judgment dated 2/28/06
                            affirming the judgment of the USDC. (Attachments: # 1 Continued)
                            (djs, ) (Entered: 05/17/2006)
 05/23/2006          1674   NOTICE of Disclosure by USA as to Mike Lavallee, Rod Schultz, Ken
                            Shatto, David Pruyne, Robert Verbickas, Brent Gall, James Bond
                            (Attachments: # 1)(Mydans, Robert) (Entered: 05/23/2006)
 05/31/2006          1675   Appeal Record Returned as to Rod Schultz: volumes I-III and




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                            supplemental volume I returned re: 1617 Notice of Appeal. Text Only
                            Entry - No Document Attached (djs, ) (Entered: 06/02/2006)
 06/08/2006          1678   RESPONSE by Rod Schultz re: 1674 Notice (Other) filed by USA,
                            (MacFarlane, Neil) (Entered: 06/08/2006)
 08/24/2006          1679   ORDER denying 1661 Motion for New Trial as to Rod Schultz (2); and
                            denying 1678 Motion for Discovery. Signed by Judge Wiley Y. Daniel
                            on 8/24/06. (mjg, ) (Entered: 08/25/2006)
 04/19/2007          1680   MOTION to Vacate, Set Aside, Or Correct Sentence under 28 U.S.C.
                            2255 by Rod Schultz. (Attachments: # 1 A# 2 B# 3 C# 4 D part 1# 5 D
                            part 2)(mjg, )Civil case 1:07-cv-00803 opened. Modified on 4/20/2007
                            to indicate correct filing date of 4/19/07 (mjg2, ). (Entered: 04/20/2007)
 04/27/2007          1681   ORDER as to Rod Schultz re 1680 MOTION to Vacate under 28
                            U.S.C. 2255 filed by Rod Schultz: United States Attorney on or before
                            5/11/07, shallfile an answer or other pleading directed to the Motion
                            pursuant to Rule 4 of the Rules Governing Section 2255 Proceedings.
                            Signed by Judge Wiley Y. Daniel on 4/27/07. (mjg, ) (Entered:
                            04/30/2007)
 05/08/2007          1682   Unopposed MOTION for Extension of Time to File Response/Reply as
                            to 1681 Order, Terminate Deadlines and Hearings,, by USA as to Rod
                            Schultz. (Mydans, Robert) (Entered: 05/08/2007)
 05/08/2007          1683   MOTION to Amend/Correct Entry of Appearance by USA as to Rod
                            Schultz. (Mydans, Robert) (Entered: 05/08/2007)
 05/08/2007          1684   MOTION to Amend/Correct AMENDED ENTRY OF APPEARANCE
                            by USA as to Rod Schultz. (Mydans, Robert) (Entered: 05/08/2007)
 05/08/2007          1685   Docket Annotation re: 1683 MOTION to Amend/Correct Entry of
                            Appearance Text Only Entry - no document attached - Please ignore
                            docket #1683, a duplicate document was re-filed on 5/8/07 titled
                            "SECOND AMENDED ENTRY OF APPEARANCE", please refer to
                            docket #1684; Also please note docket entries 1683 & 1684 are not
                            motions, wrong event used. (mjg, ) (Entered: 05/09/2007)
 05/09/2007          1686   MINUTE ORDER granting 1682 Motion for Extension of Time to File
                            Response to Dfts Motion to Vacate, Set Aside, or Correct Sentence:
                            The United States has until Monday, June 18, 2007, in which to file its
                            response as to Rod Shultz. (mjg, ) (Entered: 05/09/2007)
 06/18/2007          1687   RESPONSE in Opposition by USA as to Rod Schultz re 1682
                            Unopposed MOTION for Extension of Time to File Response/Reply as
                            to 1681 Order, Terminate Deadlines and Hearings,,, 1680 MOTION to
                            Vacate under 28 U.S.C. 2255 (Attachments: # 1)(Mydans, Robert)
                            (Entered: 06/18/2007)
 06/28/2007          1688   MOTION to interview trial jurors and for stay re 1687 Response in
                            Opposition, by Rod Schultz. (MacFarlane, Neil) (Entered: 06/28/2007)
 10/30/2008          1695   ORDER denying 1688 Motion for Leave to Interview Trial Jurors and




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                            to Stay the Proceedings until Such Interviews Can Be Completed as to
                            Rod Schultz: Defendant may, however, file a reply in support of his
                            Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C.
                            § 2255 within 20 days of this Order. Signed by Chief Judge Wiley Y.
                            Daniel on 10/30/08. (mjg, ) (Entered: 10/31/2008)
 11/17/2008          1696   MOTION for Extension of Time to File Response/Reply as to 1695
                            Order on Motion for Miscellaneous Relief, by Rod Schultz.
                            (MacFarlane, Neil) (Entered: 11/18/2008)
 11/24/2008          1697   MOTION to Amend/Correct Filing of Wrong Document by Rod
                            Schultz. (Attachments: # 1 Mot for extension of time)(MacFarlane,
                            Neil) (Entered: 11/24/2008)
 11/24/2008          1698   MINUTE ORDER granting 1697 Motion to Amend/Correct Motion
                            Out of Time as to Rod Schultz (2): Defendant is granted leave to file a
                            corrected motion for extension of time. Defendant's original Motion for
                            Extension ofTime [Doc. # 1696] is DENIED AS MOOT. (mjg, )
                            (Entered: 11/24/2008)
 11/25/2008          1699   MOTION for Extension of Time to File amended by Rod Schultz.
                            (Attachments: # 1 order)(MacFarlane, Neil) (Entered: 11/25/2008)
 11/26/2008          1700   MINUTE ORDER granting in part and denying in part 1699 Motion for
                            Extension of Time to File as to Rod Schultz (2): Defendant seeks an
                            extension of time to file a responsive pleading regarding his Motion for
                            Leave to Interview Trial Jurors. That motion was denied by Order of
                            10/30/08. Accordingly, the request for an extension of time to file a
                            responsive pleading as to that motion is DENIED AS MOOT.
                            However, the 10/30/08, Order indicated that Defendant could, if he
                            wished, file a reply to the Government's response to Defendant's
                            Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C.
                            § 2255. To the extent that Defendant may seek an extension of time of
                            time to file that reply, this request is GRANTED.Defendant has up to
                            and including Monday, December 1, 2008, in which to file a reply brief.
                            (mjg, ) (Entered: 11/26/2008)
 11/30/2008          1701   Reply by Rod Schultz to Order of Oct. 30,2008 (MacFarlane, Neil)
                            (Entered: 11/30/2008)
 12/16/2008          1702   MOTION for Reconsideration of Order denying Leave to Interview
                            Trial Jurors by Rod Schultz. (MacFarlane, Neil) (Entered: 12/16/2008)
 12/30/2008          1703   MOTION for Stay of Proceedings to Permit Defendant to Present
                            Additional Information by Rod Schultz. (MacFarlane, Neil) (Entered:
                            12/30/2008)
 12/31/2008          1704   MOTION to Amend/Correct Motion to Stay Proceedings by Rod
                            Schultz. (MacFarlane, Neil) (Entered: 12/31/2008)
 01/21/2009          1705   MINUTE ORDER by Chief Judge Wiley Y. Daniel granting 1703
                            Motion for Stay and granting 1704 Motion to Correct Motion for Stay
                            of Proceedings as to Rod Schultz (2); The proceedings related to




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                            Defendant's Motion to Vacate, Set Aside, or Correct Sentence Pursuant
                            to 28 U.S.C. § 2255 are stayed until Tuesday, 2/10/09 in order to allow
                            Defendant to present additional information to the Court as referenced
                            in the motions. (mjg, ) (Entered: 01/22/2009)
 02/10/2009          1706   REPLY TO RESPONSE to Motion by Rod Schultz re 1704 MOTION
                            to Amend/Correct Motion to Stay Proceedings (Attachments: # 1
                            Affidavit)(MacFarlane, Neil) (Entered: 02/10/2009)
 06/17/2009          1707   ORDER denying 1680 Motion to Vacate (2255) and denying Motion
                            for Reconsideration of Order Denying Leave to Contact Trial Jurors as
                            to Rod Schultz (2), by Chief Judge Wiley Y. Daniel on 6/17/09. (mjg, )
                            Civil Case 1:07-cv-00803-WYD closed. Modified on 6/18/2009 to
                            include additional information denying "Motion for Reconsideration of
                            Order Denying Leave to Contact Trial Jurors" (mjg2, ). (Entered:
                            06/17/2009)
 06/26/2009          1708   NOTICE OF APPEAL as to 1707 filed by Rod Schultz. (MacFarlane,
                            Neil) Modified on 6/29/2009 to create a link to the order being
                            appealed. (bjrsl, ). (Entered: 06/26/2009)
 06/26/2009          1709   MOTION for Certificate of Appealability by Rod Schultz.
                            (MacFarlane, Neil) (Entered: 06/26/2009)




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